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                                   Exhibit B
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  1                 THE UNITED STATES DISTRICT COURT
  2               FOR THE SOUTHERN DISTRICT OF FLORIDA
  3   JIANGMEN BENLIDA PRINTED              )
  4   CIRCUIT CO., LTD.,                    )
  5          Plaintiff,                     )
  6   vs.                                   ) Civil Action No.
  7   CIRCUITRONIX, LLC,                    ) 21-601-125-civ
  8          Defendant.                     )
  9

 10

 11                             ORAL DEPOSITION
 12                MARK PARISI, CPA, CIRA, CFE, CTCE
 13                        Monday, July 31, 2023
 14

 15

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 23   Reported by:
 24   Rebecca Callow, RMR, CRR, RPR
 25   Job No. 131875


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  1

  2         ORAL DEPOSITION OF MARK PARISI, CPA, CIRA,
  3   CFE, CTCE, produced as a witness at the instance
  4   of the Defendant and duly sworn, was taken in the
  5   above-styled and numbered cause on the 31st day of
  6   July 2023, from 10:26 a.m. to 4:45 p.m., before
  7   Rebecca J. Callow, Registered Merit Reporter,
  8   Certified Realtime Reporter, Registered
  9   Professional Reporter and Notary Public for the
 10   State of Florida, reported by computerized
 11   stenotype machine at the offices of Orseck, P.A.,
 12   One S.E. 3rd Avenue, Suite 2300, Miami, Florida,
 13   pursuant to the Federal Rules of Civil Procedure.
 14

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  1                               APPEARANCES
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 21                        Richard Lerner, Esq.
 22                        richard@mazzolalindstrom.com
 23   ALSO PRESENT:
 24          Jessica Miller
 25          Rishi Kukreja (via Zoom)


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 12   Changes and corrections            ........................259
 13   Signature Page         .................................260
 14   Court Reporter's Certificate ....................261
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  1                                   EXHIBITS
  2   NO.                  DESCRIPTION                                    PAGE
  3   Exhibit 151          Printout:       List of digital                   39
  4                        materials reviewed
  5   Exhibit 152          Exhibit 1 to Expert Report -                      74
  6                        Documents Utilized by Kapila
  7                        Mukamal
  8   Exhibit 153          Payment detail:            2012 through           87
  9                        2019
 10   Exhibit 154          Reconciliation analysis report:                   87
 11                        2012-2019
 12   Exhibit 155          3/10/2015 Debit Memo                            166
 13                        BEN-DM20150310
 14   Exhibit 156          Jiangmen Benlida Penalty for                    189
 15                        Lead-Time Exceedances for
 16                        November 2020 Purchase Orders
 17   Exhibit 157          Jiangmen Benlida Penalty for                    175
 18                        Lead-Time Exceedances for April
 19                        2020 Purchase Orders
 20   Exhibit 158          Payment Detail:            2012 through         179
 21                        2019
 22   Exhibit 159          3/16/2021 Debit Memo                            184
 23                        BEN-DM20160321
 24

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  1                             EXHIBITS (cont.)
  2   NO.                  DESCRIPTION                                    PAGE
  3   Exhibit 160          10/20/2013 Debit Memo                           185
  4                        BEN-DM20131020
  5   Exhibit 161          9/14/2014 Debit Memo                            186
  6                        BEN-DM20140520
  7   Exhibit 162          8/18/2022 email: Charlene Yip                   197
  8                        to Accounting@Benlida.com, Re:
  9                        Circuitronix(Hong Kong)Limited
 10                        - Audit Confirmation Request to
 11                        Jiangmen Benlida Printed
 12                        Circuit Co Ltd & ROK Printed
 13                        Circuit Board Co Ltd
 14   Exhibit 163          7/24/2023 email chain:                          200
 15                        Accounting@Benlida.com, Re:
 16                        Circuitronix(Hong Kong) Limited
 17                        - Audit Confirmation Request to
 18                        Jiangmen Benlida Printed
 19                        Circuit Co Ltd
 20   Exhibit 164          05/31/2021 Kapila Mukamal                       237
 21                        Invoice 7843
 22

 23                      PREVIOUSLY MARKED EXHIBITS
 24   NO.                                                                 PAGE
 25   Exhibit 140            .................................218


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  1                        P R O C E E D I N G S
  2                               - - - - - -
  3               MARK PARISI, CPA, CIRA, CFE, CTCE,
  4               called as a witness herein, having
  5          been first duly sworn by a Notary Public,
  6              was examined and testified as follows:
  7                               EXAMINATION
  8         BY MR. MAZZOLA:
  9         Q.     Good morning, Mr. Parisi.
 10         A.     Good morning.        How are you?
 11         Q.     Doing good.
 12                       My name is JC Mazzola.            I'm an
 13   attorney.       I'm going to be asking you some questions
 14   in connection with a lawsuit that was filed by our
 15   clients.      It's -- we've been calling it collectively
 16   "Benlida against Circuitronix, LLC."
 17                       Do you understand that you're here to
 18   answer questions in connection with an expert --
 19   expert opinion report that you prepared in connection
 20   with that lawsuit?
 21         A.     Yes.
 22         Q.     You are presently employed with Citrin, I
 23   understand.        Is that correct?
 24         A.     Correct.
 25         Q.     Citrin is an accounting firm?


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  1         A.     Among other things.
  2         Q.     Okay.     How long have you worked with
  3   Citrin?
  4         A.     February of this year.
  5         Q.     And prior to working with Citrin, were you
  6   working with Kapila Mukamal?
  7         A.     Yes.
  8         Q.     And what were you doing at Kapila Mukamal?
  9         A.     My work primarily encompassed forensic
 10   accounting investigations, commercial litigation,
 11   bankruptcy-related matters, including insolvency,
 12   fraudulent transfers, fraudulent conveyance, Ponzi
 13   schemes, receiverships, work of that nature.
 14         Q.     And you left Kapila -- Kapila Mukamal, you
 15   said, in February?
 16         A.     Correct.
 17         Q.     Why did you leave them?
 18         A.     For a bigger runway.
 19         Q.     Okay.     While at Kapila -- I'm going to call
 20   it "the Mukamal firm."            Is that okay, Mr. Parisi?
 21         A.     Yes.
 22         Q.     And if I call it "the Mukamal firm," you'll
 23   know that I'm referring to Kapila Mukamal, and
 24   Barry Mukamal as well.            Okay?
 25         A.     Okay.


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  1                       MR. ROSENTHAL:         Can I ask one
  2         question?       Is it pronounced Mukamal or
  3         Mukamal?
  4                       THE WITNESS:        Mukamal.
  5         A.     If you need to distinguish between Mukamal
  6    and KM, just let me know.
  7         BY MR. MAZZOLA:
  8         Q.     I may go back and forth, but I'm just
  9    trying to get my groove here.
 10                       So speaking of that, you left them for
 11    a better opportunity.
 12                       While you were at the Mukamal firm,
 13    while you were there, did you work on preparing a
 14    report in connection with this case?
 15         A.     So after I left and before I was formally
 16    retained in Citrin, I did answer a few calls and
 17    helped out a little bit.            But much of the report
 18    writing, from what I recall, didn't begin until I
 19    was retained -- or on or about there.
 20         Q.     I didn't understand that.             Much of the
 21    report writing did not begin until you were
 22    retained?
 23         A.     Much of the -- I'm sorry.
 24         Q.     Do you mean until you left?
 25         A.     Until after that.          The report wasn't


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  1    finished, you know, until the very, very end.
  2          Q.     The very end of what?             Were you still at
  3    Mukamal's firm when the report was written?
  4          A.     No.
  5          Q.     Were you at Mukamal's firm when the
  6    report -- when the writing of the report was
  7    started?
  8          A.     No.
  9          Q.     What did you do -- broad picture.                We're
 10    going to get into some details.
 11                        What did you do basically, just a broad
 12    picture, in connection with the preparation of the
 13    report?
 14          A.     So the first component of the report is the
 15    damages -- or the balance due through July 2019.
 16    That amount is calculated based on three primary
 17    sources.      Which is, one, the initial email --
 18          Q.     What was that?        Through June -- what date
 19    was it?
 20                        You said you prepared a calculation on
 21    damages through a date.            Was that June, you said?
 22          A.     July 2019.
 23          Q.     July 29th?
 24                        MR. ROSENTHAL:        "2019."
 25          A.     July 2019.


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  1                        So that analysis is comprised of three
  2    sources.      The first is the initial email from
  3    Circuitronix to Benlida, which contained the
  4    invoices, payments, and debit memos, as identified
  5    by Circuitronix.         That was on November 1st, 2019.
  6                        On November 14th, 2019, Benlida
  7    responds and identifies invoices, payments, and
  8    debit memos that had disparities with Benlida's
  9    records.      Those disparities increased and decreased
 10    payments in same with invoices and debit memos.
 11                        And then, I want to say, on
 12    November 19th, there is a second email where Benlida
 13    identifies additional payments that CTX did not have
 14    in its records that Benlida thought should be in the
 15    reconciliation.
 16          BY MR. MAZZOLA:
 17          Q.     So --
 18          A.     And so the aggregation of those three data
 19    points, plus the reconciliation of the meeting
 20    minutes, is the primary compilation of the balance
 21    through July 2019.          And then that is the first
 22    component of the report.
 23                        The second component of the report --
 24          Q.     Well, let's look at your report, so --
 25          A.     -- is an aggregation of the --


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  1          Q.     Let's look at your report --
  2          A.     -- lead-time penalties --
  3                        MR. ROSENTHAL:        Hold on.      Hold
  4          on.
  5                        THE WITNESS:       Sorry.
  6                        MR. ROSENTHAL:        He wants to
  7          interrupt you and stop your answer --
  8          BY MR. MAZZOLA:
  9          Q.     Let's just put down Exhibit 147.                This has
 10    been previously marked.            Okay?
 11          A.     Yes.
 12          Q.     Because I think you're talking about
 13    different sections of your report.
 14                        MR. ROSENTHAL:        And 147 is the
 15          report.     Correct?
 16          BY MR. MAZZOLA:
 17          Q.     You see that.        That's your report.          Right?
 18          A.     Yes.
 19          Q.     Okay.     And before you go into the next
 20    section, I think what you're talking about is one of
 21    the things you looked at is what I'm seeing in your
 22    report referred to as the CTX reconciliation and the
 23    Benlida reconciliation.
 24          A.     I'm not sure if that was a question.
 25          Q.     That's what you're referring to when you're


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  1    talking about the Rishi email and then the response
  2    from Benlida.
  3          A.     Correct.
  4                        So the starting point is -- the CTX
  5    recon is Rishi's initial email.                And then -- so, for
  6    example, if Rishi -- or Circuitronix, through
  7    Rishi's email said an invoice should be a dollar.
  8    And then Benlida comes back and says, No, it should
  9    be $1.20.
 10                        The dollar would be on the CTX recon,
 11    the 20 cents would be on the Benlida recon, and --
 12    or a component of it.           And when you add A plus B,
 13    you get the Benlida recon amount.
 14          Q.     And what I'm trying to understand is, in
 15    connection with this report that's in front of you,
 16    147, you testified a few moments ago that this
 17    report was drafted -- started, drafted, and
 18    completed after you had left the Mukamal firm.                      Is
 19    that correct?
 20          A.     So I want to be clear.            When you say
 21    "drafted," there is the compilation of the numbers,
 22    which I don't consider drafting the report.                    I
 23    consider drafting the physical word-writing of the
 24    report.
 25          Q.     Okay.     And the compilation of the numbers,


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  1    is that -- let's talk about what you did.                    It sounds
  2    like to me -- let's look at your report -- or the
  3    report.
  4                        Take a look at page 6.            Do you see
  5    that?      It says "Work Performed and Analysis."
  6          A.     Correct.
  7          Q.     And then if you see just above
  8    paragraph 13, it refers to the reconciliation
  9    period.
 10                        Do you see that?
 11          A.     Correct.
 12          Q.     And you were just talking before, I
 13    believe, about the review of numbers in connection
 14    with this reconciliation period.                Is that correct?
 15          A.     Correct.      When I talk about the
 16    reconciliation on November 1st, 2019, that's the
 17    same reconciliation as identified on paragraph 13.
 18          Q.     Okay.     And while we're in this report,
 19    let's go to page 9.           The bottom of page 9 at
 20    paragraph 23.        Do you see "Debit Memos"?
 21          A.     Yes.
 22          Q.     Did you have any involvement in reviewing
 23    debit memos?        Just, generally speaking.
 24          A.     Yes.
 25          Q.     Okay.     What about lead-time penalties?               Did


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  1    you look at those?
  2          A.     Yes.
  3          Q.     How was the work divided up between you and
  4    Mr. Mukamal?
  5          A.     So Mr. Mukamal is the primary partner at
  6    Kapila Mukamal.         He developed the initial work plan,
  7    you know, did the initial case intake.                  I assisted
  8    with the compilation of the data.
  9                        As you're aware, there is a lot of
 10    data here, and it's very voluminous.                  And he was the
 11    one who architected the report, and I assisted with
 12    the data compilation as necessary.
 13          Q.     Okay.     So he architected the report.
 14                        What does that mean?
 15          A.     He meets with counsel, reads the complaint,
 16    identifies a preliminary work plan of how to draft
 17    the report.
 18          Q.     Did you meet with counsel?
 19          A.     I've met with counsel.
 20          Q.     In preparation for this report, did you
 21    meet with counsel?
 22          A.     Yes.
 23          Q.     Did you meet with counsel in preparation
 24    and review of the numbers?
 25          A.     I don't understand your question.


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  1          Q.     Well, I'm trying to understand when you met
  2    with counsel.        I know you met with counsel today.                  I
  3    know you probably met with counsel prior to today.
  4                        But while this report was -- while
  5    the -- while you were doing the analysis of these
  6    numbers, because it sounds like that's how the work
  7    was split up.        Is that right?
  8                        You did the analysis of the numbers.
  9    The crunching.         Is that correct?
 10                        MR. ROSENTHAL:        Object to the
 11          form.
 12          BY MR. MAZZOLA:
 13          Q.     Do you know what I mean?
 14          A.     I compiled the data and assisted with the
 15    report as well.
 16          Q.     And as you were compiling the data, did you
 17    meet with counsel?
 18          A.     Yes.    We previously met with counsel
 19    before.
 20          Q.     As you were compiling the data, did you
 21    have any communications with counsel?
 22          A.     Yes.    We communicated with counsel.
 23          Q.     As you were compiling the data, did you
 24    ever call up counsel and say, The data says this?
 25                        Don't tell me what it says, but


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  1    communications like that?
  2          A.     We discussed preliminary numbers, yes.
  3          Q.     Did you discuss preliminary numbers with
  4    anyone at CTX?
  5          A.     Not that I recall.
  6          Q.     Did do you ever -- what do you mean, not
  7    that you recall?
  8          A.     We met with the Circuitronix staff, you
  9    know, to understand the numbers and the business
 10    processes.       I don't recall saying, Here's our final
 11    numbers, to the CTX staff.
 12          Q.     When you say you met with staff, who's
 13    "we"?
 14          A.     Myself and my partner, Barry Mukamal.
 15          Q.     And so as we go forward with today's
 16    deposition, so that I'm clear, was there anyone else
 17    in that "we"?
 18                        Was there a junior accountant that was
 19    helping out?        Was there a -- I don't know if you
 20    have -- call them para-accountant, anything like
 21    that, helping out, or was all the work done by you
 22    and Mr. Mukamal?
 23          A.     So there is a third person who is integral
 24    to the process.         Her name is Sharmila Khanorkar, and
 25    she is a partner at Kapila Mukamala.


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  1          Q.     Sharmila?
  2          A.     Yes.
  3          Q.     As it sounds.
  4                        And how do you spell her last name?
  5          A.     K-h-a-n-o-r-k-a-r.
  6          Q.     Yeah.     I lost that.
  7                        MR. ROSENTHAL:        Khan-or-kar.
  8                        MR. MAZZOLA:       Khan-or-kar.
  9          A.     Yes.    Some junior staff may have helped
 10    out, you know, for, you know, clerical-type work.
 11    But the three of us were 98 percent of the work, I
 12    would say.
 13          BY MR. MAZZOLA:
 14          Q.     What did Ms. Khanorkar do?
 15          A.     She assisted with the case and also
 16    assisted in drafting the report.
 17          Q.     What does "assisting with the case" mean?
 18          A.     So we -- there's many issues that come up.
 19    And her, Barry and I discuss the issues and navigate
 20    the path forward.
 21          Q.     Okay.     What kind of issues would come up?
 22          A.     So there's -- the issues in this case
 23    aren't complicated.           It's very simple.         There's
 24    invoices, payments, and debit memos.
 25          Q.     And so what kind of issues --


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  1          A.     I'm.
  2          Q.     -- came up for Ms. Khanorkar --
  3          A.     If you would let me finish my answer, I
  4    will --
  5          Q.     Okay.
  6          A.     -- I am happy to.
  7                        So there's a lot of data in this case.
  8    The key issue is how to present this data simply so
  9    everyone can understand it.              And that is the main
 10    issue that we grappled with.
 11          Q.     So that was the issue.
 12                        So Ms. Khanorkar, her involvement was
 13    to discuss with you and Mr. Mukamal ways to present
 14    the data in a fashion that would make sense in your
 15    mind.      Is that correct?
 16                        MR. ROSENTHAL:        Object to the
 17          form.
 18          A.     Correct.      And she assisted with the report
 19    drafting.
 20          BY MR. MAZZOLA:
 21          Q.     So you met with staff.            You said you met
 22    with staff from CTX.           Is that right?
 23          A.     Correct.
 24          Q.     And when you would meet with staff at CTX,
 25    was Carmila [sic] present?


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  1                        MR. ROSENTHAL:        "Sharmila."
  2          BY MR. MAZZOLA:
  3          Q.     Sharmila.
  4          A.     No.    She is primarily in Orlando or India.
  5    I don't believe she's been to Circuitronix.
  6          Q.     Does the Mukamal firm have an office in
  7    India?
  8          A.     I mean, she could be an office by herself,
  9    she's so good.         But they don't have a physical
 10    office out there.
 11          Q.     But she just worked in India?
 12          A.     Correct.
 13          Q.     So regarding meeting with staff at CTX, was
 14    Ms. Khanorkar ever present on the phone by Zoom or
 15    anything like that?
 16          A.     She may have been on Zoom once.
 17          Q.     When you had these meetings with staff at
 18    CTX, was counsel present at those meetings, either
 19    remotely or physically?
 20          A.     Yes.
 21          Q.     When you had the meetings with staff at
 22    CTX, who at CTX was present?
 23          A.     Rishi Kukreja.        Lina Ochoa.        We had a
 24    previous accountant person there whose name escapes
 25    me.    Nicole Donaldson, I met with her.                And I can't


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  1    remember the names of -- there was one other person.
  2    I can't recall his name.
  3          Q.     And it was an accountant person you met
  4    with there?
  5          A.     Correct.
  6          Q.     Does the name Celin Astudillo ring a bell?
  7          A.     Yes.
  8                        You have a good memory.            That is it.
  9          Q.     That's who it was?
 10                        When did these conversations happen?
 11                        And it sounds like there was more than
 12    one.    Is that right, Mr. Parisi?
 13          A.     Correct.      I'd say well over a year ago.
 14                        I mean, when the -- there was a period
 15    of time, which I can't recall when the pencils-down
 16    order was given.         But before that period of time --
 17    I mean, all the work was primarily done for this
 18    case before settling, and then we made a few
 19    refinements.
 20                        But, you know, a lot of the work was
 21    done before the case settled.                  It was just a matter
 22    of dusting it off, recalling what we did,
 23    simplifying and drafting the report.
 24          Q.     So pencils down, I think, was sometime in
 25    the spring of -- it's 2023 -- 2022?                 Is that what


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  1    you recall?
  2          A.     I don't recall, unfortunately.
  3          Q.     Okay.     And you left Mukamal's firm in
  4    February of this year?
  5          A.     Correct.
  6          Q.     So you were present when there was that
  7    pencils-down time.          Is that correct?
  8          A.     Yes.
  9          Q.     And I assume -- I don't know when -- when
 10    your lawyers told you to start writing again.                     Was
 11    that after you left or, was it before you left?
 12          A.     I want to say it was mid-April.               Early,
 13    mid-April, with a June 8th report date.                   So the time
 14    frame was very compressed, but we were able to
 15    accomplish the task.
 16          Q.     But you had left by then?
 17          A.     Yes.
 18          Q.     Was a draft report written by the time you
 19    left in February?
 20          A.     No.    We -- before we did the pencils down,
 21    we had not started drafting the report.
 22          Q.     At the time you put the pencils down, was
 23    there any communication between -- like, written
 24    communications between you and either counsel or CTX
 25    with proposals or drafts or anything of that nature?


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  1          A.     We emailed counsel.
  2          Q.     Did you email them theories that you may
  3    have had?
  4                        MR. ROSENTHAL:        I'm going to
  5          object, because I don't think you're
  6          permitted to probe into that issue.
  7                        I don't think you should answer
  8          that question.
  9          BY MR. MAZZOLA:
 10          Q.     But there were email communications before
 11    pencils down?
 12          A.     Yes.
 13          Q.     So let's talk a little bit about your
 14    background.       We just got off on a little bit of a
 15    tangent here.
 16                        How long have you -- well, tell me
 17    what -- what you do.           You're an accountant.           Right?
 18          A.     Correct.
 19          Q.     You gave a little example about the type of
 20    accounting work you do.            Is that correct?
 21          A.     Correct.
 22          Q.     You did give an example.
 23                        You are -- were retained in this case
 24    was -- by whom?
 25          A.     Circuitronix, LLC.


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  1          Q.     And who was it that reached out to you?
  2          A.     Well, the case had been ongoing for some
  3    time.      The case was originally retained by
  4    Kapila Mukamal.         And because of the compressed time
  5    frame, I was retained directly to assist and help
  6    bring the matter to a close due to the compressed
  7    time frame.
  8          Q.     What do you mean you were -- you worked at
  9    the Mukamal firm.          Is that correct?
 10          A.     That's --
 11          Q.     What do you mean -- what do you mean you
 12    were retained separately?
 13                        Wasn't the Mukamal firm retained?
 14          A.     So Kapila Mukamal was retained, and I left
 15    Kapila Mukamala.
 16          Q.     In February of this year?
 17          A.     In -- at the end of January, I left.
 18          Q.     Okay.
 19          A.     At the end of this year.
 20                        And then they retained -- due to the
 21    compressed time frame, instead of Kapila Mukamal
 22    finishing the report, they retained me as well to
 23    help meet the deadline.
 24          Q.     That's now.       But I'm going way back to the
 25    beginning.


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  1          A.     Okay.
  2          Q.     When all of this first started, who
  3    retained you back then?            Is it no one, and they
  4    actually retained Mr. Mukamal, and you worked for
  5    him?
  6          A.     I worked at Kapila Mukamal previously.
  7    Circuitronix, LLC, had previously engaged
  8    Mr. Mukamal and Kapila Mukamal for this matter.
  9          Q.     Okay.     So you were not present -- you were
 10    not involved in the initial retention of the Mukamal
 11    firm.      Is that correct?
 12          A.     I was there with the initial retention of
 13    the Mukamal firm, yes.
 14          Q.     And when the Mukamal firm was initially
 15    retained, who was it that reached out to the Mukamal
 16    firm?
 17          A.     I'd be speculating.
 18          Q.     Okay.     Was it Mr. Rosenthal?
 19          A.     I believe it's more likely to be Chauncey,
 20    based on the timeline.
 21          Q.     Do you know if the Mukamal firm has ever
 22    worked with Chauncey before?
 23          A.     Yes.    They have worked together.
 24          Q.     In what kind of capacity?
 25          A.     In at least one other case for Circuitronix


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  1    as an expert.
  2                        And then I do not know any cases
  3    between Barry and Chauncey previously, but I assume
  4    there's probably at least one.
  5          Q.     Do you know the circumstances of that one
  6    case?
  7          A.     No.    They just knew each other, so I
  8    assumed they worked with each other previously.
  9          Q.     Do you know how Chauncey was introduced to
 10    Mr. Mukamal?
 11          A.     No.
 12          Q.     Does Mr. Mukamal have a relationship with
 13    CTX independent of Chauncey?
 14          A.     Not that I'm aware of.
 15          Q.     Does the Mukamal law firm provide any
 16    accounting services for -- for CTX other than the
 17    preparation of this report?
 18          A.     So Kapila Mukamal is a forensic accounting
 19    firm as opposed to a law firm.
 20          Q.     As opposed to a regular accounting firm.
 21                        MR. LERNER:       No.      You misspoke.
 22          You said "law firm."
 23                        MR. MAZZOLA:       Did I say that?
 24                        MR. ROSENTHAL:        Yeah.
 25                        MR. MAZZOLA:       Okay.


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  1          BY MR. MAZZOLA:
  2          Q.     Has Mr. Mukamal provided any accounting
  3    services, other than the preparation of this report
  4    and presumably the other report through Mr. Cole,
  5    for CTX?
  6          A.     Those are the only two engagements I'm
  7    aware of with Circuitronix and Kapila Mukamal.
  8          Q.     So you're not aware of any connection
  9    between the Mukamal firm and CTX other than for
 10    forensic accounting services?
 11          A.     Correct.
 12          Q.     What about Ms. Khanorkar?             Do you know if
 13    she's ever performed --
 14                        MR. ROSENTHAL:         I'm sorry.      I'm
 15          laughing at the pronunciation.               It's
 16          Khanorkar it ends with an "R."               Not like
 17          Roca.
 18                        MR. MAZZOLA:        Khanorkar.
 19                        MR. ROSENTHAL:         Okay.    Khanorkar.
 20          BY MR. MAZZOLA:
 21          Q.     With respect to Ms. Khanorkar, do you know
 22    if she's provided any accounting services to CTX?
 23          A.     I do not believe so.
 24                        Yeah.     We're forensic accountants, not
 25    regular accountants.


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  1          Q.     Oh.    I understand that.
  2          A.     Okay.     Just making sure.
  3          Q.     Okay.     So in terms of that, let's talk
  4    about your day-to-day at the Mukamal firm.                    Is it --
  5    is it all forensic accounting work?
  6          A.     Well, I'm not at the Mukamal firm.                I'm
  7    at --
  8          Q.     When you were.        When you were.
  9                        When you were at the Mukamal firm, all
 10    your day-to-day accounting was for forensic
 11    accounting.        Is that correct?
 12          A.     Correct.      We do not do traditional
 13    accounting work at all.            Or audit work.
 14          Q.     So just forensics.
 15                        And as you understand forensics, that
 16    means providing things like litigation support.                      Is
 17    that correct?
 18          A.     Correct.
 19          Q.     It might be valuation services.               Is that
 20    correct?
 21          A.     Occasionally.
 22          Q.     It might be providing trial testimony.                  Is
 23    that correct?
 24          A.     Yes.
 25          Q.     At the Mukamal firm, did the Mukamal firm


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  1    have any relationship with Podhurst, the law firm
  2    you're at today?
  3          A.     We've worked with Podhurst previously.
  4          Q.     And how many cases, in your recollection,
  5    did the Mukamal firm do with the Podhurst firm?
  6          A.     Two, perhaps, that I am aware of.
  7                        There could be more, but I'm only
  8    involved with -- when I was at Kapila Mukamal in a
  9    subset of the cases.
 10          Q.     Do you have any recollection of what those
 11    case names were?
 12          A.     Yes.    One of them was PayCargo versus
 13    CargoSprint.
 14          Q.     So PayCargo versus CargoSprint.               And this
 15    was work that was done for the Podhurst firm.
 16    Right?
 17          A.     The Podhurst firm was counsel.
 18          Q.     That was one case.
 19                        Did you provide deposition testimony on
 20    the PayCargo case?
 21          A.     I did not.
 22          Q.     Did Mr. Mukamal?
 23          A.     He did.
 24          Q.     Did that PayCargo case go to trial?
 25          A.     It did.


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  1          Q.     Do you know what the result was?
  2          A.     PayCargo was successful on its claim and
  3    received a judgment against CargoSprint.
  4          Q.     Did you work on that case?
  5          A.     I did.
  6          Q.     What did you do on that case?
  7          A.     Data compilation.
  8          Q.     Similar to the type of work you did on this
  9    case, the CTX case, data compilation?
 10          A.     Correct.
 11          Q.     There was another case you mentioned that
 12    the Mukamal firm worked on in conjunction with the
 13    Podhurst firm.         What was that case?
 14          A.     The name escapes me, but it was a
 15    class-action matter that dealt with a tax matter
 16    that dealt with foreign tax credits.                  I believe the
 17    defendant was John Hancock, perhaps.                  But I'm not
 18    100 percent certain.
 19          Q.     Did you -- what did you do in that case?
 20          A.     Similar to these other issues, which is
 21    primarily data compilation.
 22          Q.     Did Mr. Mukamal -- did you provide -- were
 23    you deposed in that case?
 24          A.     No.
 25          Q.     Was Mr. Mukamal deposed?


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  1          A.     I don't recall.
  2                        I believe it was a class action, and I
  3    can't remember if he was deposed or not.
  4          Q.     Has that case been resolved?
  5          A.     I believe so.
  6          Q.     Did that case go to trial?
  7          A.     I don't believe so.
  8          Q.     Any other cases that the Mukamal firm
  9    worked on with Podhurst?
 10          A.     Not that I'm aware of.
 11                        Barry's 40 years old, though, and I've
 12    only been with him for ten, so there could certainly
 13    -- or he's been working for 40 years, so he could
 14    certainly -- you know, there could be a lot more in
 15    the 30-year gap.
 16          Q.     What about you, individually?              Do you have
 17    a list of cases that you provided testimony on?
 18                        Have you ever -- you, personally, ever
 19    provided testimony on behalf of any Podhurst clients?
 20          A.     No.
 21          Q.     Have you ever provided any testimony on
 22    behalf of Chauncey Cole's clients?
 23          A.     No.
 24          Q.     You have given depositions before.                Right?
 25          A.     Correct.


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  1          Q.     And if we look at -- towards the back of
  2    that Exhibit 147.
  3                        MR. ROSENTHAL:        I'm not sure if
  4          the copy you have given him has that.
  5                        MR. LERNER:       The marked exhibit
  6          didn't have of it.
  7          A.     It's okay.
  8          BY MR. MAZZOLA:
  9          Q.     It was a list provided to us of cases that
 10    you provided deposition testimony for.
 11                        MR. ROSENTHAL:        I can give him
 12          this list, if you want.
 13                        MR. MAZZOLA:       Sure.
 14          A.     I'm familiar with all my cases.
 15          BY MR. MAZZOLA:
 16          Q.     I just want to know if that's the complete
 17    list.      Has anything been added to that since this
 18    reports been prepared?
 19          A.     That is the current list.
 20          Q.     And has anything changed on that list?
 21                        Have you provided any trial testimony?
 22          A.     Not yet.
 23          Q.     When you say "not yet," is that because
 24    you've never been proffered as an expert witness in
 25    trial?


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  1          A.     I've not testified at trial yet as an
  2    expert witness.
  3          Q.     Have you ever been proffered as an expert
  4    witness at trial?
  5                        Do you know what I mean by that?
  6          A.     The cases that I've had expert reports have
  7    not made it to the trial phase yet.                 They have all
  8    settled primarily after a deposition or been delayed
  9    for many years.
 10                        But several of those matters will go
 11    to trial soon.
 12          Q.     Prior to working at the Mukamal firm, where
 13    did you work before that?
 14          A.     Cross Country Healthcare.
 15          Q.     And what did you do for Cross Country
 16    Healthcare?
 17          A.     Internal audit.
 18          Q.     How did you end up getting into the
 19    forensic side of things?
 20          A.     Internal audit is like watching paint dry,
 21    and so accounting is also a low bar in terms of
 22    exciting work.         And so this is by far the most
 23    interesting accounting work that helps me get
 24    through the day-to-day.
 25          Q.     Okay.     That's a very good answer.             That's a


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  1    really good answer.
  2                        Have you ever been disqualified as an
  3    expert witness in any court?
  4          A.     No.
  5          Q.     Have you ever had any of your professional
  6    opinions rejected by a court?
  7          A.     No.
  8          Q.     What about your -- the methodology that
  9    you've used?        Have you ever had a court reject your
 10    methodology?
 11          A.     No.
 12          Q.     You've had it disputed, I'm sure.                Right?
 13          A.     I mean, other experts always dispute.
 14          Q.     Yes.    But a court has never rejected your
 15    methodology?
 16          A.     Correct.
 17          Q.     What about a court ever concluding that
 18    your methodology is unreasonable?                Has that ever
 19    happened to you?
 20          A.     No.
 21          Q.     Or a court concluding that you overreached?
 22    Has that ever happened?
 23          A.     No.
 24          Q.     Has a court ever concluded that your
 25    opinions were unrealistic?


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  1          A.     No.
  2          Q.     Has a court ever concluded that the
  3    assumptions that you've relied on were unrealistic?
  4          A.     No.
  5          Q.     Do you have any recollection of any judge
  6    anywhere saying, Hey, Mr. Parisi, you didn't get
  7    this right?
  8          A.     No.
  9          Q.     Do you have any recollection of any judge
 10    anywhere saying, You know, Mr. Parisi was
 11    unrealistic?
 12          A.     No.
 13          Q.     Or that Mr. Parisi overreached?
 14          A.     No.
 15          Q.     How many -- the list that we have -- it's
 16    not very long.         I think it's maybe a third of a
 17    page.      Is that correct?
 18          A.     Approximately.
 19          Q.     So in terms of how many depositions.                 How
 20    many depositions have you done?
 21          A.     As an expert witness?
 22          Q.     Yeah.
 23          A.     Probably five expert witness depositions.
 24          Q.     How many expert witness reports have you
 25    prepared in your own name?


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  1          A.     Eight to ten.
  2          Q.     In terms of the -- when I say "expert,"
  3    we're talking about expert witnesses.                  So this would
  4    be a litigated matter.            You understand that.           Right,
  5    Mr. Parisi?
  6          A.     Yes.    A filed expert report with
  7    conclusions was the answer that I gave.
  8          Q.     Okay.     So in those eight to ten instances,
  9    what courts were those matters filed in where the
 10    lawsuits were pending?
 11          A.     State court.
 12          Q.     Here in Florida?
 13          A.     Correct.      And one was in bankruptcy court.
 14          Q.     Did you ever do any federal courts here in
 15    Florida?
 16          A.     Yes.
 17          Q.     I asked you about those eight reports that
 18    you prepared.        I think you said eight was the
 19    number.      Right?
 20          A.     Approximately, yes.
 21          Q.     Okay.     And I asked you in what courts were
 22    they in, and you said they were all in Florida, and
 23    one was in bankruptcy.            Is that what you said?
 24          A.     Correct.
 25          Q.     And then the next question was, have you


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  1    ever filed -- have you ever been involved in any
  2    litigations with filed expert reports in federal
  3    court.     And the answer to that is, yes, too?
  4          A.     Yes.
  5          Q.     Okay.     And is that number subsumed within
  6    that eight that you had mentioned before?
  7          A.     When you say "that number," what are you
  8    referring to?
  9          Q.     Well, I asked you how many cases had you
 10    been involved in where expert reports were prepared
 11    and filed.       You said eight.
 12          A.     Where I was the expert?
 13          Q.     Yes.
 14          A.     Okay.
 15          Q.     So eight of them.         Right?
 16          A.     Approximately, yes.
 17          Q.     And I asked you what courts they were in,
 18    and you said that they were all Florida state, and
 19    then you said one bankruptcy.
 20          A.     I thought you were saying -- you were
 21    referring to the additional cases that we hadn't
 22    previously discussed, which -- for which I filed
 23    reports but were on my testimony history.
 24          Q.     I want to know what your whole list.
 25          A.     Okay.     Then federal, state, and bankruptcy.


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  1          Q.     Okay.     But you've never testified in open
  2    court before.        Right?
  3          A.     I've testified on hearings, but not at
  4    trial.
  5          Q.     Okay.     So you have testified before a
  6    judge?
  7          A.     Correct.
  8          Q.     And those times you've testified before a
  9    judge, I assume the judge qualified you as an
 10    expert.      Is that correct?
 11          A.     I believe I've been qualified as an expert.
 12    I don't fully remember.            But yes.
 13          Q.     Did you ever testify before Judge Scola
 14    here in the Southern District?
 15          A.     No.    Not that I recall.
 16          Q.     How many times have you testified in court?
 17          A.     I've only testified in court on probably
 18    two, maybe three, hearings.
 19          Q.     Those were hearings?
 20          A.     Correct.
 21          Q.     What were the hearings involving?
 22          A.     Bankruptcy production disputes.
 23          Q.     What's a bankruptcy production dispute?
 24          A.     When you're suing someone in bankruptcy and
 25    they don't want to produce any documents and say


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  1    regularly available accounting records don't exist.
  2          Q.     Okay.
  3                        MR. MAZZOLA:       Let's mark ...
  4                        Let's mark this document -- we're
  5          going to mark a document.                And what --
  6          we're also going to look at the screen.
  7          And I'm going to mark it.                Is that okay?
  8                        MR. ROSENTHAL:        Yeah.      Is that
  9          the next one?
 10                        MR. MAZZOLA:       Yeah.       Did you mark
 11          your connection -- your -- yours from the
 12          last time?
 13                        MR. ROSENTHAL:        Yes.      So this is
 14          going to be 151?
 15                        MR. MAZZOLA:       Yeah.       151.
 16                        (Deposition Exhibit 151
 17                        marked for identification.)
 18          BY MR. MAZZOLA:
 19          Q.     All right, Mr. Parisi.              I'm going to hand
 20    you a document.         That's a document that we've marked
 21    as 151.      And this is a printout that I made.                 And on
 22    the screen over here -- can you see the screen,
 23    Mr. Parisi?
 24          A.     I do.
 25          Q.     It's a printout that I made of,


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  1    essentially, the folders which purport to contain
  2    all the documents that you reviewed.                  It purports to
  3    show all the documents that were provided on -- by
  4    your attorney to us.           Okay?
  5          A.     Okay.
  6          Q.     And I wanted to understand -- basically,
  7    what I want to understand right now is everything
  8    that you reviewed in connection with the preparation
  9    of this report.         And it may very well be that you
 10    didn't review everything here, that only certain
 11    items were reviewed by you.              Is that fair?
 12          A.     That's fair.
 13          Q.     Okay.     So let's look at -- I guess we can
 14    look at these Rishi transmittal emails.
 15          A.     Sure.
 16          Q.     I don't want to pull them all up because it
 17    will take us all day to do that.                But by looking at
 18    what I'm opening up, can you give me a sense as to
 19    whether or not these were things that you would have
 20    reviewed.
 21                        And I will tell you this:             They were
 22    provided to us by Mr. Rosenthal as documents that
 23    were reviewed and relied upon by the experts in this
 24    case.
 25                        MR. ROSENTHAL:        So before he


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  1          answers, if you could just make it clear
  2          which ones you're asking about by reading
  3          the name and --
  4                        MR. MAZZOLA:       I will do that.
  5          BY MR. MAZZOLA:
  6          Q.     So let's just go back over here.
  7                        So there's a Rishi Transmittal Email
  8    folder.      Is that something you would have reviewed?
  9          A.     Yes.
 10          Q.     There's a Response From Benlida folder.                   Do
 11    you see that?
 12          A.     Yes.
 13          Q.     Is that something you would have reviewed?
 14          A.     Yes.
 15          Q.     There's a Follow-Up Benlida folder.                 Is
 16    that something you reviewed?
 17          A.     Yes.
 18          Q.     The August 2019 Forward folder.               Would you
 19    have reviewed that?
 20          A.     Yes.
 21          Q.     Benlida Complaint Invoices.
 22          A.     Yes.
 23          Q.     How about Citibank Statements?
 24          A.     Yes.
 25          Q.     Invoices?


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  1          A.     Yes.
  2          Q.     LTP Support?
  3          A.     Yes.
  4          Q.     This Received 5/3/23 CTX?
  5          A.     I'm not sure what that is, off the top of
  6    my head, like I am the others.
  7          Q.     How about I open it up a little more?
  8          A.     Oh.    I know what this is.
  9                        Yes.
 10          Q.     These say "DM" on them.            Do you see that?
 11          A.     I do.     I know exactly what they are.
 12          Q.     These are debit memos.            Right?
 13                        You have to give a verbal.
 14          A.     Yes.
 15                        I'm sorry.       I apologize.
 16          Q.     This reconciliation analysis.              Would you
 17    have reviewed that?
 18                        MR. ROSENTHAL:        Wait.     Let's be
 19          clear.     That's a 2012 to 2019
 20          reconciliation analysis.            2019.11.15 CCT.
 21                        I say that because there's a lot
 22          of different things with those words
 23          "reconciliation analysis" in them.                That's
 24          why.
 25          A.     Yeah.     I don't remember what that file is,


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  1    specifically.
  2          BY MR. MAZZOLA:
  3          Q.     If I open it, will this help refresh your
  4    recollection?
  5          A.     Yes.    I think that's the --
  6          Q.     I'm just tabbing through the bottom.
  7          A.     Yeah.     I know what -- yeah.           This is -- I
  8    think this is the -- Benlida's first response.                      This
  9    looks like the Benlida's first response email -- or
 10    no.
 11                        Yeah.     It looks like their first
 12    response email, would be my guess.
 13          Q.     So this is what we call 2012 to 2019
 14    reconciliation analysis, 2019.11.15.                  Is that
 15    correct?
 16          A.     Correct.
 17                        MR. MAZZOLA:        Did I get that
 18          right, Stephen?
 19                        MR. ROSENTHAL:         I'm sure you did.
 20          BY MR. MAZZOLA:
 21          Q.     Moving down this list, Benlida Payment
 22    Details CTX U.S. 2012 to 2021 Version 5.                   Did you
 23    review that?
 24          A.     Yes, I reviewed it.
 25          Q.     And then there's a Benlida -- it's a


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  1    Microsoft Word document.             It's got a whole bunch of
  2    zeros, but ends in 73.
  3          A.     I believe that's meeting minutes.
  4          Q.     And you reviewed them?
  5          A.     Yes.
  6          Q.     They're mentioned in the report?
  7          A.     Yes.
  8          Q.     This looks like an email, Benlida, ending
  9    in 364.      Is that something you would have reviewed,
 10    too?
 11          A.     Yes.    I don't remember the specific context
 12    of that email, but we reviewed all the items in our
 13    documents utilized.
 14          Q.     So everything that we're looking at here --
 15    you just said "we" reviewed everything.
 16          A.     Yes.
 17          Q.     I'm asking about you right now.               You
 18    reviewed everything.           Right?
 19          A.     Yes.
 20          Q.     Now, the "we" -- does the we include
 21    Mr. Mukamal?        Did he review everything?
 22          A.     Yes.
 23          Q.     What about Ms. Khanorkar?
 24          A.     Yes.
 25          Q.     She reviewed everything as well?


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  1                        Anyone else that would have reviewed
  2    everything at the Mukamal firm?
  3          A.     Us three are the primary -- primary people
  4    working on the matter.            There may be some junior
  5    staff doing some clerical-type work, but nothing
  6    substantive.
  7          Q.     When you moved over to Citrin, did you
  8    bring a file over --
  9                        When you moved over to Citrin, did you
 10    bring the file over with you?
 11          A.     No.
 12          Q.     All the file materials in connection with
 13    this remained with the Mukamal firm?
 14          A.     Correct.      Nor did I want that treasure.
 15          Q.     So if I ask you any question about any of
 16    the documents that are contained on this 151, you
 17    would have seen that document.                 Is that correct?
 18          A.     Correct.
 19          Q.     Did you review any other documents that are
 20    not listed on this Exhibit 151?
 21          A.     Not for the counterclaim.
 22          Q.     What does that mean?
 23          A.     Well, we were retained for
 24    Circuitronix, LLC's, counterclaim against Benlida.
 25    There's also additional transactions between


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  1    Circuitronix, LLC, in Hong Kong, and similarly
  2    Circuitronix, LLC, and ROK.              But those additional
  3    parties were not relevant for purposes of the
  4    counterclaim or included in the counterclaim.
  5          Q.     So you're talking about documents that
  6    related to transactions between -- I'm going to call
  7    it Hong Kong.        Right?     CTX Hong Kong.
  8                        So between the Hong Kong operation and
  9    Benlida, those documents, you did not review for
 10    purposes of this report and your testimony today.                        Is
 11    that correct?
 12          A.     Correct.
 13          Q.     You also referred to ROK.             Is that correct?
 14          A.     Correct.
 15          Q.     Okay.     You also referred to documents
 16    between -- that relate to the transactions between
 17    the Hong Kong entity and ROK and that you did not
 18    review those documents for purposes of this report
 19    and your testimony today.             Is that correct?
 20          A.     So I just want to give clear testimony.
 21    You said Circuitronix Hong Kong and ROK.                   The
 22    transactions would be between Circuitronix Hong Kong
 23    and Benlida and also Circuitronix, LLC, and ROK.
 24          Q.     Okay.     So we're talking Circuitronix, LLC,
 25    and ROK.      You didn't review those documents.


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  1                        MR. ROSENTHAL:        Object to form.
  2          A.     So I want to be clear.            For the
  3    counterclaim.        I did not review those documents for
  4    purposes of the counterclaim.
  5          BY MR. MAZZOLA:
  6          Q.     Okay.     In connection with the -- but for
  7    purposes -- so the report that you created today and
  8    for your testimony that you're going to provide
  9    today, you did not review those documents.
 10          A.     We had the data assembled so we could
 11    respond to it -- to a claim and affirm the report if
 12    we were going to produce a rebuttal.                  But we didn't
 13    really analyze those transactions as they were not
 14    relevant for the counterclaim.
 15          Q.     And those transactions are the Hong Kong
 16    entity and Benlida.           Right?
 17                        Correct?
 18          A.     Correct.
 19          Q.     You're saying the U.S. entity and ROK.                  Is
 20    that the other set you looked at?
 21          A.     Correct.
 22          Q.     Or that you looked at but they're not
 23    referenced in your testimony today or your report
 24    today?
 25          A.     Well, I would like to be clear.               We do have


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  1    a footnote --
  2          Q.     I know the footnote.              Yeah.   We're going to
  3    get to the footnote.           We're just ramping up here --
  4    getting ramped up.
  5          A.     I'm excited, too.
  6          Q.     Any documents -- any other documents that
  7    are out there that you have that are not on this
  8    list?
  9          A.     For the counterclaim?
 10          Q.     For anything connected to the relationship
 11    between Benlida CTX, LLC, CTX Hong Kong,
 12    CTX Shenzhen.        Anything.
 13                        MR. ROSENTHAL:        I'm sorry.
 14          What's the question?
 15                        MR. MAZZOLA:       Any other documents
 16          that he has or has reviewed that are not
 17          contained on this list, this 151?
 18                        MR. ROSENTHAL:        What are you
 19          asking?     Does he have anything else?
 20          A.     Yes.    We have additional documents that we
 21    received.       But we did not utilize them for the
 22    report, and they are not included in our documents
 23    utilized accordingly.
 24          BY MR. MAZZOLA:
 25          Q.     Okay.     So we know there's a set of


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  1    documents that you received that you did not utilize
  2    for your report accordingly.              We know that.        And
  3    that set that you just talked about relates to these
  4    things between Hong Kong and Benlida and U.S. and
  5    ROK.
  6                        Is there any other set of documents?
  7          A.     No.    These are the primary issues in the
  8    case.
  9          Q.     So there's no other documents that you were
 10    provided that you -- that are not on the list and
 11    you did not utilize.
 12          A.     We were provided documents that we did not
 13    utilize.
 14          Q.     And the ones -- I'm trying to understand
 15    what you mean "utilize."             So what you didn't
 16    utilize, it seems to me, is these documents related
 17    to the Hong Kong Benlida and the ROK transactions.
 18          A.     Correct.
 19          Q.     Okay.     Is there anything else?
 20          A.     Not that I recall.
 21          Q.     Okay.     The documents.          Who gave them to
 22    you?
 23                        And by that, I mean literally.               Did
 24    they come from Chauncey?
 25                        That's a question.


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  1          A.     I'm sorry.       I was waiting for you to
  2    finish.
  3          Q.     That's the question.              Were -- the
  4    documents.       Were they provided to you by -- were
  5    they provided to you from Chauncey via email or some
  6    other way?
  7          A.     Primarily through Chauncey.
  8    Circuitronix, LLC, may also have sent us some
  9    documents.
 10          Q.     Did Mr. Rosenthal or anyone that works with
 11    Mr. Rosenthal send you any documents?
 12          A.     Yes.    I believe they sent us documents.
 13    Which documents, I can't recall who sent what
 14    specifically.        Most of the documents were received a
 15    long time ago.
 16          Q.     So Mr. Rosenthal and his team sent
 17    documents.       Is that correct?
 18          A.     I believe so.
 19          Q.     But you don't have a recollection of what
 20    they sent, just that they sent you something.
 21          A.     Correct.
 22          Q.     Mr. Cole, Chauncey Cole, he sent you some
 23    documents.       Is that correct?
 24          A.     Correct.
 25          Q.     And CTX, they sent documents, too.                Is that


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  1    correct?
  2          A.     Correct.
  3          Q.     Did CTX ever send you documents independent
  4    of Mr. Rosenthal or Mr. Cole?
  5          A.     Not that I recall.
  6          Q.     Who selected the documents that you
  7    reviewed?
  8          A.     We selected -- I mean, I don't fully
  9    understand your question.
 10                        There are documents in the litigation.
 11    The documents were produced to us as relevant to the
 12    litigation.        There are many documents.
 13          Q.     So the documents that were produced to you
 14    were sent to you by CTX, Mr. Rosenthal, or Mr. Cole.
 15    Is that correct?
 16          A.     Correct.
 17          Q.     Did -- is it fair to say, then, that it was
 18    either CTX, Mr. Rosenthal, or Mr. Cole that selected
 19    the documents for you to review in the first
 20    instance?
 21                        MR. ROSENTHAL:        Object to the
 22          form.
 23          A.     No.
 24          BY MR. MAZZOLA:
 25          Q.     That's not fair to say that?


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  1          A.     No.
  2          Q.     Did you participate in selecting any
  3    documents?
  4          A.     Yes.
  5          Q.     You did?
  6                        Did you go back to CTX and say, I want
  7    to see this, or I want to see that?
  8          A.     Absolutely.
  9          Q.     Did you go back to Mr. Cole and say, I want
 10    to see this and I want to see that?
 11          A.     We requested documents.            I don't remember
 12    who we specifically requested documents from but
 13    counsel.
 14          Q.     Did you ever request any documents after
 15    reviewing a first set or a second set of documents?
 16          A.     Yes.
 17          Q.     What I'm getting at is, did you ever go
 18    back to CTX, Mr. Cole, or Mr. Rosenthal and say,
 19    Hey, we want to see this or that?                Anything like
 20    that ever happen?
 21          A.     Yes.
 22          Q.     Can you give me an example of that?
 23          A.     So in the report, we selected debit memos
 24    for sampling.        That would be a primary example.
 25          Q.     You selected debit memos for sampling.


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  1          A.     Correct.
  2          Q.     Those debit memos that you selected for
  3    sampling would be contained on this 151.                   Right?
  4          A.     Yes.
  5          Q.     So if I pulled up a debit -- so you
  6    selected them.
  7                        What do you mean you selected them?
  8                        Did you go back to Mr. Cole and say,
  9    Send us a particular debit memo?
 10          A.     It might not have been Mr. Cole, but yes.
 11          Q.     Well, you may have gone back to
 12    Mr. Rosenthal.         Right?
 13          A.     Correct.      I just don't remember if it was
 14    Mr. Cole or Mr. Rosenthal or who it was
 15    specifically.
 16          Q.     Did you ever have direct communications
 17    with anyone at CTX requesting any documents?
 18          A.     Our communications -- I mean, we primarily
 19    communicated through email.              But no.      I didn't call
 20    anyone directly at CTX and request documents, if
 21    that's your question.
 22          Q.     So direct -- did you have any direct
 23    communications with CTX via email?
 24          A.     We communicated with CTX and counsel via
 25    email.


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  1          Q.     Did you ever have any direct, independent
  2    communications with CTX without counsel?
  3          A.     Not that I recall.
  4          Q.     Did Mr. Mukamal ever have any direct
  5    communications with CTX without counsel that you
  6    know?
  7          A.     Not that I'm aware.
  8          Q.     Did you have any -- ever have any -- "you"
  9    ever have any direct telephone calls with anyone at
 10    CTX without counsel?
 11          A.     Not that I recall.
 12          Q.     What about Mr. Mukamal?
 13                        MR. ROSENTHAL:        Did he have
 14          conversations with Mr. Mukamal?
 15                        MR. MAZZOLA:       Yeah.     Mr. -- no,
 16          no, no.     Conversations with -- he knows.
 17          BY MR. MAZZOLA:
 18          Q.     Did Mr. Mukamal have any conversations with
 19    anyone at CTX?
 20          A.     I don't want to speak for Barry.                I have no
 21    idea.
 22          Q.     Okay.     What about Ms. Khanorkar?
 23          A.     Not that I'm aware of.
 24          Q.     Did you ever have an opportunity to review
 25    any -- any documents, spreadsheets, or anything on,


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  1    say, Mr. Rosenthal's computer that's not reflected
  2    on this list 151?
  3          A.     I've not been through Mr. Rosenthal's
  4    computer.
  5          Q.     Okay.     Did he ever show you anything that's
  6    not on this list?
  7          A.     I mean, did he show us anything ...
  8                        Not that I recall.
  9          Q.     I'm trying to understand the universe of
 10    everything that you have in your file that you've
 11    reviewed.
 12          A.     Um-hmm.
 13          Q.     And what I want to know is, were you ever
 14    meeting with Mr. Rosenthal at any time, or anyone
 15    that works for him, and they showed you a
 16    spreadsheet that you looked at and reviewed, but
 17    it's not contained on this list 151?
 18          A.     Yes.
 19          Q.     There were spreadsheets they showed you.
 20          A.     Yes.
 21          Q.     That are not on this list.
 22          A.     Yeah.
 23          Q.     What did those spreadsheets reflect?
 24          A.     So recently -- because our report was filed
 25    on June 8th, and some of the key depositions had not


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  1    yet occurred, or we hadn't had transcripts, and we
  2    received a spreadsheet from Benlida.                  Benlida
  3    testified that there were --
  4          Q.     What are you reading?
  5          A.     I'm not reading anything.             This is my
  6    report.
  7          Q.     It's in your report, then.             Right?
  8          A.     No.
  9                        MR. ROSENTHAL:        No.    You just
 10          interrupted his answer, though.
 11          BY MR. MAZZOLA:
 12          Q.     Go ahead and finish.
 13          A.     So Benlida said that -- or the testimony
 14    says that there was two spreadsheets that -- or two
 15    sets of books Benlida kept.              Or I may be
 16    paraphrasing.        But one had the transactions,
 17    quote/unquote, commingled, even though you could
 18    clearly see the delineation between
 19    Circuitronix, LLC, and Hong Kong in the records.
 20    And then a second spreadsheet -- or that everywhere
 21    was commingled.
 22                        And then I was also aware of that
 23    there was a second spreadsheet where the books were
 24    kept separate, but I haven't seen that separate --
 25    the separate set of books yet.                 Only the one where


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  1    the records of Circuitronix, LLC, and Hong Kong are
  2    commingled.
  3          Q.     So CTX, LLC, and CTX Hong Kong are
  4    commingled?
  5          A.     By Benlida.
  6          Q.     By Benlida.
  7                        Why do you use the word "commingled"?
  8          A.     Because all the transactions for
  9    Circuitronix, LLC, and Circuitronix Hong Kong are
 10    contained on the same spreadsheet.                 But within the
 11    payments, for example, there's a column.                   And
 12    sometimes for each payment, it identifies is this a
 13    Circuitronix, LLC, payment; is there a Circuitronix
 14    Hong Kong payment.
 15          Q.     That's Benlida's records.
 16          A.     Correct.
 17          Q.     And what does that mean to you?
 18          A.     I don't understand your question.
 19          Q.     Why did you raise it?
 20                        Why is it relevant?
 21                        Do you have an opinion based upon that?
 22                        MR. ROSENTHAL:        Object to the
 23          form.
 24                        Go ahead.
 25          A.     Your question was, did I review any other


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  1    spreadsheets?
  2          BY MR. MAZZOLA:
  3          Q.     Yes.    And now you're raising it, and I'm
  4    asking if you have any comments, opinions about
  5    that.
  6          A.     My only comment was the -- even though the
  7    analysis is commingled, you can clearly tell if the
  8    payments are attributable to Circuitronix Hong Kong
  9    or LLC.
 10                        And similarly, the invoices --
 11    Benlida's the one who creates the invoices.                    The
 12    invoice numbers, specifically.                 And within that
 13    invoice number, there's a designation to identify if
 14    Benlida created that spreadsheet for -- or that
 15    invoice, rather, for Circuitronix Hong Kong or LLC.
 16                        And so I did take that spreadsheet,
 17    and I separated it to see if the results would be
 18    similar to what's in our report, to see if, you
 19    know, Benlida's internal records reflected something
 20    similar to what our analysis concluded.
 21          Q.     What do you mean "concluded"?
 22          A.     About the balance due as of July 2019 and
 23    the compilation of the lead-time penalties.
 24          Q.     And that's in your report?
 25          A.     Correct.


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  1          Q.     So this additional thing that you reviewed,
  2    that worked its way into your report.                  Is that what
  3    you're saying?
  4                        MR. ROSENTHAL:        Object to form.
  5          A.     So that is not what I'm saying.
  6          BY MR. MAZZOLA:
  7          Q.     Okay.     What are you saying, then, about
  8    this additional thing that you reviewed on
  9    Mr. Rosenthal's computer after the depositions --
 10                        MR. ROSENTHAL:        Object to the
 11          form.
 12          BY MR. MAZZOLA:
 13          Q.     -- does that impact your report in any way?
 14                        MR. ROSENTHAL:        Object to the
 15          form.
 16          A.     So I just want to be very clear.
 17    Mr. Rosenthal sent us a spreadsheet of Benlida's
 18    accounting records as represented by Benlida.                     I
 19    analyzed that spreadsheet well after my report had
 20    passed.      And so that report -- or that spreadsheet,
 21    rather, did not change the opinions in my report.
 22          BY MR. MAZZOLA:
 23          Q.     It does not change the opinions in your
 24    report.
 25          A.     Correct.


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  1          Q.     Does it support the opinions in your
  2    report, in your opinion?
  3          A.     In a way.
  4          Q.     If -- do you have the binders in front of
  5    you?
  6          A.     Yes.
  7          Q.     Can you go to -- there's an Exhibit 21.
  8                        MR. ROSENTHAL:        JC, just so you
  9          know, there's some that may not be in
 10          there.
 11                        MR. MAZZOLA:       No.       These are
 12          all -- these are nothing.                This is the
 13          manufacturing agreement, one is the --
 14                        MR. ROSENTHAL:        I'm just saying
 15          there may be some that are not in there,
 16          but that should be there.
 17                        MR. MAZZOLA:       No.       These are
 18          there.
 19                        MR. ROSENTHAL:        I'm telling you.
 20          You don't know what's in these.                Some of
 21          these are not, because I haven't put my
 22          copies in there.
 23                        MR. MAZZOLA:       Okay.
 24                        MR. ROSENTHAL:        I noticed it
 25          yesterday.


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  1                        MR. MAZZOLA:       Okay.
  2          BY MR. MAZZOLA:
  3          Q.     I saw you stopped at a number of charts.
  4          A.     Well, I'm flipping through all three.
  5          Q.     Have you ever seen that document that's
  6    Exhibit 21?
  7          A.     I believe I've seen it before.               Yes.
  8          Q.     We're going to talk about this later.                  I'm
  9    just trying to clear a few things out here.                    I'll
 10    ask you some questions about that later.
 11                        While you're in the binders, can you go
 12    to Exhibit 40.
 13                        Have you ever seen that document?
 14          A.     I don't believe so.
 15          Q.     Okay.     Let's go to Exhibit 121.
 16          A.     121.    That's in the other one.
 17          Q.     Mr. Parisi, if you need to take a break at
 18    any time, just let us know.
 19          A.     I'm good to keep going.
 20          Q.     You're a lot younger than me.
 21                        This is a document -- this is
 22    Exhibit 121.        It's an email.
 23                        Do you see that?
 24                        You're not there yet, are you?
 25          A.     Yes.


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  1          Q.     Have you ever seen that document?
  2          A.     Not that I recall.
  3          Q.     Okay.     From an accounting perspective, this
  4    is a little bit more interesting than the other
  5    ones.      Right?
  6          A.     Yes.
  7          Q.     Spreadsheets and stuff.            But you haven't
  8    seen it.
  9          A.     Correct.
 10          Q.     Okay.     Let's look at your report.             I'm
 11    going to draw your attention to that.
 12                        Do you have it in front of you?
 13                        You can close the other binders now.
 14          A.     Yes.
 15          Q.     So I think we -- in talking to you a bit
 16    earlier, you're prepared to talk about anything
 17    that's contained within this report today.                    Is that
 18    correct?
 19          A.     Yes.
 20          Q.     Do you anticipate, in answering any of your
 21    questions, being -- and I don't know yet if it's not
 22    a fair question, but I'm just trying to understand
 23    that I can ask you questions about this report, and
 24    you're prepared to talk about this report.                    Is that
 25    correct?


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  1          A.     Absolutely.
  2          Q.     Okay.     Of course, there may come a moment
  3    within the report -- a time in response to the
  4    question where you may have to say, Well, no,
  5    Mr. Mukamal knows this, or something else.                    And
  6    we'll address that when we get to it.                  But I just
  7    want to roll through this report with you.                    Okay?
  8          A.     Absolutely.
  9          Q.     You know, if you look at your first
 10    paragraph, your first bullet point, you talk about
 11    analyzing accounts payable reconciliations prepared
 12    by Benlida and CTX.           You have a footnote there, and
 13    you distinguish -- you identify it as CTX, LLC.
 14                        Do you see that?
 15          A.     I do see the footnote.
 16          Q.     Why such a distinction?
 17          A.     I don't understand your question.
 18          Q.     Were you intending to distinguish CTX, LLC,
 19    as separate from CTX Hong Kong?
 20          A.     They are separate companies.
 21          Q.     Who told you they were separate companies?
 22          A.     The names.
 23          Q.     Anyone else tell you that?
 24          A.     I mean, it's obvious they're separate
 25    companies.


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  1          Q.     Do you know how they're organized legally?
  2          A.     One is a Hong Kong company, and one is a
  3    domestic company.
  4          Q.     You're a fine accountant, but are you an
  5    attorney?
  6          A.     I am not an attorney.
  7          Q.     Did you review the corporate documents of
  8    CTX, LLC, and the corporate documents of
  9    CTX Hong Kong?
 10          A.     Not that I recall.
 11          Q.     Okay.     Did you review any contracts between
 12    CTX, LLC, and CTX Hong Kong?
 13          A.     I previously saw the manufacturing
 14    agreement that we referred to, and I saw meeting
 15    minutes as well.         But I don't remember additional
 16    contracts.
 17          Q.     Are you familiar with the organizational
 18    structure of CTX Hong Kong?
 19          A.     I'm not.
 20          Q.     Are you familiar with the organizational
 21    structure of CTX, LLC?
 22          A.     I'm not.
 23          Q.     Are you familiar with the ownership
 24    structure of CTX Hong Kong?
 25          A.     I'm not.


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  1          Q.     Are you familiar with the ownership
  2    structure of CTX, LLC?
  3          A.     I believe Rishi Kukreja owns Circuitronix,
  4    LLC.
  5          Q.     Are you aware of -- do you know if there's
  6    any common control between CTX Hong Kong and
  7    CTX, LLC?
  8          A.     Common control ...
  9                        I'm not sure what you mean by "common
 10    control."
 11          Q.     It's just a question.
 12                        Are you aware if there's any common
 13    control between CTX, LLC, and CTX Hong Kong?
 14                        MR. ROSENTHAL:        Object to the
 15          form.
 16          A.     I'm aware that Rishi Kukreja is involved in
 17    the operations of Circuitronix Hong Kong, but I
 18    don't know if that rises to the level of what you
 19    mean by "control."
 20          Q.     What about -- are there any common
 21    interests between CTX Hong Kong and CTX, LLC, if you
 22    know?
 23                        MR. ROSENTHAL:        Object to form.
 24          A.     What do you mean "common interests"?
 25    \\\


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  1          BY MR. MAZZOLA:
  2          Q.     Do you know of related parties?
  3          A.     Yes.
  4          Q.     From an accounting perspective?
  5          A.     Yes.
  6          Q.     And do you -- what is a related party from
  7    an accounting perspective?
  8          A.     So they could physically be related and
  9    they're related parties.             One person, for example,
 10    could own two entirely separate companies, and those
 11    companies may or may not do business with each
 12    other.
 13          Q.     If one person owns two or two separate
 14    companies, and you're doing an accounting, would you
 15    consider those two companies to be related parties?
 16          A.     It depends.
 17          Q.     It would depend on a lot of factors.
 18    Right?
 19          A.     Correct.
 20          Q.     And the factors that you would look at in
 21    looking at related parties are, from an accounting
 22    perspective, would be things like common control.
 23    Is that a factor you would look at?
 24          A.     It could be.
 25          Q.     You would also look at -- a factor might be


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  1    common ownership.          Isn't that correct?
  2          A.     It could be.
  3          Q.     Another factor you might look at, when you
  4    are looking at related parties from an accounting
  5    perspective, are things like do these parties have a
  6    common interest.         Those are factors you would look
  7    at.    Is that correct?
  8          A.     It could be.       Yes.
  9          Q.     So when you wrote down Circuitronix, LLC,
 10    was that an effort by you to distinguish the
 11    Circuitronix U.S. operation from the Circuitronix
 12    Hong Kong operation?
 13          A.     Yes.
 14          Q.     Did you ever do a related-party analysis
 15    between CTX U.S. and CTX Hong Kong?
 16          A.     Not that I recall.
 17          Q.     But if you did, it would be in the report.
 18    Right?
 19          A.     Correct.
 20          Q.     Okay.     So if you don't recall it, and it's
 21    not in the report, that means you didn't do it.
 22    Right?
 23          A.     Correct.
 24          Q.     Okay.     Now, it says you were retained by
 25    legal counsel "to."           Do you see that?


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  1          A.     Correct.
  2          Q.     And there's two bullet points there.
  3                        This was the brief, if you will, or the
  4    instruction that you received from legal counsel, and
  5    that was to analyze the accounts payable
  6    reconciliations prepared by Benlida and CTX U.S. only
  7    as of July 31, 2019.           Is that correct?
  8          A.     Correct.
  9          Q.     And then you were also asked to examine and
 10    summarize calculations prepared by CTX with respect
 11    to lead-time penalties owed from Benlida.                    Is that
 12    correct?
 13          A.     Correct.
 14          Q.     Now, it looks like when you were asked to
 15    examine and summarize calculations, they were only
 16    the calculations prepared by CTX with respect to
 17    lead-time penalties.           Is that correct?
 18          A.     No.
 19          Q.     But that's what it says.
 20          A.     Well, they were prepared, but there's also
 21    some meeting minutes where Benlida and CTX agreed to
 22    waive some of the lead-time penalty, rather.                     And
 23    so, to me, that involvement means Benlida is
 24    somewhat involved in the lead-time penalty
 25    calculations.


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  1                        I mean, there is testimony about it.
  2    It appears in the meeting minutes.                 So it was
  3    somewhat a joint effort.
  4          Q.     But the calculations that you looked at,
  5    you know, the spreadsheets, the numbers that you
  6    looked at, those were pursuant to this bullet point
  7    prepared by CTX.         Is that correct?
  8          A.     Correct.
  9          Q.     And that's what you wrote.             Right?
 10          A.     Correct.
 11                        MR. MAZZOLA:       Can we take a break
 12          now?    Is that okay with you, Stephen?
 13                        MR. ROSENTHAL:        It's your depo.
 14          I'm happy to take a break.
 15                        (Off record:       11:33 a.m. to 11:41 a.m.)
 16          BY MR. MAZZOLA:
 17          Q.     So you know, I had asked a question about
 18    related parties, and it dawned on me when I'm
 19    looking at what you were instructed to do.                    You were
 20    not instructed to do a related-party analysis.                      Is
 21    that correct?
 22          A.     Not that I recall.
 23          Q.     But if you were instructed to do it, it
 24    would have been in the report.                 Right?
 25          A.     I don't remember any discussion of


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  1    related-party analysis, nor was it defined in our
  2    initial scope.
  3          Q.     Okay.     Did you or Mr. Mukamal ever suggest
  4    to the CTX side that a related-party analysis might
  5    be useful?
  6          A.     Not that I recall.
  7          Q.     You don't recall that?
  8          A.     I do not.
  9          Q.     You didn't have the conversation.                Right?
 10          A.     I did not.
 11          Q.     Do you know if Mr. Mukamal did?
 12          A.     Not that I'm aware.
 13          Q.     And what about Ms. Khanorkar?
 14          A.     Not that I recall.
 15          Q.     Anyone have a conversation with anyone on
 16    the CTX side that a related-party analysis would be
 17    necessary to do a full picture of this?
 18          A.     What do you mean by "this"?
 19          Q.     This analysis to provide a full picture.
 20                        MR. ROSENTHAL:        For the record,
 21          you're referring to the report marked as
 22          Exhibit 147?
 23          A.     Yeah.     For CTX's counterclaim.
 24          BY MR. MAZZOLA:
 25          Q.     Yes.


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  1          A.     Not that I recall.
  2          Q.     As you sit here today, do you think a
  3    related-party analysis would be useful?
  4          A.     As I sit here right now, I do not believe
  5    so.
  6          Q.     Why is that?
  7          A.     Because I don't understand how that
  8    information would impact the counterclaim.
  9          Q.     We'll ask you later, maybe.              Okay?
 10          A.     Okay.
 11          Q.     At paragraph 2, you talk about we have not
 12    been requested to perform, nor have we performed, an
 13    analysis, which is required beyond -- an analysis
 14    beyond what was required for the analysis presented
 15    in this report.         That's still true, as you sit here
 16    today.     Right?
 17          A.     Correct.
 18          Q.     So in terms of the related-party analysis
 19    that we were just talking about, you have not been
 20    asked to do such, and you have not done such.                     Is
 21    that correct?
 22          A.     Correct.
 23          Q.     You say that your analysis was performed
 24    using records of CTX.
 25                        Do you see that?


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  1          A.     Correct.
  2          Q.     And, again, I'm trying to understand
  3    that -- you know, when you talk about records you
  4    received, these are -- all the records you have here
  5    are records that you received from CTX.                   Is that
  6    correct?
  7          A.     We also received some meeting minutes.                  And
  8    I think those meeting minutes had Benlida Bates
  9    stamp numbers on them.
 10          Q.     Okay.     Other than those meeting minutes
 11    that had a Benlida Bates stamp number on it, as you
 12    sit here today, the records that you reviewed,
 13    spreadsheets, everything that's in this one --
 14    that's up on the screen over here, and that's
 15    Exhibit 151, those were documents that you received
 16    from CTX.       Is that correct?
 17          A.     We received documents from CTX and counsel.
 18          Q.     Okay.     That side, not from Benlida.
 19          A.     We received Benlida documents through
 20    counsel.
 21          Q.     Is there anything you received -- anything
 22    you received or reviewed was filtered through
 23    counsel and/or CTX.           Is that correct?
 24                        MR. ROSENTHAL:        Object to form.
 25          A.     I'm trying to recall if we did any


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  1    independent internet searches.
  2          BY MR. MAZZOLA:
  3          Q.     Did you?
  4          A.     I don't recall.         I'd have to look at the
  5    documents utilized.
  6                        I don't have it in this report
  7    version.
  8                        MR. ROSENTHAL:        Oh.    You want to
  9          see the documents?
 10                        THE WITNESS:       Correct.
 11                        MR. ROSENTHAL:        Let me do this.
 12          Let me tear off the copy I have.                I don't
 13          think it's marked in any way.
 14          BY MR. MAZZOLA:
 15          Q.     What do want to look at?
 16          A.     Just the "Documents Utilized" section of
 17    the report.
 18          Q.     Oh, okay.
 19          A.     I just don't recall if there's any sources
 20    of data that --
 21          Q.     That is -- that's not on my version,
 22    either?
 23          A.     No.    It truncates -- it truncates on page
 24    15 for me.
 25                        MR. ROSENTHAL:        I don't have an


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  1          unmarked page of that, so -- but you could
  2          probably bring it up on the screen.                 I
  3          don't know if the report's in there.
  4                        MR. MAZZOLA:       Mine has it.        You
  5          can look at mine.         I don't care.
  6                        I'm going to rip it off.            Is that
  7          okay?     Should we exhibit it?           Mark it?
  8                        MR. LERNER:       Yeah.     Mark it as
  9          152.
 10                        (Deposition Exhibit 152
 11                        marked for identification.)
 12                        MR. MAZZOLA:       Stephen, that has
 13          some of my handwriting on it.
 14                        MR. ROSENTHAL:        Okay.
 15                        (Document review.)
 16          A.     Okay.     Yes.    Everything here appears like
 17    it would have come from Circuitronix or through
 18    counsel.
 19          BY MR. MAZZOLA:
 20          Q.     Okay.     And you see at that top -- I
 21    actually wrote on it.           It says "Documents Utilized."
 22    So these would have been documents utilized in the
 23    preparation of the report.             Is that correct?
 24          A.     Correct.
 25          Q.     And you'll see my own handwriting there.                    I


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  1    kind of -- a question:            Reviewed.
  2                        I assume you would have reviewed these
  3    as well.      Right?
  4          A.     Yes.
  5          Q.     Okay.
  6          A.     Absolutely.
  7          Q.     And then this nice lady over here is going
  8    to make a photocopy of this for us.
  9          A.     Oops.     Sorry.     I put that in the middle of
 10    the table.       I apologize.
 11          Q.     Moving through your report, you advised
 12    that you did not perform any attestation or audit
 13    procedures.
 14                        What does "attestation" mean?
 15          A.     It's a form of review in accounting.                 It's
 16    an accounting term of art.
 17          Q.     What does it mean?
 18          A.     It's similar to review -- it's similar to
 19    an audit.
 20          Q.     Okay.
 21          A.     Just procedures to verify the financials.
 22          Q.     So that -- so you're saying you didn't --
 23    you did not perform an attestation or audit with any
 24    of the summary analysis presented herein.                    Does that
 25    mean you didn't check them?


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  1          A.     No.    In accounting, "audit" is a very
  2    specific term of art.           "Audit" means, in the
  3    traditional sense, an audit of the records.
  4          Q.     Okay.     So you did not audit the records,
  5    then.
  6          A.     Correct.      We did not issue what you would
  7    think of as a financial statement report that you're
  8    accustomed to.
  9          Q.     But what you did do is you did review the
 10    numbers.      Right?
 11          A.     Correct.
 12          Q.     You checked the numbers to make sure they
 13    added up correctly.           Is that correct?
 14          A.     That was one of the tasks we performed.
 15          Q.     You checked the math is what you did.
 16          A.     We checked the math; we compiled the math;
 17    we reconciled the sources; we compared it to, you
 18    know, the different data sources; and we prepared a
 19    big reconciliation and kicked the tires.
 20          Q.     But you reviewed the math.
 21          A.     Yes.    That was one of the things we did is
 22    review the math.
 23          Q.     Is that the main thing you did?
 24          A.     No.    The main thing I did is everything I
 25    said in my prior answer.


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  1          Q.     You reconciled.         Right?
  2          A.     We reconciled.
  3          Q.     But you did not audit the numbers.
  4          A.     We did not prepare a formal audit report of
  5    Circuitronix, LLC.
  6          Q.     I know you didn't perform -- prepare a
  7    report, but did you audit the numbers?
  8          A.     I don't know what you mean when you say
  9    "audit."
 10          Q.     How do you know the numbers that you were
 11    looking at were correct?
 12          A.     So which numbers are you referring to
 13    specifically?
 14          Q.     Any number.
 15                        You were looking at spreadsheets that
 16    were provided to you by CTX.              Did you audit those and
 17    dig down behind those numbers to confirm that the
 18    numbers were accurate?
 19          A.     So you -- I just want to be clear.                You
 20    said Circuitronix.          There's also the Benlida
 21    adjustments to the Circuitronix records.
 22          Q.     I know that.
 23                        So the Circuitronix numbers.              Did you
 24    check those numbers, other than looking at them and
 25    checking the math?


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  1          A.     Yes.
  2          Q.     Okay.     Did you go back and look at the
  3    source documents for them?
  4          A.     For some, yes.
  5          Q.     For all of them?
  6          A.     For all of them, no.
  7          Q.     I know you made judgmental choices to pull
  8    certain documents like debit memos.                 Is that right?
  9          A.     Correct.
 10          Q.     Did you make judgmental analysis and pull
 11    invoices?
 12          A.     We did have some invoices.             Yes.
 13          Q.     Some?
 14          A.     Some.
 15          Q.     But not all.
 16          A.     I know we had all of the complaint
 17    invoices, and I believe we had other invoices as
 18    well.
 19          Q.     Did you pull lead-time penalty data?
 20          A.     I didn't pull lead-time penalty data.                  I
 21    compiled the lead-time penalty data provided.
 22          Q.     You compiled the lead-time penalty data
 23    provided to you.
 24          A.     Correct.
 25          Q.     Did you ask for any additional lead-time


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  1    penalty data from anyone or just reviewed the stuff
  2    that was provided to you.
  3          A.     We reviewed the lead-time penalty data
  4    provided to us by Circuitronix, and then there was
  5    also a Benlida production of documents.                   And
  6    contained within that document production were
  7    meeting minutes, and we used those meeting minutes
  8    to adjust the lead-time penalty calculation.
  9          Q.     Because you wrote three lines down that --
 10    and you said, "And did not perform any additional
 11    procedures to provide assurance as to their
 12    reliability beyond the procedures enumerated
 13    herein." Do you see that.
 14          A.     I do.
 15          Q.     Okay.     So you didn't perform an audit.                You
 16    said that.       Right?
 17          A.     Correct.
 18          Q.     You didn't perform an attestation.                 You
 19    said that.       Right?
 20          A.     Correct.
 21          Q.     And you also wrote that you did not perform
 22    any additional procedures to provide assurance as to
 23    the reliability of what was contained in the CTX
 24    recon and the Benlida recon beyond what's enumerated
 25    here in your report.           Right?


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  1          A.     Correct --
  2                        MR. ROSENTHAL:        Objection.       Asked
  3          and answered.
  4                        You can answer.
  5          A.     Correct.
  6          BY MR. MAZZOLA:
  7          Q.     So we're going to go through your report,
  8    and we're going to examine the procedures that you
  9    did to confirm that these number are accurate.                      Is
 10    that correct?        We'll do that.
 11          A.     I don't know.        But I hope we'll do that.
 12          Q.     Okay.     But it's in your report.
 13          A.     Correct.
 14          Q.     You make a reference to a footnote,
 15    Footnote 4.       Do you see that?
 16                        You talk about, "We have also conducted
 17    a preliminary analysis."             And this is what I think
 18    you might have been alluding to earlier.                   Do you see
 19    that?
 20          A.     I do see Footnote 4.
 21          Q.     Where is that preliminary analysis?                 Is it
 22    written down anywhere?
 23          A.     It's the -- it's an Excel spreadsheet.
 24          Q.     Where's the Excel spreadsheet?
 25          A.     It's in our records.


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  1          Q.     Was it provided counsel?
  2          A.     I don't believe so.
  3          Q.     And why is it not referenced here in this
  4    report or provided in this report?
  5          A.     Because it's not relevant for
  6    Circuitronix's counterclaim.
  7                        We preliminarily compiled the
  8    Hong Kong data and ROK data, and we didn't know if
  9    we would have to use that data in a rebuttal report.
 10    But there was no affirmative report provided, so we
 11    did not use such data in the rebuttal report.
 12          Q.     And it's not provided -- it sounds to me,
 13    because you were not instructed to provide it.
 14    Right?
 15          A.     I don't understand your question.
 16          Q.     Were you instructed to not provide it?
 17          A.     I don't understand your question.
 18          Q.     Were you instructed to not provide the
 19    preliminary analysis?
 20                        MR. ROSENTHAL:        Do you mean in
 21          the report --
 22                        MR. MAZZOLA:       In the report.
 23                        MR. ROSENTHAL:        -- in some other
 24          place?
 25          A.     I'm sorry.       I don't understand your --


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  1          BY MR. MAZZOLA:
  2          Q.     I'm asking where's the preliminary
  3    analysis.       You it said was a spreadsheet that you
  4    have.      Is that correct?
  5          A.     Correct.
  6          Q.     I asked why has that -- why has that
  7    preliminary analysis not been provided to me?
  8    Why -- first of all, start there.
  9                        Why has it not been provided to me?
 10                        MR. ROSENTHAL:        Objection.       Asked
 11          and answered.
 12                        You can answer.
 13          A.     I don't know why it hasn't been provided to
 14    you, but it's not relevant for Circuitronix's
 15    counterclaim.
 16          BY MR. MAZZOLA:
 17          Q.     Has it been provided to the -- your
 18    lawyers?
 19                        MR. ROSENTHAL:        Same objection.
 20          A.     We didn't finalize an analysis of
 21    Circuitronix Hong Kong or ROK.                 All we did is
 22    preliminarily just compile the basic spreadsheets
 23    that we've gone over and the sources.
 24                        But that data is not relevant for
 25    Circuitronix's counterclaims, so it doesn't -- you


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  1    know, we didn't rack up a bunch of fees, you know,
  2    going out of scope.
  3          BY MR. MAZZOLA:
  4          Q.     Why do you say it's not relevant to their
  5    counterclaim?
  6          A.     Well, because Circuitronix's counterclaim
  7    is between Circuitronix, LLC, and Benlida.
  8          Q.     Okay.     And that's because you believe that
  9    Circuitronix Hong Kong is not a related party.
 10          A.     That's a legal issue.
 11          Q.     Well, I asked you did you do a
 12    related-party analysis; you said, no.                  Right?
 13          A.     Correct.
 14          Q.     And that you have no recollection of anyone
 15    ever having a communication with anyone at -- on the
 16    CTX side about doing a related-party analysis.                      Is
 17    that correct?
 18                        MR. ROSENTHAL:        Object to form.
 19          A.     Correct.
 20          BY MR. MAZZOLA:
 21          Q.     So your testimony is that you believe this
 22    preliminary analysis is not relevant to CTX's
 23    counterclaim.
 24          A.     The preliminary analysis of the
 25    transactions between Circuitronix Hong Kong and


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  1    Benlida and Circuitronix LLC, and ROK.                  Correct.
  2          Q.     Is not relevant in your mind.
  3          A.     It's not that it's not relevant.                The
  4    parties are not in the counterclaim.
  5          Q.     Let's look at --
  6                        I've just gone into --
  7                        MR. MAZZOLA:       Did we have this
  8          already previously marked?
  9                        MR. LERNER:       What is this?
 10                        MR. MAZZOLA:       This is the CTX ...
 11                        (Pause in proceedings.)
 12          BY MR. MAZZOLA:
 13          Q.     You make reference to a "CTX recon."
 14                        MR. ROSENTHAL:        Just for the
 15          record -- okay.         You're doing it now.
 16                        MR. MAZZOLA:       I'm going to try to
 17          pull it up.       I just want to make sure that
 18          I get to the right one, though.
 19          BY MR. MAZZOLA:
 20          Q.     When you refer to the CTX recon, is it the
 21    document that says "Benlida Payment Detail CTX
 22    U.S."?
 23                        Is that what you're referring to,
 24    Mr. Parisi?
 25          A.     Yes.


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  1          Q.     So it's the -- and that is up on the
  2    screen.      Right?
  3                        Do you see it?
  4                        MR. ROSENTHAL:        Would you mind,
  5          Mr. Mazzolo, just clicking on the ellipses
  6          on the top of the document so we know the
  7          title at very top?
  8                        It's the -- in the gray bar.              I
  9          think that shows it.           Right?     In the gray
 10          bar.
 11          A.     Yeah.     That's it.
 12                        MR. MAZZOLA:       That's it.
 13          BY MR. MAZZOLA:
 14          Q.     So this document that says "Benlida Payment
 15    Detail CTX U.S. 2012 to 2019," is what you're
 16    referring to as the "CTX recon."                Right?
 17          A.     Correct.
 18          Q.     And that's contained within the folder that
 19    says "Rishi Transmittal."
 20          A.     Correct.
 21          Q.     And is it also fair to say that this CTX
 22    recon relates only to -- and I'm going to call it
 23    "CTX U.S. transactions."             Is that fair to say and
 24    correct?
 25          A.     Correct.


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  1          Q.     And you refer to something called the
  2    "Benlida recon."         And that's contained within a
  3    folder that says "Response From Benlida."
  4                        And that's a document that's called --
  5    an Excel document that's called "2012 to 2019
  6    Reconciliation Analysis, 2019.11.15."
  7                        Do you see that?           I'm going to open it
  8    up.
  9          A.     I do.     That's the spreadsheet we reviewed
 10    previously that was outside the folder.
 11          Q.     Okay.     And this reconciliation analysis,
 12    where it says, "Reconciliation Analysis Report,"
 13    this is what you're referring to as the "Benlida
 14    recon."      Right?
 15          A.     Correct.
 16                        MR. MAZZOLA:       Have these been
 17          marked as exhibits?
 18                        MR. ROSENTHAL:        I'm trying to
 19          see.    Just one of them was dated 11/15, I
 20          saw.
 21                        What was the other one dated?              Do
 22          you recall?
 23                        THE WITNESS:       November 1st.
 24                        MR. ROSENTHAL:        So it might be
 25          120.    I'm not sure.


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  1                        MR. MAZZOLA:       We can mark them
  2          again.
  3                        MR. ROSENTHAL:        My notes of the
  4          120 are Benlida and ROK, so it's probably a
  5          different one.
  6                        MR. MAZZOLA:       I feel like I've
  7          seen them, but let's -- can we can mark
  8          them again?
  9                        MR. ROSENTHAL:        Sure.     No
 10          problem.
 11                        MR. MAZZOLA:       So just to fix the
 12          record here.       "Benlida Payment Detail, CTX
 13          U.S. 2012 to 2019," contained within the
 14          "Documents Utilized by Expert" folder, the
 15          Rishi transmittal, we're going to call 153.
 16                        And "2012 to 2019 Reconciliation
 17          Analysis, 2019-.11.15" contained within
 18          "Documents Utilized" by Mr. Parisi in the
 19          "Response from Benlida" file, we're going
 20          to call 154.
 21                        (Deposition Exhibit 153, 154
 22                        marked for identification.)
 23          BY MR. MAZZOLA:
 24          Q.     Mr. Parisi, we're looking at page 3.                 You
 25    had another footnote here, Footnote 7, just to state


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  1    one example.        We have not yet been provided with any
  2    transcripts of depositions taken recently.
  3                        Did you review the transcripts of any
  4    depositions?
  5          A.     Not that I recall.          The main depositions
  6    were Rishi Kukreja and Tracy, and those occurred
  7    after our report was issued primarily.                  We did
  8    not -- or we didn't have the transcripts available
  9    in time, if they were issued, if the depositions
 10    occurred previously, so we had not have the
 11    privilege.
 12          Q.     But you used the words "just to state" --
 13    "just to state one example."              Any other examples?
 14          A.     Not that I recall right now.
 15          Q.     Okay.
 16          A.     But there were deposition transcripts that
 17    was also that spreadsheet of the commingled
 18    accounting.
 19          Q.     What about the transcript of Akshay Koul?
 20    Did you review that?
 21          A.     I did not.
 22          Q.     What about the transcript of Lena Ochoa,
 23    did you review that?
 24          A.     I did not.
 25          Q.     Do you know when they were taken?


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  1          A.     I do not.
  2          Q.     They were taken sometime ago.              But you
  3    didn't review those?
  4                        MR. ROSENTHAL:        Object to the
  5          form.
  6          A.     I did not.
  7          BY MR. MAZZOLA:
  8          Q.     And you used the word -- I'm just -- your
  9    language, "to state just one example."
 10                        MR. ROSENTHAL:        What's your
 11          question?
 12          BY MR. MAZZOLA:
 13          Q.     When people use, "to state just one
 14    example," that type of language, it sounds like
 15    there were some other examples.
 16                        So were there any other examples that
 17    fall into relevant information that you have not yet
 18    reviewed?
 19                        MR. ROSENTHAL:        Object to form.
 20          A.     The primary data that we were waiting on,
 21    as I recall, was the deposition transcripts.
 22          BY MR. MAZZOLA:
 23          Q.     Okay.     So to state "the example," not just
 24    one example, you should have written.                  Right?
 25          A.     That's the one I recall sitting here.


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  1    There could also be additional discovery produced in
  2    conjunction with those depositions.
  3          Q.     Before we move off of these, let's look at
  4    what we previously marked as Exhibit 154.
  5                        This is the CTX recon.
  6                        MR. LERNER:       You put up 153; you
  7          called it 154.
  8                        MR. MAZZOLA:       Oh.     I beg your
  9          pardon.     153.     The CTX recon.        This is the
 10          CTX recon that's on the screen.               153.
 11                        MR. ROSENTHAL:        And just so you
 12          guys know, I think it's the same as 120.
 13                        MR. MAZZOLA:       Okay.
 14                        MR. ROSENTHAL:        Jessica has
 15          confirmed.
 16          BY MR. MAZZOLA:
 17          Q.     Looking at this summary page, do you see
 18    these over here?
 19          A.     I do.
 20          Q.     There's a parenthetical that says
 21    5,314,868.81.        And what does that number reflect?
 22          A.     That number reflects the net balance after
 23    consideration of the invoices, less the debit memos
 24    and the payments as relates to the transactions
 25    between Circuitronix, LLC, and Benlida.


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  1          Q.     And that got parentheses around it, so
  2    that's a negative number.             Right?
  3          A.     It's a credit balance.
  4          Q.     Credit balance.
  5                        And so that is a document -- this
  6    spreadsheet is prepared by CTX.                Right?
  7          A.     Correct.
  8          Q.     It wasn't prepared by you.             Right?
  9          A.     Correct.
 10          Q.     It wasn't prepared by Benlida?
 11          A.     Correct.
 12          Q.     And when an accountant says "a credit
 13    balance," what does that mean?
 14                        That means that Benlida, pursuant to
 15    this spreadsheet, owes CTX the 5.3 million.                    Right?
 16          A.     Correct.      Before verification and comments
 17    by Benlida.
 18                        This is Circuitronix's initial attempt
 19    at reconciling the balance between the two parties.
 20          Q.     But this is just for the U.S. operation.
 21    Is that correct?
 22          A.     Correct.
 23                        There are separate spreadsheets
 24    tracked by Benlida and Circuitronix.                  And the
 25    transactions between Circuitronix and U.S. and


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  1    Circuitronix Hong Kong are separate, just like the
  2    transactions with Benlida and ROK.
  3          Q.     Let's look at what we've marked as
  4    Exhibit 121.        Do you see that?
  5                        (Document review.)
  6          A.     I do.
  7                        MR. MAZZOLA:       What time is lunch
  8          going to happen?
  9                        MS. MILLER:       It's not getting
 10          here till 12:30.
 11                        MR. ROSENTHAL:        Sometime after
 12          12:30, JC.
 13                        (Pause in proceedings.)
 14          BY MR. MAZZOLA:
 15          Q.     So we're looking at this Exhibit 121.
 16                        Have you ever seen this document
 17    before?
 18          A.     Not that I recall.
 19          Q.     And this document, it looks like it's an
 20    email that was sent from Rishi.                Do you see that?
 21          A.     I do see Rishi's name.
 22          Q.     And it's dated July 29th, 2019.
 23          A.     That is the date.
 24          Q.     In the subject, he talks about a final
 25    payment reconciliation. Do you see that?


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  1          A.     I see those words.
  2          Q.     And he makes reference to "CTX," and he
  3    makes reference to "Hong Kong," "CTX U.S.," and
  4    "ROK."     Do you see that?
  5          A.     I see the words on the page.
  6          Q.     And then in the body, he's writing to a
  7    person named Douglas at Benlida.                Do you know who
  8    Douglas is?
  9          A.     I know he's involved with -- he's one of
 10    the major players at Benlida, or in the upper
 11    echelon.
 12          Q.     Do you see where Rishi writes, at line A,
 13    Benlida for CTX Hong Kong.             We owe Benlida U.S. $8.8
 14    million, 843 thousand, 225 dollars and 69 cents.                       Do
 15    you see that?
 16          A.     I see those words.
 17          Q.     Do you see that's written by Rishi?
 18          A.     I see that he sent the email.
 19          Q.     Did you ever consider in your analysis,
 20    monies owed by CTX Hong Kong to Benlida?
 21          A.     We did not.
 22          Q.     Is it true that in your analysis you only
 23    looked at the transaction -- the transactions
 24    between CTX U.S. and Benlida?
 25          A.     Those were the transactions we analyzed for


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  1    purposes of Circuitronix, LLC's, counterclaim.
  2          Q.     Is that the same as answering, "yes," that
  3    for purposes of your report -- this report, 147 --
  4    you only looked at transactions between CTX U.S. and
  5    Benlida?
  6          A.     Our report primarily analyzed transactions
  7    between CTX U.S. and Benlida.
  8          Q.     Now, you said primarily analyses.
  9          A.     Um-hmm.
 10          Q.     What other things does it analyze?
 11          A.     Well, we also compiled the data that we
 12    identified in Footnote 4.             But we -- as we
 13    anticipated in preparing a rebuttal, but there was
 14    no affirmative report filed by the plaintiff where
 15    the Circuitronix Hong Kong data and ROK data could
 16    have been helpful.
 17          Q.     So what you're saying is that you did not
 18    provide any data -- any information in this report
 19    regarding transactions between CTX U.S. -- beg your
 20    pardon.      CTX Hong Kong and Benlida.             Is that
 21    correct?
 22          A.     The transactions between CTX Hong Kong and
 23    Benlida do not enter into the figures recorded in
 24    the report.
 25          Q.     It's just the transactions between U.S. and


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  1    Benlida that create the figures that are in your
  2    report.      Is that correct?
  3          A.     Correct.
  4          Q.     And we had talked a little bit earlier
  5    about the related parties, and we asked if you or
  6    anyone on the Mukamal side had -- did a
  7    related-party analysis.            And I think your answer
  8    was, no, you did not.           Is that correct?
  9          A.     We did not prepare a related-party
 10    analysis.
 11          Q.     And that neither you, as far as you know,
 12    or Mr. Mukamal, nor Ms. Khanorkar suggested to
 13    Mr. Rosenthal, to Mr. Cole, or anyone at CTX, that
 14    you do a related-party analysis.                Isn't that
 15    correct?
 16                        MR. ROSENTHAL:        Object to the
 17          form.
 18          A.     Not that I'm aware.
 19                        (Pause in proceedings.)
 20          BY MR. MAZZOLA:
 21          Q.     Let me ask this question.             How does -- from
 22    an accounting perspective, how does an overpayment
 23    happen?
 24          A.     It's when you send more money than the
 25    invoice amount.


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  1          Q.     I know that.       That's the obvious answer.
  2                        But have you ever seen that happen
  3    before?
  4          A.     Yes.    I've seen credits before.
  5          Q.     To the tune of $5 million?
  6          A.     I've seen credit balances before, yes.                  I
  7    don't recall specifically a balance of $5 million.
  8          Q.     Have you ever seen one larger than
  9    $5 million?
 10          A.     I don't recall.         I've seen credit balances,
 11    if that's your question.
 12          Q.     Okay.     What's the last credit balance you
 13    remember?
 14          A.     I have no idea.         I see so many numbers,
 15    they all kind of blend together.
 16          Q.     Okay.     But have you ever seen one of
 17    $5 million?
 18          A.     I don't recall.
 19          Q.     But is it normal for businesses to overpay?
 20          A.     It happens.       Certainly.
 21          Q.     But is it normal for businesses to overpay?
 22          A.     It depends on the facts and circumstances.
 23          Q.     Is it normal for a well-run business, in
 24    your professional, experience to overpay?
 25          A.     It's not normal for businesses to overpay,


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  1    but there can be other reasons for those payments.
  2          Q.     For overpayments?
  3          A.     Correct.
  4          Q.     But it's not normal?
  5                        MR. ROSENTHAL:        Object to the
  6          form.
  7          A.     It depends on the facts and circumstances.
  8          BY MR. MAZZOLA:
  9          Q.     How is it ever normal for a business to
 10    overpay?      Why don't you give me some example?
 11          A.     Well, it's a -- Circuitronix is a key
 12    supplier of Benlida.           For example, I've seen emails
 13    where Benlida has been directing Circuitronix to
 14    send money to other entities.
 15                        And Benlida also -- I've seen emails
 16    where also Benlida says that they need money into
 17    Benlida for one reason or another.                 So I don't know
 18    if the facts and circumstances of this transaction
 19    are normal.
 20          Q.     How do you reconcile the overpayment of
 21    $5 million -- let me ask you this question.
 22                        If, in fact, looking at Exhibit 121,
 23    and Mr. Kukreja is correct, that -- he writes "we."
 24    "We owe Benlida $8.8 million."
 25                        Do you see where he writes that?


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  1          A.     I see those words on the page.
  2          Q.     How do you reconcile the fact that he owes
  3    them $8.8 million, but in the same breath he's
  4    saying that someone owes them $5.7 million?
  5          A.     So I just want to be very clear on who
  6    we're talking about.           There's multiple transactions
  7    represented on this page, and we can address each
  8    one individually.
  9                        But Circuitronix Hong Kong -- the
 10    first line is between Circuitronix Hong Kong and
 11    Benlida, which is separate from Circuitronix, LLC,
 12    and Benlida.
 13          Q.     But why would Mr. Kukreja, who is writing
 14    on behalf of all three companies, talk about a debit
 15    to him of over $8 million -- credit owed to him -- a
 16    credit that he has over $8 million, but at the same
 17    time, talking about a debit of $8.8 million?
 18                        Who does that?
 19                        MR. ROSENTHAL:        Object to the
 20          form.
 21          A.     I'm sorry.       I don't understand your
 22    question.
 23          BY MR. MAZZOLA:
 24          Q.     Who would agree to overpay to that extent?
 25                        MR. ROSENTHAL:        Object to the


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   1         form.
   2         A.     I don't understand your question.
   3         BY MR. MAZZOLA:
   4         Q.     Why would a businessman agree to overpay to
   5    another business over $8 million?
   6                       MR. ROSENTHAL:        Same objections.
   7         A.     I'm not focused on the why, I'm strictly
   8    focused on what actually happened.
   9         BY MR. MAZZOLA:
  10         Q.     And is it fair to say that that kind of
  11    overpayment is not normal?
  12         A.     It depends on the --
  13                       MR. ROSENTHAL:        Object to the
  14         form.
  15                       Sorry.
  16                       It's been asked and answered
  17         three times.
  18         A.     It depends on the facts and circumstances
  19    of the case.
  20                       I previously told you that I saw
  21    emails where Benlida was definitely hungry for money
  22    and directing payments.           So it's -- you know,
  23    there's a lot of transaction history in this case.
  24         BY MR. MAZZOLA:
  25         Q.     Just because someone is hungry for money,


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   1    why would a prudent business person overpay them
   2    just because they're asking for it?
   3                       MR. ROSENTHAL:        Object --
   4         A.     Because Benlida is a key supplier to
   5    Circuitronix.       If Benlida goes under, presumably,
   6    some Circuitronix clients would be harmed as well.
   7                       So they have -- Circuitronix has
   8         an incentive to make sure Benlida can
   9         continue to operate.
  10         BY MR. MAZZOLA:
  11         Q.     So you're suggesting that Benlida somehow
  12    strong-armed Circuitronix into overpaying?
  13         A.     I didn't say that.
  14                       But what I said is there's an
  15    incentive to make sure Benlida is in business.
  16         Q.     And so just based upon that, Mr. Kukreja
  17    would permit an overpayment of over $8 million,
  18    almost $9 million?
  19                       MR. ROSENTHAL:        Object to the
  20         form.
  21         A.     I think you may have mischaracterized what
  22    the document reflects.
  23         BY MR. MAZZOLA:
  24         Q.     In this case, do you know how the
  25    overpayments happened?


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   1         A.     Yes.
   2         Q.     How did they happen?
   3         A.     The payments exceeded the invoices.
   4         Q.     On your -- page 5 of your report,
   5    background and information from counsel.                  Did you
   6    read any of the complaints in this case?
   7         A.     I did.
   8         Q.     Are they identified on your document
   9    description?
  10                       It's the first one.          The third amended
  11    complaint.      So that's the one you read?
  12         A.     I believe I also read the second amended
  13    complaint.
  14         Q.     Regarding the reconciliation.              Regarding
  15    the CTX recon, what did you do to review the CTX
  16    recon?     Can you talk me through the process?                 Let me
  17    put that up.
  18         A.     Let me know when you're ready.
  19                       MR. ROSENTHAL:        This is 154?
  20                       MR. MAZZOLA:        154.
  21         BY MR. MAZZOLA:
  22         Q.     There's a number of summaries.               Do you see
  23    that?
  24         A.     You lost the screen, unfortunately.
  25                       (Pause in proceedings.)


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   1                       MR. ROSENTHAL:        Do you want to go
   2         off the record for a second so we can
   3         figure that out?
   4                       (Pause in proceedings.)
   5                       MR. MAZZOLA:        Want to take a
   6         break now?
   7                       MR. ROSENTHAL:        Jessica said we
   8         don't have food yet.           She's texted Juan to
   9         help with this.
  10                       MR. MAZZOLA:        Let's keep moving.
  11                       MR. ROSENTHAL:        He's here now.
  12         Why don't you wait -- can we go off the
  13         record?
  14                       (Pause in proceedings.)
  15         BY MR. MAZZOLA:
  16         Q.     Mr. Parisi, this is the document we were
  17    asking you to look at.           This is the CTX recon?
  18         A.     Correct.
  19                       MR. MAZZOLA:        153.
  20                       MR. LERNER:       154.
  21         BY MR. MAZZOLA:
  22         Q.     154.    So let's look at this.            There's a
  23    column C.      Do you see that?
  24         A.     I do see column C.
  25         Q.     There is a column B that says "Total


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   1    Invoices."
   2                       So what did you do to confirm -- let's
   3    look at column B, Total Invoices.
   4                       I don't want to click on them.               They
   5    seem to be clickable.           What happens if I click?
   6         A.     I don't know.
   7         Q.     Okay.     It pulls to the invoice summary.                Do
   8    you see that?
   9         A.     The -- it's a year summary.
  10         Q.     Okay.
  11         A.     For the year.
  12         Q.     Let's -- so, I guess, it just did.                It went
  13    to summary for 2016.          And there are invoice totals,
  14    debit memo totals.
  15                       What did you do to confirm that for
  16    October, column A, payment detail date, January 2016,
  17    that the invoice total was $581,764.68?                  Did you pull
  18    those invoices and review them?
  19         A.     We did review some of the invoices.                 Yes.
  20         Q.     Did you pull all of them?
  21         A.     No.
  22         Q.     You made a judgmental determination to pull
  23    some invoices?
  24         A.     We reviewed some invoices.             Yes.
  25         Q.     And the invoices that you pulled would have


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   1    been provided in the documents utilized by you.
   2    Right?
   3         A.     Correct.
   4         Q.     Same thing for the debit memo total.                 And
   5    I'm looking at the summary for 2016 on that same
   6    exhibit.
   7         A.     Um-hmm.
   8         Q.     Let's look at this one that's row 6,
   9    January.      And it has a debit memo total of $155,924.
  10    Do you see that?
  11         A.     I see that number.
  12         Q.     Did you pull the debit memos to review
  13    them -- all of them that add up to $154,500?
  14         A.     We only sampled the debit memos in excess
  15    of $10,000, which were 11 in number, I believe.
  16         Q.     There were 11 debit memos that you
  17    reviewed.
  18                       How many debit memos were there in
  19    total?
  20         A.     I don't know off the top of my head.                 Not a
  21    number in millions, though.
  22         Q.     So what did you do with respect to -- I
  23    moved the cursor down to line 8, and I have it
  24    floating over a debit memo total of $273,399.80.                      Do
  25    you see that?


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   1          A.    I see that number.
   2          Q.    What did you do to confirm that that number
   3    was accurate?
   4          A.    So we compiled the debit memos, and then we
   5    sampled the debit memos in excess of $10,000.
   6          Q.    You looked at 11 debit memos.
   7          A.    Correct.
   8          Q.    Those 11 debit memos that you looked at,
   9    did those 11 debit memos add up to the $273,399.80
  10    that I'm looking at on the screen right now?
  11          A.    I don't know.
  12          Q.    You only looked at 11 debit memos.
  13                       MR. ROSENTHAL:        Object to the
  14          form.
  15          BY MR. MAZZOLA:
  16          Q.    So my question is, what did you do for
  17    purposes of your analysis to confirm that the debit
  18    memos around about the time of March 2016 all added
  19    up to $273 -- $273,399.80?
  20                       What did you do?
  21                       MR. ROSENTHAL:        Object to the
  22          form.
  23          A.    So this is a summary.             This summary -- why
  24    don't you look on the screen for a second.
  25    \\\


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   1         BY MR. MAZZOLA:
   2         Q.     I'm looking at it.
   3         A.     Oh.    Sorry.
   4                       So you see it says "Sum" in left
   5    paren, March 2016 D32 to D38?                 So that cell
   6    specifically is reference -- what I'll call the
   7    supporting payment detail sheet.                 And so if you go
   8    look to those specific cells, 32 to 38 on the
   9    March 2016 tab, it will sum to that amount.
  10                       So what I did is, I compiled all the
  11    remaining --
  12         Q.     Where am I supposed to go to?              To March
  13    what?
  14         A.     2016.
  15         Q.     Okay.
  16         A.     So you can just pick any one.
  17         Q.     No.    I know how this works.
  18                       (Pause in proceedings.)
  19                       MR. ROSENTHAL:        So we're now
  20         looking at the March 2016 tab, for the
  21         record.
  22                       MR. MAZZOLA:        Yes.
  23         BY MR. MAZZOLA:
  24         Q.     So this debit memo was identified there.
  25    Right?


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   1         A.     Correct.
   2                       If you total -- do you see where it's
   3    in red from rows 32 to 38?             That sum would equate to
   4    the amount you saw on the balance -- where the
   5    summary is.
   6                       So you can see that there's two debit
   7    memos in excess of $10,000 here, so we would have
   8    reviewed what I'll call 99 percent of this debit
   9    amount that --
  10         Q.     So I see -- I see two of them that add up
  11    to -- they add to 273.           Do you see that?
  12         A.     I do see your total.
  13         Q.     So you would have looked at this one, this
  14    delamination one?         That's $154,000?
  15         A.     Correct.
  16         Q.     And you would have looked at this one for
  17    $117,000?
  18         A.     Correct.
  19         Q.     Would you have looked at the other ones?
  20         A.     No.
  21                       We looked at them in the sense we
  22    compiled the data on these payment details, but we
  23    didn't do any further analysis.
  24                       If you hold "control" and click that
  25    button, it will take you all the way to the left --


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   1    to the first tab, rather.
   2         Q.     There we go.        Which we were looking at
   3    before.     Right?
   4                       This summary?
   5         A.     You picked one of the years.              I think you
   6    picked 2016, specifically.
   7         Q.     We'll pick it again.
   8                       If you look at --
   9         A.     So -- and I also -- go ahead.
  10         Q.     So if we look at this column, line 7, the
  11    $54,000, you would have done the same analysis
  12    there.
  13         A.     So that --
  14         Q.     If you click on that --
  15         A.     Yeah.     It also equates to the detail.
  16         Q.     It doesn't seem to jump.
  17                       I'm looking at line 10, cell -- line 10
  18    at D.     Do you see that?        If I click that and that
  19    that will jump?
  20         A.     I don't know technology.            Doesn't always
  21    work, so I can't give you an answer.
  22         Q.     But it's your testimony, then, that unless
  23    the debit memo was greater than $10,000, you did not
  24    review it.
  25         A.     Correct.


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   1         Q.     And when you reviewed the debit memo, what
   2    did you do, other than look at it?
   3         A.     We looked at the debit memo and made sure
   4    that the amount agreed -- or we traced the amount
   5    from the ledger to the details to make sure it
   6    equated.      And then we also made sure that the debit
   7    memo was sent to the other side.
   8         Q.     Did you review any responses from Benlida
   9    regarding those debit memos --
  10         A.     Yes.
  11         Q.     -- disputing them?
  12                       You did?
  13         A.     Well, specifically, the first Benlida
  14    reconciliation and the second Benlida reconciliation
  15    do dispute the debit memos.
  16         Q.     But you said you looked at emails
  17    transmitting them.
  18         A.     We -- I saw the physical debit memos that
  19    reflected they were sent.
  20         Q.     You saw that.
  21         A.     Yes.
  22         Q.     And did you do anything to verify the
  23    veracity of the amount identified in the debit memo?
  24         A.     Yes.
  25         Q.     And what did you do?


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   1         A.     So we compiled the three data sources.                  And
   2    so that three-way match, you know, tells the story
   3    of the approximation of the debit memo balance.
   4         Q.     Did you compare a -- the debit memos to
   5    responses that were written back from Benlida?
   6    Emails, other communications.
   7         A.     So I just want to be clear.              As it relates
   8    to the analysis through July 2019, the primary
   9    sources are the CTX recon, the two Benlida
  10    responses, and the meeting minutes.
  11         Q.     And that's it.
  12         A.     For the data compilation.             Correct.
  13         Q.     Let's look at --
  14         A.     And I'd just like to add a clarification
  15    point.
  16         Q.     Okay.
  17         A.     Do you see how there's payments in
  18    column H?
  19         Q.     Yep.
  20         A.     These payments may not always equate to the
  21    payments supported in the schedule, so we aggrated
  22    all of the payments to make sure we had the whole
  23    universe of transactions.
  24         Q.     But you didn't change any of the numbers in
  25    these spreadsheets.


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   1         A.     Strictly compilation.
   2                       And then the adjustments that we do
   3    make to some of the payments are identified in our
   4    report, for example.
   5         Q.     For example, what?
   6         A.     What I just said.
   7         Q.     Oh.    There is an adjustment you made.
   8         A.     Yeah.     We do make adjustments to the
   9    payments in our report.
  10         Q.     You're talking about these transactions.                    I
  11    think you said that word.
  12                       And in Footnote Number 10, you refer to
  13    individual invoices, payments, and debit memos.                     Now,
  14    we know that you reviewed -- I think you said 11
  15    debit memos?
  16         A.     Correct.
  17         Q.     So other than those 11 debit memos that you
  18    reviewed, you're just relying upon the numbers that
  19    were provided to you.           Is that correct?
  20         A.     The numbers within the CTX spreadsheet and
  21    the two Benlida responses.             Correct.
  22         Q.     Those are the numbers you're relying on.
  23                       Why do you keep saying "the Benlida
  24    responses"?
  25         A.     Because they're a component of the


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   1    equation.
   2         Q.     Does the Benlida response confirm that the
   3    debit memo is accurate?
   4         A.     So my view is, there -- it's a
   5    reconciliation between the parties.                And it appears
   6    to be a good-faith reconciliation.
   7                       I've been involved in some
   8    transactions where there's an earn-out and the buyer
   9    only wants to get -- wants to recognize the
  10    adjustments that decrease the amount that they're
  11    going to have to pay out.            But in this instance,
  12    Benlida is actually saying, you know, Circuitronix,
  13    LLC, here's a few payments that we forgot that
  14    reduce the balance.
  15                       So there's adjustments, you know, both
  16    ways to the parties to really try to come to what
  17    the balance is as of that point in time.
  18         Q.     So I think you just said it was a
  19    good-faith reconciliation between Benlida and CTX.
  20    Is that right?
  21         A.     And I just want to be clear.              It's up to
  22    that point in time.
  23                       But after July 2019, then the
  24    transactions moved into a prepayment plan.                   So we
  25    only reconciled through July 2019.


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   1         Q.     But at that point, it was a good-faith
   2    reconciliation.        Is that what you're saying?
   3         A.     Correct.      Subject to some adjustments.
   4    But, yes.
   5                       (Telephonic interruption.)
   6         BY MR. MAZZOLA:
   7         Q.     So the reconciliation -- you said it was a
   8    good-faith reconciliation between Benlida and CTX.
   9    You did say that.         Right?
  10         A.     (No audible response.)
  11         Q.     But that reconciliation between CTX and
  12    Benlida only related to transactions between CTX
  13    U.S. and Benlida.         Isn't that correct?
  14         A.     There were other spreadsheets of the
  15    transact -- in the initial transmittal email.
  16                       That email contains two spreadsheets.
  17    The first spreadsheet is between Circuitronix, LLC,
  18    and Benlida, and it contains what we've seen.                    And
  19    then the second spreadsheet is between Circuitronix,
  20    LLC, and ROK, and contains similar structured data
  21    to we saw in Circuitronix, LLC, and Benlida.
  22         Q.     But you did not review any reconciliations
  23    between CTX Hong Kong and Benlida.                Isn't that
  24    correct?
  25                       MR. ROSENTHAL:        Object to the


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   1         form.
   2         A.     Other than identified in the footnote.
   3         BY MR. MAZZOLA:
   4         Q.     Did you ever see a spreadsheet from Benlida
   5    to CTX advising that Benlida believed that CTX
   6    Hong Kong owed them $13 million?
   7                       Did you ever see that spreadsheet?
   8         A.     Yes.
   9         Q.     But you didn't address that in this report.
  10         A.     I did not address that spreadsheet in
  11    Circuitronix's counterclaim report.
  12         Q.     Not in this report.
  13         A.     Correct.
  14         Q.     Did anyone tell you not to do that?
  15         A.     Not that I recall.
  16         Q.     Did you ever reach out to Mr. Rosenthal or
  17    Mr. Cole and say, Hey, there's this $13 million
  18    claim by Benlida owed by CTX Hong Kong, perhaps we
  19    should address that in this report?
  20                       Did you ever do that?
  21                       MR. ROSENTHAL:        I'm going to
  22         instruct him not to answer that question.
  23                       Communication with counsel and
  24         experts in federal court are privileged.
  25                       Unless you disagree, I don't


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   1         think it's a proper question.
   2                       MR. MAZZOLA:        No.    No, no.
   3         BY MR. MAZZOLA:
   4         Q.     Did you ever think that -- did you ever
   5    think that you should do that?
   6         A.     I did not.
   7         Q.     What about Mr. Mukamal?            Did you and him
   8    ever discuss whether you should address Benlida's
   9    claim that the Hong Kong entity owed it $13 million?
  10         A.     Yes.    We discussed it.
  11         Q.     And what did you and he discuss?
  12         A.     That we would -- that we would potentially
  13    consider any of the issues raised in a rebuttal
  14    report.
  15                       But we did not receive an affirmative
  16    report from the plaintiffs that would explain the
  17    basis of including other parties not named in the
  18    lawsuit in the claims.
  19         Q.     And that's the related-party issue.                 Is
  20    that what you mean?
  21         A.     So the counterclaim is between
  22    Circuitronix, LLC, and Benlida.               I don't believe
  23    there's other parties named.
  24         Q.     A beg your pardon.          I was being
  25    interrupted.


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   1                       MR. MAZZOLA:        Would you read back
   2         the answer, Rebecca?
   3                       (The following record was read:
   4                       A. "So the counterclaim is
   5                       between Circuitronix, LLC, and
   6                       Benlida.      I don't believe
   7                       there's other parties named.")
   8         BY MR. MAZZOLA:
   9         Q.     Why would you think that Benlida's claim of
  10    the $13 million owed by the Hong Kong entity would
  11    not be subject to your expert report?
  12         A.     Because I'm the expert for the defendants
  13    and not the plaintiffs.
  14         Q.     But why would you not address it?
  15                       If Benlida is claiming that the
  16    Hong Kong entity owes it $13 million, why did you not
  17    think that would be relevant to address?
  18         A.     I don't believe that's included in
  19    Circuitronix, LLC's, counterclaim.                That's your
  20    case.     Right?
  21         Q.     But then we talked earlier about the
  22    related parties.         Did you -- do you see that the
  23    Hong Kong -- do you agree that the Hong Kong entity
  24    is a related party to the U.S. entity from an
  25    accounting perspective?


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   1                       MR. ROSENTHAL:        Object to the
   2         form.
   3         A.     I haven't done a related-party analysis to
   4    make that determination.            There's common
   5    transactions between the two parties.                 Sure.
   6         BY MR. MAZZOLA:
   7         Q.     Okay.     So what are the factors you
   8    considered?       Common control is one of them.              We
   9    talked about that.         Right?
  10         A.     We did.
  11         Q.     You considered common ownership.                That's
  12    another factor you consider.             Is that correct?
  13                       MR. ROSENTHAL:        Object to form.
  14         A.     You could.
  15         BY MR. MAZZOLA:
  16         Q.     And you consider -- what about common
  17    interest?      Is that something you could consider?
  18                       MR. ROSENTHAL:        Object to the
  19         form.
  20         A.     You could.
  21                       I haven't really thought out the
  22    nuances of related-party analysis in detail to sit
  23    here and comment about it thoroughly.
  24         BY MR. MAZZOLA:
  25         Q.     But as it is, you never looked at it.


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   1    Isn't that correct?
   2          A.    What is "it"?
   3          Q.    This issue about related parties.
   4                       You never reported on it; you never did
   5    the analysis.
   6          A.    We did not do -- perform a related-party
   7    analysis.
   8          Q.    And that's because you thought it wasn't
   9    relevant.
  10          A.    I've looked at the counterclaim.                The
  11    counterclaim is between Circuitronix, LLC, and
  12    Benlida.      I did not include any other parties.
  13          Q.    Did you ever see this document?               It's a
  14    document that we've identified as Exhibit 40.
  15          A.    We previously did this.
  16          Q.    Yeah.     And --
  17          A.    And I told you -- I told you I hadn't seen
  18    it, because that was the blue document.
  19          Q.    Oh.    You've never seen this document.
  20    Okay.
  21          A.    I can pull it up, though, if you want me to
  22    look at it.
  23          Q.    Yeah.
  24                       (Pause in proceedings.)
  25    \\\


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   1         BY MR. MAZZOLA:
   2         Q.     Since you haven't seen it, it's not going
   3    to be fair for me to take your time, or anyone
   4    else's time, to go through the whole thing, and I
   5    won't do that.
   6                       But if you go to the -- I guess it's
   7    the last page of it.          At the bottom, you'll see
   8    CTX 8004.
   9                       MR. LERNER:       That's the Bates
  10         stamp number.
  11                       MR. MAZZOLA:        He's on the last
  12         page.     The signature page.
  13         BY MR. MAZZOLA:
  14         Q.     Do you see that?
  15         A.     I do.
  16         Q.     And do you see that there's -- while
  17    there's no signature there, I don't think anyone has
  18    claimed or alleged that Rishi Kukreja did not draft
  19    this letter and that Rishi Kukreja -- that there may
  20    or may not be a signed version of it going around,
  21    but that's not really the issue for right now.
  22                       But do you see that Rishi Kukreja's
  23    signature block there says that he's signing for
  24    CTX USA and CTX Hong Kong?
  25                       MR. ROSENTHAL:        Object to the


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   1         form.
   2         A.     I see those words.
   3         BY MR. MAZZOLA:
   4         Q.     Do you see those words?
   5                       If were you aware that Rishi was
   6    entering into agreements on behalf -- hypothetically
   7    speaking -- on behalf of CTX U.S. and CTX Hong Kong,
   8    would that have any bearing, in your mind, regarding
   9    this question of related parties?
  10         A.     I don't know.
  11         Q.     Because you mentioned earlier when I was
  12    asking you -- I think before one of the breaks about
  13    related parties, you were quick to point to the
  14    manufacturing agreement.            And you made reference in
  15    the manufacturing agreement that it was just signed
  16    on behalf of the LLC, the U.S. operation.                   I don't
  17    know if you recall that answer.
  18                       But I'm asking you now, if you knew --
  19    hypothetically speaking, if Mr. Kukreja was signing
  20    contracts on behalf of both U.S. and Hong Kong, if
  21    that, in your professional judgment, has any bearing
  22    as to whether or not the U.S. entity and the
  23    Hong Kong entity are related parties.
  24         A.     I apologize.        I don't remember saying --
  25    pointing to the manufacturing agreement as support


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   1    that Circuitronix, LLC, was a separate company from
   2    Circuitronix Hong Kong.
   3                       I recall I said the names were
   4    different, which identified that they were separate
   5    entities.
   6         Q.     My question now is, you're seeing a
   7    contract -- hypothetically speaking, a contract that
   8    is signed by Mr. Kukreja on behalf of the U.S.
   9    entity and the Hong Kong entity.               You're seeing it
  10    now.
  11                       As an accountant -- forensic accountant
  12    who understands issues regarding related parties,
  13    does this have any bearing in your mind, as you sit
  14    here today, as to whether or not the U.S. operation
  15    and the Hong Kong operation are related parties?                      Yes
  16    or no.
  17         A.     I don't believe so.          I'd have to think
  18    about it more.
  19         Q.     Okay.
  20         A.     I haven't read this whole agreement, you
  21    know, sitting here.
  22         Q.     We'll come back to it.
  23                       What if you -- what if you saw the U.S.
  24    entity -- hypothetically speaking, if you saw the
  25    U.S. entity, CTX U.S., here in United States paying


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   1    the debts and obligations of CTX Hong Kong?                   Would
   2    that have any bearing, in your mind as an accountant,
   3    as to whether or not the U.S. entity and the
   4    Hong Kong entity are related parties?
   5         A.     I haven't performed a related-party
   6    analysis to consider all the facts and circumstances
   7    that could affect this issue.                 My report was focused
   8    on Circuitronix, LLC's, counterclaim.
   9         Q.     I know you didn't do that, so I'm just
  10    asking what's called a hypothetical question.
  11                       The question -- the questions that I
  12    asked you about this Exhibit 40, the agreements
  13    signed by Mr. Kukreja on behalf of the U.S. entity
  14    and the Hong Kong entity, that was a hypothetical
  15    question.
  16                       Now I'm asking you another one.               And
  17    this question is, if you saw proof that showed that
  18    CTX U.S. was paying the debts and obligations of
  19    CTX HK, just hypothetically speaking, would that be
  20    something, in your professional mind, that would have
  21    any bearing as to whether or not the U.S. entity and
  22    the Hong Kong entity are related parties?
  23         A.     You keep saying "related parties."                They --
  24    there could be some, you know, common management,
  25    but they're separate companies.


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   1                       All the transactions are tracked
   2    separately.       CTX U.S. sent a reconciliation between
   3    itself and Benlida, itself and ROK.                And
   4    Circuitronix Hong Kong similarly responded with
   5    its -- or Benlida responded on the third email with
   6    its transactions between Benlida and
   7    Circuitronix Hong Kong.           So even if there's some,
   8    you know, common management, the transactions are
   9    tracked separately.
  10         Q.     So from an accounting perspective,
  11    professionally speaking, is it common and good
  12    practice to ignore related-party transactions?
  13         A.     I don't understand your question.
  14         Q.     It's just a question.
  15                       If you -- is it common and good
  16    practice to not address related-party transactions
  17    when they're -- when they're -- when the
  18    information's available to you?
  19         A.     It depends on the facts and circumstances.
  20         Q.     So in this case over here, where Benlida is
  21    claiming that the Hong Kong entity owes it
  22    $13 million, is that something that you think is
  23    worth reviewing?
  24         A.     So I was retained for the counterclaim.
  25                       The amount that Benlida would be due


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   1    from Circuitronix Hong Kong would have been
   2    something for the plaintiff to publish in an
   3    affirmative report.
   4         Q.     Okay.     I don't -- I'm asking you about
   5    related parties, and I'm trying to understand if you
   6    think it's prudent accounting practice to review
   7    related-party transactions when you're looking at an
   8    entire picture.
   9         A.     It depends on the facts and circumstances.
  10         Q.     Okay.     And it sounds to me, from what I'm
  11    hearing, is that you only looked at part of the
  12    picture.      Is that correct?
  13         A.     So, again, I analyzed the picture as it
  14    relates to Circuitronix, LLC's, counterclaim against
  15    Benlida.
  16         Q.     So you only looked at part of the picture
  17    that relates to transactions between the U.S. entity
  18    and Benlida.       Is that correct?
  19         A.     Correct.      As identified in the
  20    counterclaim.
  21         Q.     Is the engagement letter that was -- that
  22    you signed on behalf of -- you know, your services.
  23    Was that limited solely to this CTX U.S.
  24    counterclaim?
  25         A.     The engagement letter, I don't believe, is


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   1    that nuanced.       They're more general.
   2         Q.     So then at some point, some instruction was
   3    given to you to only address the counterclaim.                     Is
   4    that correct?
   5         A.     That's not correct.
   6         Q.     Did you make the decision to only address
   7    the counterclaim?
   8         A.     Well, again, I testified on this issue a
   9    few times.      But we were retained for the
  10    counterclaim.
  11                       And then Footnote 4 states that we
  12    assembled some data for use in a rebuttal, but we
  13    didn't get an a affirmative report by the plaintiff
  14    to rebut.
  15         Q.     Okay.     Why do you need a report?
  16                       You know what the allegations are in
  17    the complaint.        Right?
  18         A.     In which complaint?
  19         Q.     You read the third amended complaint.
  20    Right?
  21         A.     The plaintiff's complaint.
  22         Q.     Yes.
  23         A.     Okay.
  24         Q.     You did read it.         Right?
  25         A.     I did.


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   1         Q.     And you do know, then, in the third amended
   2    complaint drafted by the plaintiffs, there are
   3    allegations that the Hong Kong entity owes it
   4    $13 million.       You must know that.
   5         A.     I don't know if that's how the number
   6    shakes out precisely.           There's invoices included.              I
   7    don't know if all those invoices necessarily equate
   8    to the 13.5, but I do know that Benlida claims it's
   9    owed money from Circuitronix Hong Kong.
  10         Q.     And the fact of the matter is that when you
  11    did your analysis, you looked solely at transactions
  12    between the U.S. entity and Benlida.                 Only.
  13                       MR. ROSENTHAL:        Object to the
  14         form.
  15         BY MR. MAZZOLA:
  16         Q.     For purposes of this report.              Is that
  17    correct?
  18                       MR. ROSENTHAL:        Object to the
  19         form.
  20         A.     As identified in the counterclaim, we
  21    identified the transactions between
  22    Circuitronix, LLC, and Benlida.
  23         BY MR. MAZZOLA:
  24         Q.     Are you aware that the plaintiffs in this
  25    case have alleged that the CTX invoices are owed by


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   1    the U.S. entity?
   2                       MR. ROSENTHAL:        Object to the
   3         form.
   4         A.     Well, the complaint's against -- it's
   5    Benlida v. Circuitronix, LLC.                 So, yes.
   6         BY MR. MAZZOLA:
   7         Q.     Okay.     So that makes sense -- right? --
   8    that that would be the case.
   9         A.     "That makes sense.          Right?"
  10                       I don't understand your question.
  11         Q.     Well, my question was, are you aware that
  12    the plaintiffs are alleging that those CTX Hong Kong
  13    invoices are owed by the -- by CTX U.S.                  Do you know
  14    that to be the case?
  15         A.     From the complaint.          Yes.
  16                       But they didn't put it in an
  17    affirmative report where I would understand the
  18    basis for which CTX, LLC, would be responsible for
  19    the debts of another company.
  20         Q.     But you as an accounting professional,
  21    because you reviewed the complaint.                 When you
  22    reviewed the complaint, you understood that Benlida
  23    was alleging that the -- the CTX Hong Kong invoices
  24    are owed by CTX U.S.S.           That's correct.         Right?
  25         A.     The CTX Hong Kong invoices appear in


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   1    Benlida's complaint.
   2         Q.     And that the allegation by Benlida is that
   3    those invoices are owed by the U.S. operation.                     Is
   4    that correct as you understood the complaint?
   5         A.     That's Benlida's allegation.
   6         Q.     And is it correct as you understood the
   7    complaint?
   8         A.     That's Benlida's allegation.
   9         Q.     Okay.     The question is, is it correct?
  10         A.     Is "what" correct?          You say saying "its,"
  11    and --
  12         Q.     Is their allegation that you under -- not
  13    the ultimate question.
  14                       But is it your understanding, from
  15    reading the complaint, that Benlida is alleging that
  16    CTX Hong Kong's invoices are owed by CTX U.S.
  17         A.     I don't know if they artfully say it that
  18    well.
  19                       But the Circuitronix Hong Kong
  20    invoices are included in the complaint between
  21    Benlida and Circuitronix, LLC.
  22                       MR. MAZZOLA:        Do you want to
  23         break now?
  24                       MR. ROSENTHAL:        Sure.
  25                       (Off record:        12:52 p.m. to 1:36 p.m.)


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   1         BY MR. MAZZOLA:
   2         Q.     So still looking at your report.                We'll
   3    look at page 16, Mr. Parisi.
   4         A.     Okay.     Give me one second to --
   5         Q.     I beg your pardon.          6.
   6         A.     Page 6.
   7         Q.     Page 6.
   8         A.     Okay.
   9         Q.     At paragraph 15, you talk about you looked
  10    at CT recon and the Benlida recon and from that you
  11    compiled a database.
  12                       Where is that detailed database?
  13                       MR. MAZZOLA:        Is that something
  14         that was shared with us that contained ...
  15                       MR. ROSENTHAL:        That's not
  16         something that we produced.
  17                       MR. MAZZOLA:        Okay.
  18         A.     The answer to your question, though, is the
  19    source files are contained within the first three.
  20    The Rishi transmittal email, the response from
  21    Benlida, the follow-up from Benlida, sprinkle in a
  22    little meeting minutes for the adjustment, and
  23    that's the cake.
  24         BY MR. MAZZOLA:
  25         Q.     And this is -- and that results in page --


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   1    on page 7 of Table 1?
   2         A.     Correct.
   3         Q.     And there's a difference.             You come up --
   4    what is this difference?
   5                       Can you explain to me what this means,
   6    that the CT -- and I'm going to talk a little bit.
   7                       The CTX recon says 5.3 million.               Then
   8    Benlida comes back and says, No, it's 4.07 million.
   9    And the difference is 1.242.             That's just straight
  10    math.     Right?
  11         A.     Precisely.
  12         Q.     And when you look at payments, you have a
  13    difference, again, that's just straight math.
  14    Correct?
  15         A.     Correct.
  16         Q.     On the invoices, again, it's -- there's a
  17    difference of $662,918.           That's straight math.
  18    Right?
  19         A.     Correct.
  20         Q.     And on the debit memos, that's straight
  21    math as well?
  22         A.     Correct.
  23         Q.     The total amount of debit memos is
  24    somewhere on the order of 2.7 to 2.2 million.
  25    Right?


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   1         A.     For Circuitronix, LLC, yes.
   2         Q.     The U.S. operation.
   3                       And did you -- again, you did
   4    judgmentally select 11 debit memos to review.
   5         A.     Correct.      In excess of $10,000.
   6         Q.     But only the 11.
   7         A.     Correct.
   8                       As they contain, you know, the
   9    material amount of the debit memos.
  10         Q.     How did you determine whether the debit
  11    memos were properly created?
  12                       Did you go back to the contract?                Did
  13    you go back to emails?
  14                       Did you go back to something to find
  15    out what the basis for the debit memos were?
  16         A.     So the basis for the debit memos is the
  17    monthly transmittal emails included in the CTX
  18    recon.     And then Benlida comes back; they have their
  19    adjustments, and we reconciled those as identified
  20    in Table 1.       And then we sampled the debit memos, as
  21    I previously discussed.
  22         Q.     Why -- do you accept Benlida's number of
  23    the 4.072?
  24         A.     Do I accept their number ...
  25         Q.     At some point, you go through all of this,


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   1    and you come up the with a final number.
   2         A.     Correct.
   3         Q.     Do you accept Benlida's number, or do you
   4    accept CTX's number for your final calculations?
   5         A.     Neither.
   6         Q.     Neither.
   7                       And what number do you choose?               Say,
   8    for example, on this Table 1 summary.
   9                       Do you split the difference?              Did you
  10    do something else?
  11         A.     My report speaks for itself.
  12         Q.     Okay.     So tell me what you do.
  13                       So that's what we're looking at -- can
  14    you explain to me what you did here?
  15         A.     Sure.     Which part would you like to
  16    discuss?
  17         Q.     Well, I can go to the back, on page 14.
  18    Page 14 is where you do a final summary of the
  19    payables reconciliation between CTX and Benlida.
  20    Correct?
  21         A.     Correct.
  22         Q.     And here, you come up with the
  23    reconciliation, per CTX's $4.76 million.                  Right?
  24         A.     Correct.
  25         Q.     And that's a different number from CTX's on


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   1    page 7.
   2         A.     Correct.
   3         Q.     And so we'll just have to go through and
   4    discuss with how you come up with that number.
   5    Right?
   6         A.     There's a table that identifies the
   7    changes.      And this summary table references the
   8    previous table that explains why the numbers are
   9    different.
  10         Q.     The table that summarizes the changes, can
  11    you tell me where that is?
  12         A.     Sure.
  13                       So we have to be very clear when we
  14    talk about these components, because it's easy to
  15    talk general.       But there's three real pieces of the
  16    pie:    Payments, invoices, and debit memos.
  17                       The payments are largely -- you know,
  18    it's amazing how close they are.               There's a $92,000
  19    difference on $67 million.
  20                       The second component is the invoices.
  21    The difference between the two is $662,000.
  22                       And there's also the debit memos,
  23    which we've previously discussed.
  24         Q.     So let's talk about payments, because you
  25    do address the payments --


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   1         A.     Sure.
   2         Q.     -- on page 7.
   3                       And that's where you reference that
   4    $92,338 difference.          Do you see that?
   5         A.     I do.     That's further elaborated in
   6    Table 2.
   7         Q.     And here, that -- it says, "Our analysis
   8    reveals that the payment difference is attributable
   9    to payments made by CTX, which were not listed in
  10    the CTX recon."
  11                       And my question there is, how or why
  12    would a payment be made by CTX, which was not listed
  13    on their recon -- on their CTX recon?
  14         A.     It wasn't listed on the recon.
  15         Q.     Well, what you're saying is, there was a
  16    payment made by CTX that they never noted on their
  17    reconciliation.        How did that happen?
  18         A.     It wasn't noted on the reconciliation.
  19         Q.     But how would that happen?
  20         A.     I don't -- I don't know how it didn't
  21    happen.
  22         Q.     Is that a sign of sloppy accounting?
  23    Sloppy bookkeeping?
  24                       MR. ROSENTHAL:        Object to the
  25         form.


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   1         A.     It's a sign that their bookkeeping isn't
   2    perfect.
   3                       But the transactions are largely in
   4    synch.     And you have to remember the volume of data,
   5    too.    There's a significant amount of volume being
   6    transmitted.       You know, there's $65 million of
   7    invoices, and even more than that in payments.                     So
   8    the quantity is extreme.
   9                       And you can understand that when the
  10    parties are shipping, you know, there was disputes
  11    sometimes about the price, and then also the
  12    quantity originally ordered versus invoiced, for
  13    example.      And those two differences would create
  14    some of the invoice differences.
  15         BY MR. MAZZOLA:
  16         Q.     So, in your mind, that $92,000 delta is not
  17    a big number.
  18         A.     It's all relative.
  19                       You know, $92,000 would be a lot of
  20    money for me to pay personally.               But in the grand
  21    scheme of how close these numbers are, it's
  22    certainly within a reasonable degree of certainty.
  23         Q.     On Table 2, when you write "concurring
  24    payments," can you explain to me what that meant?
  25         A.     Sure.     So the way the reconciliation works


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   1    is, let's say there was a $100 payment on the CTX
   2    recon.     And then Benlida comes back and says, No,
   3    that payment was $80.           Well, clearly, that payment
   4    is nonconcurring.
   5                       But to the extent the payment wasn't
   6    objected to by Benlida, as it relates to the
   7    Circuitronix original transmittal, then those
   8    payments, for purposes of this analysis, are
   9    reflected as concurring payments.
  10         Q.     So if they both have it, it goes in as a
  11    concurring payment.          Concurring payment and -- is
  12    that what you're saying?
  13         A.     No.    That's not what I'm saying.
  14         Q.     What are you saying, then?
  15         A.     So we have it on the Circuitronix recon --
  16         Q.     Yep.
  17         A.     -- and they don't object to it in the
  18    Benlida response, then that would be a concurring
  19    payment.
  20         Q.     A concurring payment.             Okay.
  21         A.     So think about an invoice.             If it was in
  22    the original Circuitronix email, but Benlida doesn't
  23    have a comment on it, we've treated that as a, you
  24    know, concurring invoice.
  25                       It's only where the difference is that


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   1    we really have to focus on for purposes of
   2    reconciling the balance between the two parties.
   3         Q.     On the second line, you have a -- CTX
   4    payments claimed in the CTX recon, but not in the
   5    Benlida records.         That's the $2.229 million.             Do you
   6    see that?
   7         A.     I do.
   8         Q.     What are those?
   9         A.     Exactly what the label says.
  10         Q.     So CTX is showing they paid them; Benlida
  11    is showing that it's not paid, or not received or
  12    doesn't exist.
  13         A.     Correct.
  14         Q.     And then the 2.47 is on the other side.
  15         A.     Correct.      And that was in Benlida's second
  16    response email.
  17                       And I view this as -- it's really
  18    interesting.       What Benlida is really saying,
  19    Circuitronix, you forgot about these payments, to
  20    really reconcile what the balance between the two
  21    parties is.
  22         Q.     So they were honest with each other.
  23         A.     They're trying to reconcile the balance.
  24         Q.     But it seems that they're being pretty
  25    honest with each other, and they're pretty close on


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   1    the numbers.       Right?
   2         A.     Those numbers are very close, considering
   3    the volume of transactions.             It's like you said,
   4    $92,000 is a lot of money.             But in the grand scheme
   5    of $67 million in seven-years-plus of transactions
   6    is relatively close.
   7         Q.     So I'm looking through all these numbers.
   8    Is it fair to say, in your opinion, that the Benlida
   9    people are honest with their numbers?
  10         A.     The Benlida people are honest with their
  11    numbers ...
  12                       I mean, they're trying to reconcile
  13    the balance.       Honestly is really outside the scope
  14    of my report.
  15         Q.     Okay.     But they're coming pretty close to
  16    what your client's saying.             Right?
  17         A.     Relatively.
  18         Q.     And if two people are kind of close to the
  19    numbers, does that give you an indication of
  20    reliability?
  21         A.     It depends on the facts and circumstances
  22    and who's preparing the analysis.
  23         Q.     When you looked at the Benlida
  24    reconciliation, did you see anything that looked
  25    untoward?


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   1         A.     I mean, to me, it's just data.               I don't
   2    ascribe, you know, emotions like that or judgments
   3    to data.      It's just data.
   4         Q.     Well, in looking at that data from Benlida
   5    and comparing to the data of your client, can you
   6    provide any judgments to the honesty and credibility
   7    of the Benlida's data?
   8                       MR. ROSENTHAL:        Object to the
   9         form.
  10         A.     I don't view data as honesty.              It's just
  11    data, subject to further examination.
  12         BY MR. MAZZOLA:
  13         Q.     Looking at the data that was produced by
  14    Benlida in comparison to the data that was produced
  15    by CTX, you did find that the two -- that both sets
  16    of data were reasonably close to each other.
  17         A.     In certain parts.          Yes.
  18         Q.     And if -- your client's data is reliable.
  19    Right?
  20         A.     It was the basis of our analysis.                But we
  21    made adjustments to our client's data, as indicated
  22    in the report.
  23         Q.     But I assume you operated under the
  24    assumption that your client's giving you reliable
  25    data.


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   1          A.    Well, the -- first, we received the data.
   2    And then we need to understand the data and the
   3    context.      But we -- we -- I don't want to say we
   4    assumed the client's data was correct.
   5                       It's definitely the basis, but we make
   6    adjustments from the there.             So we don't view as
   7    100 percent correct, but it is a starting point.
   8          Q.    Well, after looking at it, you spent a lot
   9    of time with it.         Do you have any reason to believe
  10    that the data that was provided to you by CTX was
  11    unreliable?
  12          A.    I believe the data is reliable as I sit
  13    here, as identified in the report.
  14          Q.    And you spent a lot of time looking at the
  15    data that was provided by Benlida too.                 Is that
  16    correct?
  17          A.    We spent time looking at the Benlida data.
  18    Yes.
  19          Q.    And if the Benlida data and the CTX data
  20    are pretty close to each other, because you did say
  21    that earlier, can you also agree that the Benlida
  22    data is as reliable as CTX's data?
  23          A.    It's just data.         So I don't view it as one
  24    data is better than the other, it's just --
  25    \\\


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   1         BY MR. MAZZOLA:
   2         Q.     I'm not saying one's better.
   3         A.     Well, you -- okay.
   4                       What was your question, then,
   5    specifically?
   6         Q.     We talked earlier a few seconds ago, and I
   7    think you did ultimately agree that, at the end of
   8    the day, after looking at all the CTX data, that you
   9    found it to be reliable, for the most part.
  10         A.     Well, just to be clear, I said the CTX data
  11    was relatively close to what Benlida the data said.
  12    Now you're kind of having the Circuitronix data
  13    stand on itself.
  14         Q.     Well, they're both close to each other.
  15         A.     Well, one's a derivative of the other,
  16    which identifies changes.
  17         Q.     They're numbers.         And the numbers are close
  18    to each other.        One person says "X," another person
  19    says "Y," and those two numbers are pretty darn
  20    close to each other.          Is that fair?
  21         A.     Which numbers specifically?
  22         Q.     Well, let's go back to this Table 1.
  23    Right?     Regarding the payments.
  24                       At paragraph 16, you wrote that there
  25    is concurrence between the parties as to over


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   1    99 percent of these payments leaving only a
   2    difference of $9,203,867.            Right?
   3         A.     I see those words.
   4         Q.     Okay.     And you wrote that.
   5         A.     In conjunction with preparing the report.
   6    Yes.
   7         Q.     And so my question to you is, if Benlida
   8    and CTX, regarding their recon, are so close on the
   9    payment question, does that give you a sense that
  10    the numbers are reliable as and between each other?
  11         A.     The payments is only one portion, so you
  12    have to look at everything.
  13                       If the payments were close and the
  14    invoices -- or the debit memos were way different,
  15    then, you know, that would present an issue.                    So I
  16    can't look at one little piece to say everything's
  17    great.     You have to take it in totality.
  18         Q.     Okay.     So payments are really close.              You
  19    said that.      Right?
  20         A.     Correct.
  21         Q.     The invoices, are those close in your mind?
  22         A.     They're less close.          They're more divergent
  23    than the payments.
  24         Q.     But not by much, though.
  25         A.     Approximately.        That's fair to say.           In the


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   1    grand scheme of the transactions.
   2         Q.     Yeah.     And the debit memos.           Even the debit
   3    memos, in the grand scheme of transactions, are
   4    those close?
   5         A.     Approximately.
   6         Q.     So what I'm trying to understand is that if
   7    your client's numbers are reliable -- can you say
   8    that?
   9                       Are you willing to say that?
  10         A.     We had to adjust the data, so I don't want
  11    to just sit here -- some of the data is reliable,
  12    but I don't want to say it's perfect, because we did
  13    have to make adjustments as identified in my report.
  14         Q.     I didn't say "perfect."
  15         A.     Okay.
  16         Q.     Just reliable for purposes of your
  17    testimony.      Are they reliable numbers as an
  18    accountant?
  19                       In your professional discretion and
  20    your professional experience, are these numbers, over
  21    the course of many years of $67 million, are the
  22    numbers relatively reliable?             Would you give me that
  23    much?
  24         A.     It's a starting point for an analysis.
  25         Q.     Is it a relatively reliable starting point


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   1    for an analysis?
   2                       There's nothing wrong with saying your
   3    client's numbers are reliable.
   4         A.     It's not that I'm trying -- it's just the
   5    starting point.        You're trying to -- I'm not -- it's
   6    just data.
   7         Q.     What I'm trying to data get at is, if CTX's
   8    numbers are reliable, are Benlida's numbers
   9    reliable?
  10         A.     And that's why I -- that's why I keep
  11    telling you, it's a starting point.                Right?     You're
  12    trying to say if I don't know -- I don't want to
  13    assume what you're saying, but to me, you're saying
  14    Circuitronix's data is reliable; therefore Benlida's
  15    data is reliable.         And I keep trying to explain the
  16    process that this is a starting point, and then we,
  17    you know, kick the tires, et cetera.
  18         Q.     So as a starting point, after everything
  19    you've done throughout the whole process.                   You've
  20    done all this.        We're only on Table 1.           We're going
  21    to get to Tables 6, 7, 8, whatever the tables are.
  22                       At a starting point, were these numbers
  23    within the relative realm, universe, of reliability?
  24         A.     They're just numbers.             These are just the
  25    starting numbers provided on a spreadsheet.


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   1         Q.     Let's go to the next one, then.               Table 2.
   2    Now, there, you do all your adjustments, and you
   3    come down, and you have a $12,000 difference.                    Do
   4    you see that?
   5         A.     I do.
   6         Q.     Now, these adjustments and the numbers --
   7    again, your sources are what?                 CTX's numbers and
   8    Benlida's numbers.         Right?
   9         A.     Correct.
  10         Q.     Now, as you get to this "Totals As Per
  11    Recon As Adjusted," would you consider CTX's number
  12    that you have there reliable?
  13         A.     Well, I just wanted to be clear.                This
  14    67,728,456, that's really CTX's initial compilation.
  15    And then we make the adjustments based on some of
  16    the Benlida feedback as well.
  17         Q.     The payments before, you just said, were
  18    99 percent concurrent.
  19         A.     Correct.
  20         Q.     Okay.
  21         A.     And we see that on line 1 -- or on the line
  22    here.
  23         Q.     All right.       You also wrote that your
  24    invoices were almost 99 percent concurrent between
  25    Benlida and CTX.         That's at paragraph 19.            Do you


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   1    see that?
   2         A.     Um-hmm -- correct.
   3         Q.     So now you've just written in your report
   4    that the payments were 99 percent concurrent, and
   5    the invoices were 99 percent concurrent at jump.                      At
   6    starting point.        Right?
   7         A.     Um-hmm.
   8         Q.     So my question now is -- same question.
   9                       If the -- does that give you any
  10    indication that the numbers between CTX and
  11    Benlida -- well, let's start off with CTX -- that
  12    CTX's numbers were reliable?
  13         A.     It's a reliable foundation to begin the
  14    analysis.
  15         Q.     Okay.     So CTX's numbers are a reliable
  16    foundation to begin the analysis.               It would also be
  17    that Benlida's numbers are a reliable foundation to
  18    begin the analysis.          Isn't that correct?
  19         A.     It could be.        It's definitely a beginning
  20    point.     Absolutely.
  21                       Step 1:      Obtain the data.         Step 2:
  22    Analyze the data.
  23         Q.     But what I'm saying to you is -- what I'm
  24    suggesting is, that if you looked at this and your
  25    concurrences were not 99 percent or they were


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   1    62 percent, would that indicate to you that there
   2    was something major or something was -- a major
   3    disconnect here?
   4         A.     If one payment totaled 100 and the other
   5    totaled 62, there would be a disconnect.                  And then
   6    we'd have to research to understand why and who's
   7    correct.
   8         Q.     And if one set of invoices was 100 and
   9    another set of invoices were 62, that would also be
  10    evidence of a major disconnect between CTX and
  11    Benlida.      Right?
  12         A.     Yes and no.
  13         Q.     Okay.     What's the "no"?
  14         A.     So we're talking about $67 million of
  15    invoices.      If one invoice said 100 and another one
  16    said 102, I would not use the words "major
  17    disconnect" as you just --
  18         Q.     I said 100 and 60 -- 100 and 62.
  19         A.     Okay.     One invoice is 100, and the other
  20    one's 62.      That's a $38 difference.            I wouldn't
  21    describe that as major.
  22         Q.     I meant the totals.
  23         A.     Okay.     If one totals 100 and the other
  24    totals 62, I wouldn't consider $38 big difference.
  25         Q.     When you talked over here about payments,


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   1    there's a 99 percent concurrence between both of
   2    them.
   3         A.     Okay.
   4         Q.     And you agree that when there's a
   5    99 percent concurrence between two sets of numbers,
   6    then it becomes a reasonable basis to begin an
   7    analysis.      Right?
   8         A.     Correct.
   9         Q.     That's on the payments.              Having -- that's
  10    on the payments.
  11                       When we get to the invoices, you also
  12    write that have you have a 99 percent concurrence
  13    between CTX's invoice numbers and Benlida's invoice
  14    numbers.      Is that correct?
  15         A.     Correct.
  16         Q.     When you have a 99 percent concurrence
  17    between one set of invoices and another set of
  18    invoices, does that lead you to believe, in your
  19    professional opinion, that that, too, is a
  20    reasonable basis -- reasonable foundation to begin
  21    the analysis at?
  22         A.     Well, now we're passed the foundation.
  23    Right?     The foundation is the data, but now you're
  24    talking about the comparison.                 Right?   So now we're
  25    into the results.         Because you have to think


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   1    methodology.
   2                       Step 1:      Get the data.        Step 2:
   3    Compile the data.         And step 3:         Analyze the data to
   4    make that determination.
   5         Q.     We're not at step 2 yet.            I'm --
   6         A.     You already -- you were, because you said
   7    "analyze."
   8         Q.     I'm looking at the data that you have.                  And
   9    you've told me, at least on two points on the data,
  10    payments and invoices, that there's a 99 percent
  11    concurrence between CTX and Benlida.                 Is that
  12    correct?
  13         A.     Yes.
  14                       But that's after I analyzed it, but
  15    you said we're at step 1 where I just got the data,
  16    so I'm confused by your question.
  17         Q.     Okay.     So after you've analyzed it, you're
  18    at 99 percent concurrence.
  19         A.     Is that a question?
  20         Q.     Yes.
  21                       So if you're at 99 percent concurrence
  22    after your analysis, after you've looked at it
  23    carefully, does that then tell you that the numbers
  24    you're getting from CTX -- from Benlida and CTX are
  25    both reasonable and both reliable?


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   1         A.     It makes me feel that the analysis is
   2    within a reasonable degree of certainty.                  Yes.     The
   3    occurrence of the amounts.
   4         Q.     Okay.     So occurrence tells you that they're
   5    both sort of coming up with the same number.
   6         A.     Generally, yes.
   7         Q.     And you're not seeing anything out of whack
   8    after doing your analysis.             Right?
   9         A.     What do you mean by "anything"?
  10         Q.     Well, you're not seeing that CTX says $100
  11    is owed or $100 million is owed, and Benlida is
  12    coming back and saying $200 million or $50 million.
  13    There's no major disparity between the two sets of
  14    numbers after analysis between Benlida and CTX.
  15    Isn't that correct?
  16         A.     Yes.    We went through the disparities and
  17    discussed them ad nauseam.
  18         Q.     So does that lead you to believe, then,
  19    that the numbers that you got from Benlida are
  20    reasonable and reliable numbers after your analysis?
  21         A.     So the numbers from Benlida that adjusted
  22    Circuitronix, LLC's, counterclaim were reasonably
  23    close.
  24         Q.     Okay.     So Benlida gave you numbers that
  25    were reasonably close to what CTX had.


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   1         A.     On a net basis, the adjustments between
   2    Circuitronix and Benlida are reasonably close.
   3         Q.     So let's go to the analysis of invoice
   4    discrepancies, page 9.           This talks about -- at
   5    paragraph 20.
   6                       At paragraph 20, you talk about CTX's
   7    adjustments to Benlida invoices.               What did that --
   8    what did you mean by that?
   9         A.     So, for example, Benlida's the supplier in
  10    this matter.       Benlida would send an invoice.               And
  11    let's just say that invoice is for 100 quantity with
  12    a dollar price.        That is Benlida's invoice.
  13                       Well, what happens, for example, if,
  14    instead, of $1 per unit, the quantity per the
  15    purchase order was 99 cents.             And in that case, we'd
  16    have to make an adjustment to the invoice.
  17                       And similarly, if 100 quantity was
  18    ordered but only 99 arrived, and when the invoice
  19    was received by Circuitronix, LLC, for 100, then
  20    you'd need to adjust that.             And that adjustment
  21    would happen with a debit memo.               Or if it wasn't
  22    resolved, then you would be left with some invoice
  23    differences identified in this analysis.
  24         Q.     How did you verify CTX's adjustments to
  25    Benlida's invoices?


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   1         A.     So the basis of our analysis was the CTX
   2    numbers.
   3         Q.     So if CTX told you that Benlida
   4    short-shipped or had the unit price wrong, that
   5    would be the data -- that would be the basis for
   6    your analysis?
   7         A.     No.
   8         Q.     Then how would you know?
   9         A.     So I don't know if you've seen the
  10    transactions, but Circuitronix doesn't object to the
  11    numbers.      Circuitronix launches its first shot in
  12    the reconciliation, which is the transmittal email.
  13    So that's the first -- the first response.                   And then
  14    Benlida comes back with the two adjustments.                    And so
  15    that's the foundation.
  16                       In your line of questioning, it made
  17    it seem like Benlida said, Here's the number first,
  18    and then Circuitronix came back with adjustments.
  19    So I just wanted us to have a clear record.
  20         Q.     No.    But on an invoice of $1,000 and CTX
  21    says, No, it should only be $800.               How did you
  22    verify that?
  23         A.     That's by -- I think your question's out of
  24    line with the fact pattern.
  25                       Because Circuitronix first says, even


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   1    though Benlida does send the invoice, our first step
   2    is compile the data in the Circuitronix recon.                     So
   3    we wouldn't know about any differences from the
   4    Benlida invoices as you're describing in your
   5    questioning.
   6         Q.     What did you do to check the -- maybe I'm
   7    not understanding.         And that wouldn't be the first
   8    time.
   9                       Did you -- what did you do to check
  10    that the adjustments proposed by CTX were accurate
  11    and correct?       Did you pull invoices?              Did you pull
  12    shipping documents?
  13         A.     So we attempted to determine, as it relates
  14    to the $62,000 invoice difference, which side was
  15    correct.      Meaning, you have to actually look at --
  16    the quantity ordered and received and the price.
  17                       If you've ever looked at these
  18    invoices, while they may be -- you know, if you pick
  19    any payment detail, it may say "Invoice 1234," you
  20    know, "$100,000."         But when you get to the actual --
  21    that's just an invoice total.                 Right?   Just like
  22    your professional fee invoices.                 The total may be X,
  23    but that's comprised of many, many pages.
  24                       And so when you look at the invoice,
  25    there can be hundreds of part numbers on the


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   1    invoice.      Some more, some less.           And so we attempted
   2    to reconcile those differences.               So to do that,
   3    you'd have to obtain -- for each part, you'd have to
   4    first figure out where the differences are, receive
   5    the receiving logs, what -- the purchase order,
   6    compare the quantities, et cetera.                And it is a
   7    massive undertaking.
   8                       And due to the compressed time frame
   9    from when we started, approximately mid-April to
  10    when the report was due, there was not enough time
  11    to pull the voluminous amount of support that would
  12    have been required to make the determination for the
  13    $662,000 either way.
  14         Q.     So you did not -- you did not pull any
  15    support to confirm the difference is what you're
  16    saying.
  17         A.     We were unable to determine which side was
  18    correct for the differences.
  19         Q.     So how did you pick a side?              A team, if you
  20    will.
  21                       MR. ROSENTHAL:        Object to the
  22         form.
  23         A.     We presented the numbers as identified in
  24    the reconciliation, but we didn't make any further
  25    adjustments to those differences.


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   1          BY MR. MAZZOLA:
   2          Q.    And you say that in line -- in paragraph
   3    20.    Because you write "CTX advises that on
   4    occasion."      Do you see that?
   5                       MR. ROSENTHAL:        I'm sorry.       Where
   6          are you reading from?
   7                       MR. MAZZOLA:        Line 21 -- I beg
   8          your pardon.
   9                       Paragraph 21, second line, second
  10          sentence.
  11          BY MR. MAZZOLA:
  12          Q.    Are you reading it, Mr. Parisi?
  13          A.    I am.     I see those words.
  14          Q.    And then on your last sentence in that
  15    paragraph, you write "CTX contends."
  16                       Do you see that?
  17          A.    Um-hmm.
  18          Q.    So based upon the testimony that you just
  19    gave, and based upon what you wrote in this report,
  20    it sounds to me that when you got to this
  21    discrepancy of $662,000, that that was based on what
  22    CTX advised and contended to you.               Is that correct?
  23          A.    We used the invoice amount as adjusted and
  24    labeled in the report for the Circuitronix as it
  25    relates to the amounts due through July 2019.


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   1         Q.     So you relied upon the CTX numbers for
   2    that.     Right?
   3         A.     For this portion.
   4         Q.     And then you even write "No further
   5    procedures were performed with respect to the
   6    invoice differences between CTX and Benlida."
   7         A.     Correct.
   8         Q.     And you said before, the reason you didn't
   9    drill down any deeper was for that very reason.                     It
  10    would be unduly burdensome because the volumes of
  11    documents to look at would be so great.                  Is that
  12    correct?
  13         A.     Correct.
  14                       And the time frame to do it.              It's not
  15    an impossible task, it's just the time frame's very
  16    compressed.
  17         Q.     And so it would have required looking at
  18    bills of lading, shipping documents, shipping
  19    receipts, and things of that nature.
  20         A.     Correct.
  21                       And that's the same with the lead-time
  22    penalty at as well.
  23         Q.     And I'm not saying this in a pejorative
  24    sense, I'm just saying insofar as the payment
  25    discrepancy goes, you relied on CTX's numbers and


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   1    you checked the math.           Is that right?
   2                       MR. ROSENTHAL:        Object to the
   3         form.
   4         A.     For CTX, LLC's, payments, we reconciled the
   5    payments.      Yes.
   6         BY MR. MAZZOLA:
   7         Q.     And you confirmed their math.
   8         A.     We confirmed the math.
   9                       And then we also checked the payments
  10    to bank statements to make sure there was a payment
  11    dispersed on that date for that amount.
  12         Q.     But as you said before, you didn't dig any
  13    deeper because it would be too much work and not
  14    enough time.
  15         A.     I just want to be clear.            Your question's
  16    focused on the invoices.
  17         Q.     Yes.
  18         A.     Yes.    We did not -- we were not able to
  19    reconcile the invoice differences totaling $662,000
  20    as identified in Table 3 of the report.
  21         Q.     And you said that that was similar with
  22    respect to the lead-time penalties as well.
  23         A.     Correct.      We were not able to get all the
  24    input data to confirm the inputs into the lead-time
  25    penalty calculation.          Specifically the ship date and


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   1    the receive date by part number, because those are
   2    the main factors in addition to some other items.
   3         Q.     That was one of the main factors on
   4    lead-time penalties is the ship date, how many days
   5    it was late.       And based upon that, that would form
   6    the foundation for the lead-time penalties.                   Right?
   7         A.     Yes and no.
   8         Q.     Okay.     What's the "no" part?
   9         A.     There is also specific provisions about the
  10    amount of product Benlida was supposed to put into
  11    production and ship as well.             But the criteria for
  12    the lead-time penalty is different, depending on the
  13    time period.
  14         Q.     But, again, looking at all that data, ship
  15    dates, volume, that would have been too burdensome
  16    in the time permitted to do it.               Is that correct?
  17         A.     We were not able to obtain all the data to
  18    validate the inputs in the time provided.
  19         Q.     So, instead, you just relied upon the data
  20    as it was provided to you from CTX.
  21         A.     And Benlida.
  22         Q.     So whose side did you pick?              If Benlida
  23    said "X" and CTX said "Y," who's number did you
  24    agree with?
  25         A.     I would say "Z," which is the numbers that


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   1    we determined in our report.
   2         Q.     Well, let's look at this over here.                 The
   3    invoices.      What number did you pick?
   4                       You picked $662.98 -- $662,918.               Right?
   5         A.     65,176,316 is the total invoices in
   6    Table 7.
   7         Q.     Okay.     But I'm talking about what we were
   8    just talking about on page 9 --
   9         A.     Oh.    Sorry.
  10         Q.     -- the aggregate discrepancy of $662,918.
  11    That was the number that was advised to you by CTX.
  12         A.     Correct.
  13         Q.     And that was the number you're using for
  14    your calculations going forward.                 Is that correct?
  15         A.     Correct.
  16         Q.     And that number ...
  17                       (Pause in proceedings.)
  18         BY MR. MAZZOLA:
  19         Q.     And the number that you relied on, the 662,
  20    that came from CTX -- I'm sorry.                 I'm recovering.        I
  21    just got distracted.
  22                       That's correct.            Right?   The 662 came
  23    from CTX.
  24         A.     That's incorrect.
  25                       The 662 is a function of the


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   1    difference between CTX and Benlida.                That number
   2    could not have come from CTX in isolation, as you
   3    asked.
   4         Q.     No.    It says -- you wrote, "CTX contends
   5    that these variances in price and quantity have
   6    resulted in the aggregate discrepancy of 662."
   7                       So you come to that number based upon
   8    what CTX is contending.           Is that correct?
   9         A.     It's what CTX contends, less what Benlida
  10    contends.
  11         Q.     So it's the discrepancy.
  12         A.     The delta.       Yes.
  13         Q.     And, as you said before, there was no other
  14    digging in deeper because you didn't have the time
  15    to do so, and it was too burdensome.
  16         A.     Yeah.     I just want to be very clear.
  17                       You know, we have to be careful when
  18    we talk about invoices, payments, and debit memos.
  19    So for the invoices, we didn't resolve the
  20    difference as identified in the report.
  21         Q.     And 662,918 is the number that you're using
  22    for your calculation going forward.
  23         A.     That's the amount of the invoice difference
  24    is the 662 between Benlida and Circuitronix, LLC.
  25         Q.     Now, on the debit memos, you write that


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   1    there are $486,939, which DMs were listed in the CTX
   2    recon but are not included in the Benlida recon?
   3    Can you explain what that means?
   4         A.     Just what the words say.
   5         Q.     So CTX had them, but Benlida did not?
   6         A.     Precisely.
   7         Q.     And that $486,939 number, did you use that
   8    for calculations going forward?
   9         A.     We used it as a basis, subject to further
  10    adjustment as identified later in the report for the
  11    meeting minute adjustments to the debit memos.
  12         Q.     And on the judgmentally selected -- we
  13    talked about that earlier -- you selected 11.
  14    Right?
  15         A.     I'm sorry?
  16         Q.     You selected 11 debit memos.
  17         A.     Correct.
  18         Q.     When you say "judgmentally," what does that
  19    mean?     How does that work in the accounting world?
  20                       Do you go down the list and pick the
  21    first 11 that are greater than $10,000?
  22         A.     So there's -- you can sample many ways.
  23    But the primary ways are random.               You know, think if
  24    we had 9,999 invoices.           You would say, here is one,
  25    here's the maximum.          You know, give us 25 random


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   1    numbers in between there.            And that's random
   2    sampling.
   3                       Or you can judgmentally sample where
   4    you say, I want everything over a certain threshold.
   5                       Or, alternatively, you can do
   6    haphazard sampling, where you just say, I'm going to
   7    pick this one and that one, and it's random.
   8                       You get -- it depends on what you're
   9    trying to accomplish, how thorough a sampling you
  10    have to do.       If you want high reliability, you need
  11    to pick more transactions, et cetera.
  12         Q.     So when you judgmentally decided to select
  13    those greater than $10,000, how did you do that?
  14    You just sorted by number?
  15         A.     A little bit of alchemy, and then we also
  16    had an Excel list where it was sorted --
  17         Q.     Excel spreadsheet and you sort.
  18         A.     Correct.
  19         Q.     Mr. Parisi, here's Exhibit 153 in front of
  20    you again.      I want to go back to some of the things
  21    you talked about earlier about the debit memos.
  22                       Can you pick, say, summary 2015?                Is
  23    that okay?
  24         A.     This is your deposition.
  25         Q.     No.    But I -- we want summary 2016, but --


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   1    I want the record to be clear that -- I think as I
   2    was clicking on these things, I may have messed up
   3    some of the coding on the inside, so --
   4         A.     Yeah.     Whatever you want --
   5         Q.     -- they look a little different than they
   6    did before.
   7                       So let's try 2015.
   8         A.     Sure.     You can also exit and reopen it if
   9    you wanted a clean version.
  10         Q.     Yeah, I know.        We'll stick with 2016.
  11                       So let's go to -- let's look at --
  12                       MR. ROSENTHAL:        JC, I didn't
  13         hear, but did you identify the exhibit that
  14         we're looking at?
  15                       MR. MAZZOLA:        Yeah.    153.
  16                       MR. ROSENTHAL:        Thank you.
  17         BY MR. MAZZOLA:
  18         Q.     So we're at summary 2016, and we're looking
  19    at line 3 where it says "October payment detail,
  20    date, invoice total, and debit memo total."
  21                       Do you see the debit memo total is
  22    $78,772.32?
  23         A.     I see those numbers on the screen.
  24         Q.     Now, if you go to -- if I click -- it
  25    jumped before.        It's not jumping.


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   1         A.     I'm not familiar with the clicking trick,
   2    and I use a lot of Excel.
   3         Q.     So now we have to go to October.
   4                       Okay.     Mr. Parisi, I'm going to click
   5    on the tab that says "October 2015," and presumably,
   6    these numbers add up to $72,000 -- $78,000.                   I think
   7    that's what was on the last ...
   8                       And this is comprised of -- one,
   9    two, three, four, five -- six debit memos.
  10         A.     Five.
  11                       MR. ROSENTHAL:         Five.
  12         BY MR. MAZZOLA:
  13         Q.     Five debit memos.
  14                       This first debit memo says "total
  15    penalty for lead-time exceedances for POs in
  16    July 2015."       Is that a debit memo that you would have
  17    pulled and looked at?
  18         A.     It depends.        If this debit memo was on the
  19    CTX recon and not on the Benlida recon as identified
  20    in the report, sitting here, I do not know if that
  21    lead-time penalty met that criteria.
  22         Q.     Okay.     So it would have to be on both
  23    reports before you would pull it?
  24         A.     The opposite.
  25         Q.     It would have to be on one and not the


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   1    other --
   2         A.     Correct.
   3         Q.     -- so you don't know if that meets this
   4    criteria.
   5         A.     Because there's no sense of looking at if
   6    they concur.       We're only focused mainly about where
   7    they do not concur.
   8         Q.     Well, let's assume they didn't concur here.
   9    Would you have pulled this one?
  10         A.     Yes.
  11                       And we further would have reduced that
  12    lead-time penalty amount by 50 percent.                  Because on
  13    Table 4, there's a series of adjustments to the
  14    debit memos, and this one specifically says "cut
  15    down half amount on Jan through July 2015 orders
  16    penalty."
  17                       So that's what I'm trying to say.
  18    CTX's numbers are a basis for our analysis.                   Right?
  19    We're not accepting CTX's analysis on its face.
  20    We're also looking at what Benlida said, the
  21    meeting, in trying to come up with an accurate
  22    balance.
  23         Q.     Where are the debit memos?             Are they
  24    contained in the materials that you provided to us?
  25         A.     Yes.    Do you see the folder that says


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   1    RECD53 --
   2         Q.     Um-hmm.
   3         A.     Correct.
   4         Q.     But this is the -- two, four, six, eight,
   5    ten, eleven.       Well, this is one of the 11 debit
   6    memos you looked at.          Let's look at one of them.
   7                       We'll look at --
   8         A.     Pick that 2015 or 2016 one.              That might
   9    have been one of the ones we were just viewing.                     But
  10    you can pick whatever you want to on that.
  11         Q.     I need all the help I can get.               Okay?
  12                       MR. LERNER:       Are we going to mark
  13         this as an exhibit?
  14                       MR. MAZZOLA:        I guess we do,
  15         because it's a different document.                It's
  16         not part of it.         So let's call this 155.
  17                       (Deposition Exhibit 155
  18                       marked for identification.)
  19                       MR. MAZZOLA:        155 is a debit
  20         memo.     So we can all find it later on, it's
  21         dated 3/10/2015, and the last four digits
  22         of the debit memo number are 0310.
  23                       MR. LERNER:       Does this have a CTX
  24         Bates number?
  25                       MR. MAZZOLA:        No.


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   1                       There is no Bates number on it, I
   2         presume.
   3                       MR. ROSENTHAL:        The data that
   4         they have, presumably, matches the
   5         Bates numbers, but they don't have the
   6         Bates set, so --
   7                       MR. LERNER:       This is from 2015,
   8         so it wasn't within the period of time of
   9         the discovery.        We went back to
  10         January 2016, so that's the reason.
  11                       MR. ROSENTHAL:        They've got data.
  12                       MR. LERNER:       Yeah.     It's fine.
  13                       MR. ROSENTHAL:        And it's not from
  14         our exact set, so --
  15                       MR. MAZZOLA:        You've got it now.
  16                       MR. ROSENTHAL:        Yeah.
  17         BY MR. MAZZOLA:
  18         Q.     So doing your judgmental analysis of
  19    instances where the 11 memos don't match and adding
  20    the criteria that it had to be greater than $10,000,
  21    this was one you would have pulled up.                 Is that
  22    correct, Mr. Parisi?
  23         A.     Correct.
  24         Q.     Okay.     Now, with regards to this debit
  25    memo, it talks about a total penalty for lead-time


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   1    exceedances for U.S. purchase orders.                 And I know
   2    earlier you talked about lead-time penalties, and
   3    how because of the onerous and burdensome nature,
   4    you were unable to dig down deeper beyond the number
   5    that was provided to you by CTX.               Is that correct?
   6         A.     So for lead-time penalties specifically, we
   7    compiled the data of the lead-time penalties, which
   8    were contained in many spreadsheets.                 And then we
   9    aggregated that data and reconciled the lead-time
  10    penalties to the meeting minutes, but we were unable
  11    to test the inputs of the lead-time penalty
  12    workbooks.
  13                       So for a sample of the lead-time
  14    penalty workbooks, we tested the mathematical
  15    application inconsistency of the lead-time penalty
  16    calculations to ensure it was accurate as recorded.
  17         Q.     But you weren't able to test the input, you
  18    said.
  19         A.     Correct.
  20         Q.     And the input is how many days.               Right?
  21                       That's one factor for the input.
  22    Right?
  23         A.     No.
  24         Q.     Well, you say you weren't able to check the
  25    input.     What does that mean?          What's included in the


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   1    input?
   2         A.     You said the number of days, just to be
   3    clear --
   4         Q.     Well, the lead-time penalty --
   5         A.     Hold on.      Which was just a little vague.
   6                       So the days is a function of the
   7    receipt date and the ship date.               The difference
   8    between the two.         So that's what I'm trying to be
   9    clear about.
  10         Q.     Okay.     Ship date and receipt date --
  11         A.     Correct.
  12         Q.     -- are the number of days.
  13                       So you looked at the ship date and the
  14    receipt date, but you weren't able to verify that
  15    input data.
  16         A.     We were not able to independently verify
  17    the ship date or the receipt date.                Correct.
  18         Q.     So all you were able to verify, then, was
  19    the math that was provided to you.
  20         A.     Correct.
  21                       And we compiled the lead-time penalty
  22    data, and we reconciled that compilation to the
  23    meeting minutes as identified in the report.
  24         Q.     But the meeting minutes didn't address
  25    every lead-time penalty.


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   1         A.     There were only adjustments for certain
   2    periods of time, based on the meeting minutes
   3    provided.
   4         Q.     Okay.
   5         A.     And identified in the report.
   6         Q.     The reason I started asking about lead-time
   7    penalties is because this is a debit memo for a
   8    lead-time penalty.         So the question is, were you
   9    able to do anything to verify the accuracy of this
  10    number?
  11         A.     So we started from the reconciliations.                   We
  12    looked at the difference, and then we requested
  13    support from Circuitronix, LLC, to, one, confirm
  14    that the amount matched and to make sure they were
  15    presented on the invoice.            And here it says "Total
  16    lead-time penalty exceedances as of December 14,
  17    U.S. purchase orders."
  18         Q.     So this $32,000, based upon that reason,
  19    this is the total lead-time penalty exceedances for
  20    the whole month.         Is that what they mean here?
  21         A.     Correct.
  22         Q.     How do you know that?
  23         A.     So the lead-time penalty data that I've
  24    seen specifically is primarily aggregated on a month
  25    basis.     The debit memos are just like this, where


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   1    it's presented on a monthly basis.
   2                       I haven't seen any lead-time penalties
   3    itemized in all of the individual parts that create
   4    the lead-time penalty.           Usually, it's just a
   5    one-line item, as you've seen.                And then the
   6    notes -- the descriptions on the payment details,
   7    sometimes they reference the delay for the lead-time
   8    exceedances, rather.
   9          Q.    What's the -- what's Benlida Circuit Board
  10    HK?
  11          A.    I do not know.        I do not know why that
  12    labeling's on this invoice.
  13          Q.    While we're still on this, then, you made
  14    reference to looking at this in a folder that you've
  15    identified as "Lead-time Penalty Support."                   Let's
  16    just pull one of them up.
  17                       We're going to call this -- it's a
  18    spreadsheet.       "BDL Penalty for Lead-Time Exceedance
  19    Report, 11 November 2020."
  20                       MR. ROSENTHAL:        Can I ask you one
  21          favor?    Since we did this, I just was
  22          thinking.     During Mr. Paulikens' deposition
  23          when we pulled -- when the roles were
  24          reversed, when we pulled up documents like
  25          this, you guys would email them to each


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   1         other so we would have them.
   2                       MR. MAZZOLA:        Oh, okay.
   3                       MR. ROSENTHAL:        Can you maybe
   4         work that into this as you go or maybe --
   5                       MR. MAZZOLA:        Oh, yeah.
   6                       MR. ROSENTHAL:        -- Mr. Lerner can
   7         do it.
   8                       MR. LERNER:       The next time we do
   9         a break, we'll just do it.
  10                       MR. ROSENTHAL:        Because I just
  11         realized, how am I going to remember this.
  12         BY MR. MAZZOLA:
  13         Q.     This spreadsheet was prepared by CTX.
  14    Right?
  15         A.     Correct.
  16         Q.     And this is a spreadsheet you would have
  17    looked at in calculating lead-time penalties.
  18         A.     Yes.
  19         Q.     Can you walk me through this?
  20         A.     Yes.
  21         Q.     We're looking at line 6.            Do you see
  22    line 6?
  23         A.     I do.
  24         Q.     11/3/2020.       It's a Layer Account 2, Vendor
  25    ship date per agreement.            It says "12/1/2020."           It


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   1    says "Late."       And its pretty self-explanatory.
   2    22 days late.       And the penalty is $8.52 for that.
   3    Is that correct?
   4         A.     Correct.
   5         Q.     Did you independently verify that this item
   6    was, in fact -- this purchase order was, in fact,
   7    shipped late?
   8         A.     I did not verify the ship date or the item
   9    receipt date.
  10         Q.     So we don't know if it was 22 days late,
  11    two days late, or 42 days late.
  12         A.     I did not test the inputs into the
  13    spreadsheet.
  14         Q.     Okay.
  15                       MR. ROSENTHAL:        For the record
  16         just to be clear, he's on the November 2020
  17         tab.
  18                       MR. MAZZOLA:        Right.
  19         BY MR. MAZZOLA:
  20         Q.     So on the lead-time penalties -- when you
  21    come up with the lead-time penalty number, did you
  22    check any of the -- confirm any of the input?
  23         A.     We are unable to confirm the inputs into
  24    the lead-time penalty calculation.
  25         Q.     So if we go back to -- what was this


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   1    one? -- Exhibit 155, the debit memo that we were
   2    looking at, this has a $32,320.20 number on it.
   3    Right?
   4         A.     That number appears on the screen.
   5         Q.     This would be the same thing.              You were
   6    unable to confirm any of the input data that
   7    comprises this $32,000 debit memo.                Is that correct?
   8         A.     Correct.
   9         Q.     There's a lot of other lead-time penalty
  10    exceedance reports that you're seeing me scroll
  11    through, and I am on Exhibit 151 at the "LTP
  12    Support" folder, and there's multiple Excel
  13    spreadsheet files here.
  14                       If I pulled up one of these
  15    spreadsheets, would your testimony be similar to the
  16    last spreadsheet we looked at insofar as you did not
  17    check any of the input data?
  18         A.     Correct.
  19         Q.     So we're going to pull up another one from
  20    April 2020.
  21                       MR. ROSENTHAL:        This is 157?
  22                       MR. MAZZOLA:        Yes.
  23                       MR. ROSENTHAL:        I'm sorry.       The
  24         lead-time exceedance report from
  25         April 2020?


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   1                       MR. MAZZOLA:        Yes.
   2                       (Deposition Exhibit 157
   3                       marked for identification.)
   4         BY MR. MAZZOLA:
   5         Q.     And that O.       What is that O?         That is the
   6    sum -- right? -- that I'm clicking at?                 That
   7    $2,932.90?
   8                       MR. ROSENTHAL:        I'm sorry.
   9         Column O you're referring to?
  10                       MR. MAZZOLA:        Yeah.
  11         A.     I think the answer to your question is, no.
  12         BY MR. MAZZOLA:
  13         Q.     Okay.
  14         A.     There appears to be too much.              I would --
  15    I'd imagine that if you identified the blue -- if
  16    you aggregated the blue that says "Late," that would
  17    equate to the total.
  18         Q.     How?
  19         A.     Because it appears to be missing some
  20    formula that's been hard-coded that would make it
  21    easier for you to see.
  22                       Because there you've got 15,000, as
  23    opposed to 2,932.         So if you add up the blue lates,
  24    that would likely equate to the 2,932 that you asked
  25    about.


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   1         Q.     Okay.     So for this April 2020 period, what
   2    is the total penalty?
   3         A.     It's likely that 2,932.9.
   4         Q.     So it's not the grand total of column P,
   5    then?
   6         A.     Correct.      Because that appears duplicative.
   7                       You can see how one line item is
   8    broken out into many quantity received, and so I
   9    think that's what's creating the duplication.
  10                       For example, in column E, you can see
  11    that there's a similar purchase order for rows 6
  12    through 11, which total 2,000 parts.                 But you can
  13    see the quantity received is broken out into the
  14    individual receipts.          And so that's likely why
  15    there's a duplication in the penalty, even though it
  16    should only be recorded once.
  17         Q.     The blue should only be -- the only one
  18    recorded.
  19         A.     Correct.      So if you add up those cells
  20    identified in blue that -- and say "Late," that
  21    would likely equate to the 2,932.
  22         Q.     But same testimony on this, the input
  23    wasn't checked.
  24         A.     Correct.
  25         Q.     Of course, the discount matrix doesn't


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   1    change because the discount -- I'm at the tab that
   2    says "Discount Matrix."           Because the discount matrix
   3    is what the discount is based upon numbers of days
   4    late.     Right?
   5         A.     Correct.
   6                       MR. MAZZOLA:        I've got to take a
   7         break.
   8                       (Off record:        2:33 p.m. to 2:43 p.m.)
   9         BY MR. MAZZOLA:
  10         Q.     We are still talking about this document
  11    that was in front of you.
  12                       MR. ROSENTHAL:        And just for the
  13         record, that's 157.
  14         BY MR. MAZZOLA:
  15         Q.     And I think you were explaining that it was
  16    just the blue lines that add up to the penalty.
  17         A.     Correct.
  18                       If you even right-clicked and hit
  19    "filter by color," it would likely equate to that
  20    total.     If you want to do it easily.
  21         Q.     Right click?
  22         A.     Filter by selected color.
  23                       You clicked on the column header.                You
  24    have to pick, for example, P6.
  25         Q.     Okay.     And there's the number right there.


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   1                       MR. ROSENTHAL:        I'm sorry.       Just
   2         so I understand what you're looking at,
   3         Mr. Mazzola.        You're saying the number --
   4                       MR. MAZZOLA:        Yeah.    We clicked
   5         on -- there was a question about there's a
   6         total -- there's a number in bold at that
   7         cell, cell 1-O, and I was trying to
   8         understand the source of that number.
   9                       And Mr. Parisi explained to me
  10         that's the penalty number, and it's the --
  11         the penalty numbers -- the penalties that
  12         are added up that they combined that equal
  13         that are just the blue lines.
  14                       MR. ROSENTHAL:        And the number is
  15         $2,932.90 that you're referring to?
  16                       MR. MAZZOLA:        Yes.    That's the
  17         number.
  18         A.     For this spreadsheet only.             Sometimes
  19    there's not that, you know, quote/unquote,
  20    duplication issue there.            But the math always comes
  21    out correctly.
  22                       (Pause in proceedings.)
  23                       MR. MAZZOLA:        What exhibit are we
  24         up to now?       156?
  25                       MR. ROSENTHAL:        8.


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   1                       MR. MAZZOLA:        Here's another
   2         document that I put up.            Benlida Shipment
   3         and Payment Details.           Let's call this 159
   4         [sic].
   5                       (Deposition Exhibit 158
   6                       marked for identification.)
   7         BY MR. MAZZOLA:
   8         Q.     Have you ever seen this document before?
   9         A.     I have.
  10         Q.     Is this document contained within the
  11    materials that were provided to us?
  12         A.     Yes.
  13                       MR. ROSENTHAL:        And these are the
  14         shipment details with CTX Hong Kong.
  15                       MR. MAZZOLA:        Yes.
  16                       MR. ROSENTHAL:        158.     Correct?      I
  17         think you said 159, JC.
  18                       MR. MAZZOLA:        Okay.    158.
  19         BY MR. MAZZOLA:
  20         Q.     I'm going to try to find the path to it.
  21         A.     Sure.     That would be in the follow-up from
  22    the date data.        Source 3.
  23         Q.     Okay.     So that document is found in the
  24    Expert Report Docs Utilized, Follow-up Benlida.                     And
  25    it's right there.


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   1         A.     It's actually subsumed within the email.                    I
   2    just put the Excel files there for ease of access.
   3         Q.     This document you did review.              Is that
   4    correct?
   5         A.     Correct.
   6         Q.     But you did not review it -- you did not
   7    incorporate this document in your report.                   Correct?
   8         A.     Correct.
   9         Q.     And why did you not incorporate it in your
  10    report?
  11         A.     Because this analysis of transactions
  12    between Circuitronix Hong Kong and Benlida was not
  13    relevant for CTX's counterclaim.
  14         Q.     This document was produced by Benlida.                  Is
  15    that correct?
  16         A.     Correct.
  17         Q.     Do you have a corresponding document of a
  18    similar nature addressing similar invoices that was
  19    prepared by CTX?
  20         A.     We did receive a reconciliation of
  21    Circuitronix Hong Kong transactions in Benlida
  22    prepared by Circuitronix.
  23         Q.     Does it contain the materials here?
  24         A.     I don't believe so.
  25         Q.     As you sit here today, do you see this


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   1    number, this $13.492 million from Benlida?
   2         A.     I do see that number.
   3         Q.     On the CTX reconciliation, do we recall
   4    what number they ended up with?
   5         A.     No.
   6                       I remember there was a significantly
   7    larger gap between this set of transactions.
   8                       And by "this," I mean Circuitronix and
   9    Benlida -- Circuitronix Hong Kong and Benlida.
  10                       The gap in the numbers was much larger
  11    than the gap that we witnessed in the report on -- I
  12    believe it was Table 2, when we talked about those
  13    1 percent differences.           And so the difference was
  14    larger so we did not do anything further as
  15    identified in the report.
  16         Q.     If you look at Exhibit 121.
  17                       MR. ROSENTHAL:        It's the one in
  18         the notebook.
  19         A.     I think it's 3.
  20                       MR. ROSENTHAL:        Yes.     It's this
  21         one.
  22         BY MR. MAZZOLA:
  23         Q.     We looked at this is document earlier.                  I
  24    asked you if you had this document, you said, no.
  25                       But this is an email with the attached


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   1    spreadsheets written by Mr. Kukreja.                 And in that
   2    email, he acknowledges that "We owe Benlida" -- this
   3    is for the Hong Kong operation -- "U.S.
   4    $8.843 million."
   5                       Do you see that?
   6         A.     I see those words.
   7         Q.     As you sit here today, do you recollect --
   8    does this refresh your recollection as to what the
   9    CTX Hong Kong reconciliation number was?
  10         A.     It does not.
  11                       And I just want to be clear.              We had
  12    to do a lot of work to reconcile the CTX, LLC,
  13    transactions and Benlida to really get a good idea
  14    of what we thought that balance was with the
  15    Circuitronix Hong Kong data.             And we just primarily
  16    compiled the data, and we did not go to the same
  17    level as we did with Circuitronix, LLC, and Benlida,
  18    because there's a lot of work involved.
  19                       And, you know, we were going to for a
  20    rebuttal report, but we did not thoroughly determine
  21    where we thought the range lies between for those
  22    sets of parties.
  23         Q.     So you have no recollection, as you sit
  24    here, what the difference was between Benlida's
  25    13.492 million and CTX's number.


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   1         A.     Correct.
   2         Q.     And this document, 121, does not refresh
   3    your recollection that it was rounded out
   4    8.9 million.
   5                       MR. ROSENTHAL:        Object to the
   6         form.
   7         A.     I just want to identify that this document
   8    is dated July 29, 2019.           And the series of emails we
   9    reviewed earlier, which form the foundation for the
  10    analysis, are dated November 2019.                So there was six
  11    months of additional transactions -- or five months
  12    that happened subsequent to this email.                  So this
  13    balance is just a starting point.
  14                       I mean, we saw in the Benlida second
  15    response where a month later, they're still finding
  16    the different payments that Circuitronix forgot
  17    about.
  18                       (Pause in proceedings.)
  19                       MR. ROSENTHAL:        We have some
  20         physical copies of a few of the exhibits,
  21         if you want --
  22                       MR. MAZZOLA:        No.    We don't need
  23         them right now.
  24                       MR. ROSENTHAL:        You don't need
  25         them?     We'll deal with this later.


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   1                       MR. MAZZOLA:        Yeah.
   2          BY MR. MAZZOLA:
   3          Q.     Let's look at another debit memo.               Okay?
   4          A.     Okay.
   5          Q.     This is a debit memo, and I'm going to call
   6    this Exhibit 159.
   7                       (Deposition Exhibit 159
   8                       marked for identification.)
   9          BY MR. MAZZOLA:
  10          Q.     Dated March 21 -- we're calling it 159.
  11    And this is dated 21 March 2016, and it ends in
  12    0321.      And it's also addressed to this
  13    Benlida Hong Kong.
  14                       Do you see that?           Do you know why that
  15    is?
  16          A.     I'm not familiar with that name.               That
  17    variation of the Benlida name.
  18          Q.     And I don't think we've seen this one
  19    before.      But, again, this one is for lead-time
  20    exceedances for POs in November 2015 of $116,512.11.
  21                       Do you see that?
  22          A.     I do.
  23          Q.     Same thing here.        This would be a number
  24    that would have come off the spreadsheets.                   Right?
  25          A.     Correct.     Subject to further refinement.


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   1         Q.     Okay.     But you did not drill down to the
   2    input data.       Is that correct?
   3         A.     We did not verify the input data.
   4                       MR. MAZZOLA:        I'm going to open
   5         up another one.         160.    This one is dated
   6         October 2013.
   7                       (Deposition Exhibit 160
   8                       marked for identification.)
   9         BY MR. MAZZOLA:
  10         Q.     This too is for lead-time penalties.                 Do
  11    you see that?
  12         A.     I see those words.
  13         Q.     $24,749.72.       Right?
  14         A.     I see that number.
  15         Q.     So same thing:        You didn't check the input.
  16    Right?
  17         A.     Correct.
  18         Q.     Who's Sunny K?        Sunny Kapoor.
  19                       Do you know that name?
  20         A.     I do.
  21         Q.     Did you read any emails from him?
  22         A.     Not that I recall.
  23         Q.     Did you ever speak to Mr. Kapoor?
  24         A.     I don't recall meeting him.
  25         Q.     Do you know where he works?


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   1         A.     I do not.
   2                       (Deposition Exhibit 161
   3                       marked for identification.)
   4         BY MR. MAZZOLA:
   5         Q.     I'm going to pull one more up.               161 is this
   6    is exhibit number.         It's dated September 12th, 2014.
   7    The debit memo number ends in 520.                And this is a
   8    $39,911.17.
   9                       This is a lead time as well.              Right?
  10         A.     Lead-time exceedances of March 2014 U.S.
  11    purchase orders.
  12         Q.     Did any of the debit memos that you
  13    judgmentally select relate to anything other than
  14    lead-time penalties?
  15         A.     Yes.
  16         Q.     They did.      Because I have the 11 over here.
  17    I think I pulled up four or five now.
  18                       Is there a way for you to quickly tell
  19    me that?
  20         A.     If you look at where it discusses this in
  21    the report.       Here we go.
  22                       Looking at paragraph 24, it says of
  23    these 11 debit memos, 9 were to due to lead-time
  24    exceedances, which explains the luck of your
  25    selection.      One was due to late delivery, and one


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   1    was due to product quality.             So if we --
   2         Q.     If we went through them all, we'd find the
   3    other ones.
   4         A.     Yeah.
   5         Q.     My sidekick suggested a question.
   6                       What is the difference between a late
   7    delivery and lead-time penalty?
   8         A.     A late delivery and a lead-time penalty ...
   9                       I don't know specifically.
  10         Q.     And one debit memo was due to product
  11    quality.
  12                       With respect to the debit memo that was
  13    due to product quality, did you review -- dig down on
  14    that and review what the quality issue was?
  15         A.     Not that I recall.
  16         Q.     Why do you make a distinction between
  17    lead-time penalties after January 2016?                  This is on
  18    page 12 of your report.
  19         A.     Did you complete your question?
  20         Q.     Yes.
  21                       MR. ROSENTHAL:        I didn't
  22         understand it.        Sorry.
  23         A.     I wasn't -- I thought you were flipping --
  24         BY MR. MAZZOLA:
  25         Q.     Why do you make a distinction regarding


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   1    lead-time penalties after January 2016?                  You have a
   2    heading there.
   3         A.     So as identified in paragraph 30, until
   4    January 2016, the debit memos were included -- or
   5    the lead-time penalties were included in debit
   6    memos.
   7         Q.     And after that, they were included -- they
   8    were done separately.           Is that right?
   9         A.     Correct.
  10         Q.     Did you review the lead-time penalties that
  11    were done after January 2016?
  12         A.     Yes.
  13                       You and I reviewed them as well
  14    earlier.
  15         Q.     Okay.     So that discussion, we had included
  16    all the lead-time penalties.
  17         A.     No.    That was just one month.            The
  18    spreadsheets are individual.             The spreadsheet
  19    doesn't include all of them, the combination of all
  20    of the spreadsheets.          So I'm just trying to say,
  21    this is one month.         Right?      You'd have to add all
  22    the months.
  23                       So I just don't want it -- to make it
  24    seem like I testified there was one master
  25    spreadsheet provided.


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   1                       (Deposition Exhibit 156
   2                       marked for identification.)
   3         BY MR. MAZZOLA:
   4         Q.     So we're looking at a spreadsheet from
   5    November 2020.        This is BLD Penalty for Lead-Time
   6    Exceedances, November 2020, which was Exhibit 156.
   7                       This is an example of a lead-time
   8    penalty report that would have been utilized after
   9    January 2016.
  10         A.     Correct.
  11         Q.     Same thing over here.             If you look at
  12    line 6, column O, for 22 days late.                And you never
  13    had the -- you never did examine if there was
  14    20 days late, two days late, or 42 days late.
  15    Right?
  16         A.     We didn't test the inputs, to be clear --
  17         Q.     You never tested it; you just accepted the
  18    number.
  19                       Let's look at your Table 6 on page 13.
  20    This is your lead-time penalty analysis.                  Is that
  21    correct?
  22         A.     This is a compilation.
  23         Q.     And so the $3.107 million is the number you
  24    used for your calculations going forward.                   Is that
  25    correct?


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   1         A.     Correct.
   2         Q.     And on page 14, this is, I suspect, what
   3    you call your final reconciliation.
   4         A.     I call this the summary of payable
   5    reconciliation between CTX and Benlida.
   6         Q.     And you put that together by having a
   7    payment number, an invoice number, and a debit memo
   8    number.     Is that right?
   9         A.     When you say "that," what you just
  10    described is the components of the balance through
  11    July 2019.
  12         Q.     Can you walk me through the math here?
  13                       How do you come up with the
  14    $7.868 million?
  15         A.     Sure.
  16                       $4,760,000 plus $3,107,000 equates to
  17    7,868,000.
  18         Q.     So the $4,760,000, is the number that's per
  19    CTX.    Is that right?
  20         A.     I wouldn't necessarily say per CTX.                 That's
  21    a result of using the CTX calculation as the basis,
  22    and then subject to the adjustments we made as
  23    identified in the report.
  24         Q.     Well -- so let's look at payments from
  25    Table 2.


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   1         A.     Sure.
   2         Q.     And your Table 2 was on ...
   3         A.     Page 8.
   4         Q.     Page 8.
   5                       You're using the 67,623.56 number,
   6    which comes out of there.            Right?
   7         A.     Correct.
   8                       So with that number, for example,
   9    CTX's pure number would be the 67,728.                 But from
  10    there, we deducted this decoration fee and the
  11    1 millimeter tin line fee, which results in the
  12    67,623,000 number we just discussed.
  13         Q.     Okay.     So you started with CTX's number per
  14    their recon table of 67.728 million.                 Right?
  15         A.     Well, we -- yes.         Correct.
  16         Q.     And then you reduced it based upon the
  17    decoration fee and the immersion tin line item.
  18         A.     Correct.
  19         Q.     Your invoice number, you got that from
  20    Table 3.      Right?
  21         A.     So Table 3 identifies the differences of
  22    the 662,000 and breaks that amount into the
  23    components.
  24                       And so the concurring invoices, the
  25    difference is in invoice amount and in just invoices


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   1    that are absent from the reconciliations.
   2         Q.     Okay.     And in this instance, you used the
   3    CTX number, the 65.176 million.               Right?
   4         A.     Correct.
   5         Q.     And then the debit memos, you used the
   6    2.313 number.       And that's from your Table 5.
   7         A.     Correct.      Which is the debit memos per the
   8    CTX reconciliation adjusted for some those meeting
   9    minutes.
  10         Q.     And the CTX number is -- it's significantly
  11    higher.     It's $430,000 greater.            Right?
  12         A.     Correct.      Approximately.
  13         Q.     On this Table 7, one of those numbers
  14    doesn't look right.          What number is that?           That's --
  15    there's 97,824.
  16                       MR. ROSENTHAL:        It's not 824.
  17                       Do you mean 284?
  18                       MR. MAZZOLA:        284.    I beg your
  19         pardon.      Yep.
  20         A.     Correct.      There is a mathematical -- the
  21    formula is not correct, and the number -- the
  22    difference should be ...
  23         BY MR. MAZZOLA:
  24         Q.     Is it 432?       470?    Closer to that?
  25         A.     Yes.    Correct.


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   1                       But that -- that issue identified in
   2    Table 7, it just impacts this difference column.                      It
   3    doesn't impact any of the actual numbers presented
   4    elsewhere in the report or flow through to anything
   5    else.
   6         Q.     So the difference would have gone up to
   7    1.13.     Right?
   8         A.     It would have increased.            I didn't crunch
   9    the math, but approximately --
  10         Q.     By about $400,000, so it's over $1 million,
  11    then.
  12         A.     Yeah.     It would be over $1 million.
  13    Correct.
  14         Q.     So that 747 difference should be 1 million,
  15    1,000,001?
  16         A.     Correct.
  17         Q.     Why do you say that difference doesn't
  18    affect anything?
  19         A.     So that number here, whatever, 747 or the
  20    million dollars, it just stops here.                 It doesn't
  21    flow into anywhere else.            This is just a calculation
  22    of the difference of the components as identified in
  23    the report.
  24         Q.     And then so you come up with this amount
  25    owed by Benlida to Circuitronix U.S. of 7.868


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   1    million.
   2         A.     Correct.
   3         Q.     And this brings us back to full circle
   4    before.     As an accountant -- forensic accountant --
   5    and it sounds like you used to do audits.                   Right?
   6         A.     No.
   7         Q.     What did you do that said -- it was
   8    internal audits.         Okay.
   9         A.     Not as fun as a regular audit.
  10         Q.     Not as fun as a regular audit.
  11                       As an internal auditor, if you were
  12    working for a company and you saw that they were --
  13    seemingly were overpaying a vendor nearly $8 million,
  14    would that seem normal to you?
  15         A.     It depends on the facts and circumstances
  16    of the relationship.
  17         Q.     Okay.     But is it normal, or it just
  18    depends?
  19                       MR. ROSENTHAL:        Object to the
  20         form.
  21         A.     There could be reasons -- a lot of reasons
  22    for it happening, the overpayment specifically.
  23                       For example, I've seen emails where
  24    Benlida needed money so they were redirecting
  25    payments.      And it could happen -- the overpayments


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   1    could happen for a host of reasons.
   2         Q.     Do you think maybe Benlida was hungry for
   3    money?     Because we saw in this Exhibit 121 -- you
   4    can look at that.         121.
   5                       Rishi, by his own admission, states
   6    that the Hong Kong entity owed Benlida $8.84 million.
   7    Do you think that's maybe why Benlida was hungry for
   8    money.
   9         A.     The balance could have an impact on
  10    Benlida's cash flow.
  11         Q.     That balance.        Right?
  12         A.     Yes.    If it's accurate.
  13         Q.     Do you have any reason to believe Rishi's
  14    number here is not accurate on 121?
  15         A.     Which number are you referring to?
  16         Q.     The $8.8 million.
  17         A.     Yes.
  18         Q.     Why do you say that?
  19         A.     Well, you previously showed me in the
  20    Circuitronix Hong -- or Circuitronix Hong Kong and
  21    Benlida reconciliation, which had a different
  22    number, so -- with a large disparity.                 So I don't
  23    know, sitting here, who's correct.
  24                       And I also want to point out that this
  25    email is dated July.          And then we saw


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   1    reconciliations, even by Benlida, occurring all the
   2    way through November.           So even at this point in
   3    time, these numbers aren't firm yet.
   4         Q.     Do you know the date of this document?
   5                       MR. ROSENTHAL:        Which one?
   6                       MR. MAZZOLA:        Exhibit 158, the
   7         Benlida shipment and payment details.
   8                       MR. ROSENTHAL:        CTX HK?
   9                       MR. MAZZOLA:        Yep.
  10         BY MR. MAZZOLA:
  11         Q.     It does go as far as 2019.             Do you see
  12    that?
  13         A.     This goes through -- this analysis
  14    specifically goes through July 2019.                 And I want to
  15    say it was included in the transmittal email from
  16    Benlida to Circuitronix, LLC, on or about
  17    November 19, 2019.
  18         Q.     Did CTX respond to this and produce their
  19    own reconciliation, if you know?
  20         A.     I do not know.        I don't believe so.
  21         Q.     Do you have Exhibit 27 in front of you?
  22         A.     I can.
  23         Q.     Yeah.     Please.
  24         A.     All righty.       Ready when you are.
  25         Q.     Have you ever seen this document?                It's


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   1    called a business authorization.
   2         A.     I'm not familiar with this document.
   3         Q.     It's short enough for you to look at.                  Do
   4    you see where it says, "For purposes of our
   5    company's business"?
   6         A.     I see those words.
   7         Q.     If you had been provided with this document
   8    during your analysis, would you have thought to
   9    consider that the Hong Kong entity is a related
  10    party to the U.S. entity?
  11         A.     They could be related parties.
  12         Q.     Did you ever see ...
  13                       MR. ROSENTHAL:        Can we go off the
  14         record for a second?
  15                       MR. MAZZOLA:        Yeah.
  16                       (Discussion off the record.)
  17                       (Deposition Exhibit 162
  18                       marked for identification.)
  19         BY MR. MAZZOLA:
  20         Q.     I'm going to hand you over a document,
  21    which we've marked as 162.
  22                       MR. MAZZOLA:        And I don't know,
  23         Stephen, if you've seen this before.
  24                       MR. ROSENTHAL:        I don't think so.
  25         Did you guys produce this thing?


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   1                       MR. MAZZOLA:        We just saw it the
   2         other day.
   3                       MR. ROSENTHAL:        Okay.
   4         BY MR. MAZZOLA:
   5         Q.     This is a document we've marked as 162 --
   6                       MR. ROSENTHAL:        So let me just
   7         interpose an objection for the record,
   8         since I haven't even had a chance to look
   9         at it.     But if it hasn't been produced in
  10         discovery, I object to your asking him
  11         questions about it.
  12                       But having preserved that, go
  13         ahead.
  14                       MR. MAZZOLA:        Okay.    We think it
  15         came from you guys, or it's your people on
  16         some level.       To be determined.
  17         BY MR. MAZZOLA:
  18         Q.     Mr. Parisi, you haven't seen this document,
  19    so I'm not expecting you to take it from the
  20    blindside.      So take your time looking at it.
  21                       (Document review.)
  22         BY MR. MAZZOLA:
  23         Q.     You haven't seen it before, so I just want
  24    to ask you.       Attached to this email, dated
  25    August 18th, 2022, the email is from a person named


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   1    Charlene at Jules Jiu.           And they're a -- they
   2    purport to be the auditor for
   3    Circuitronix Hong Kong.           Do you see that?
   4          A.    It appears to be that.            Yes.
   5          Q.    And then in the next two pages, they've
   6    attached a confirmation for audit purposes.
   7          A.    I see those words.
   8          Q.    And these are addressed to ROK in the first
   9    instance and Benlida in the second instance.                    Do you
  10    see that?
  11          A.    I see the words "ROK" on page 2 and
  12    "Benlida" on page 3.
  13          Q.    And, I guess, what I'm interested in is,
  14    what is the auditor trying to suggest when they say
  15    "Due to you, Hong Kong dollars, 52,287,000?
  16                       MR. ROSENTHAL:        Object to the
  17          form.
  18          A.    I don't know.        I'd have to --
  19          BY MR. MAZZOLA:
  20          Q.    What do you understand that to mean?
  21                       MR. ROSENTHAL:        Object to the
  22          form.
  23          A.    -- I'd have to look at the whole document
  24    in context.
  25    \\\


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   1         BY MR. MAZZOLA:
   2         Q.     If you had seen this document as part of
   3    your preparations, and preparation of the report,
   4    would this have had any bearing on any of your
   5    discussions, thoughts, or opinions?
   6                       MR. ROSENTHAL:        Objection.
   7         Foundation.
   8         A.     I don't believe so.
   9                       (Deposition Exhibit 163
  10                       marked for identification.)
  11                       MR. MAZZOLA:        This is another
  12         document, Exhibit 163.            Similar in nature
  13         to the last document.           It's an email from
  14         the same person, Charlene.               It's dated
  15         July 24th, 2013.
  16                       So this I can assure,
  17         Mr. Rosenthal, I have never seen before two
  18         days ago.
  19                       MR. ROSENTHAL:        Same objection to
  20         the line of questioning.
  21         BY MR. MAZZOLA:
  22         Q.     This is a similar document to the one you
  23    just looked at before.           Again, it's prepared by a
  24    certified public accountant.             And it says
  25    "Confirmation for Audit Purposes," and it's


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   1    addressed to Benlida.
   2                       Do you see where it says "due to you"?
   3         A.     I don't see those words.
   4                       Where are you looking?
   5         Q.     I beg your pardon.          On the attachment.
   6         A.     Are you on page 2 or 3?
   7         Q.     Page 3.
   8         A.     Page 3.
   9         Q.     Do you see where it says that "Due to you,"
  10    it's got Hong Kong dollar, 52,593,000?
  11         A.     I see "Due to you" on the page and
  12    HKD 52 million.
  13         Q.     In your professional experience, is this an
  14    indication by Circuitronix Hong Kong's auditors that
  15    Circuitronix Hong Kong, at least by their numbers,
  16    believes that they owe Benlida somewhere in the
  17    order of 52.5 million Hong Kong dollars?
  18         A.     I'm not sure.        This is the first time I've
  19    seen this document.
  20                       (Document review.)
  21         A.     I'm not sure.
  22         BY MR. MAZZOLA:
  23         Q.     That's your answer?          "I'm not sure"?
  24         A.     This document's a little confusing, because
  25    it says "due to you" and it's regarding


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   1    Circuitronix Hong Kong.           I don't know if there's a
   2    translation issue.
   3         Q.     Okay.     You know who it's addressed to.
   4    Right?
   5         A.     To Benlida.       It says "to Benlida."
   6         Q.     And then it has a column that says, "due
   7    from you."      Right?
   8         A.     Yes.    I see those words on the page.
   9         Q.     And then there's a column that says "due to
  10    you"?
  11         A.     Correct.      I see those words.
  12         Q.     I'm just asking, in your professional
  13    experience, having dealt with certified public
  14    accountants, auditors, and the like, would the
  15    recipient of this believe -- Benlida,
  16    hypothetically -- that Circuitronix Hong Kong
  17    believes that they owe Benlida 52.59 million Hong
  18    Kong dollars?
  19                       MR. ROSENTHAL:        Object to form.
  20         A.     So this is Benlida's records, not
  21    Circuitronix Hong Kong, I believe -- or no.
  22                       I'm not sure.
  23         BY MR. MAZZOLA:
  24         Q.     Well, if you read the cover email, it says,
  25    "We are the auditor of Circuitronix Hong Kong."


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   1         A.     Okay.
   2         Q.     Do you see where it says that?
   3         A.     I do see that on the first page.
   4         Q.     Does that lead you to believe that the
   5    attachment is based upon the records that are being
   6    held by Circuitronix Hong Kong?
   7         A.     It appears that way.
   8         Q.     So with that, if you were the recipient of
   9    this at Benlida, would it be reasonable, from an
  10    accounting perspective, for them to conclude that
  11    Circuitronix Hong Kong -- at least their auditors
  12    and accountants -- believed that Benlida is owed
  13    $52.59 million from Circuitronix Hong Kong?
  14                       MR. LERNER:       HK dollars.
  15                       MR. MAZZOLA:        HK dollars.
  16         Hong Kong dollars.
  17         A.     It appears to be trying to confirm a
  18    balance.
  19         BY MR. MAZZOLA:
  20         Q.     And if you received this and you were
  21    Benlida, based upon all you know about accounting
  22    and auditing, would it be reasonable for Benlida to
  23    believe that Circuitronix Hong Kong believes that
  24    they owe Benlida $52.59 million Hong Kong dollars?
  25         A.     It appears that way.


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   1         Q.     Who is Siddharth Gusain?
   2         A.     Where do you see that name?
   3         Q.     It's on the email page from Charlene.
   4         A.     I'm not familiar.
   5                       MR. MAZZOLA:        Give me one second.
   6         And we can go off the record.
   7                       (Discussion off the record.)
   8         BY MR. MAZZOLA:
   9         Q.     If you had seen these documents, 163 and
  10    164 ...
  11         A.     I think you mean 162 and 163?
  12         Q.     Yes.    162 and 163.
  13                       ... would that have any bearing on your
  14    thoughts about whether the Hong Kong entity and the
  15    U.S. entity are related parties?
  16         A.     So these documents don't change my opinion
  17    as relates to Circuitronix, LLC's, counterclaim.
  18         Q.     Okay.     And the question was, does this have
  19    any bearing on your thinking or thoughts
  20    regarding -- professional thoughts, whether or not
  21    the Hong Kong entity and the U.S. entity are related
  22    parties for accounting purposes?
  23                       MR. ROSENTHAL:        Objection.       Form.
  24         A.     They could be related, but they're separate
  25    entities.


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   1         BY MR. MAZZOLA:
   2         Q.     But for accounting purposes.
   3         A.     I don't know -- when you keep saying
   4    "related parties for accounting purposes" --
   5    right? -- I'm not aware of any formula that you put
   6    in these pieces and out pops an independent variable
   7    based on the dependent variables in the components
   8    you described.        Right?
   9                       So they could be related parties, but
  10    separate companies.          Similarly, I could have
  11    multiple companies, and they'd be separate
  12    companies.
  13         Q.     But when you -- from an accounting
  14    perspective, you need to consider the -- from an
  15    accounting perspective, you need to consider the
  16    numbers -- the dollars and cents of related parties
  17    to get the whole picture.            Isn't that correct?
  18         A.     It depends on the context.
  19         Q.     Well, in the context where one entity has
  20    agreed to pay the debts of another.                Is that
  21    something you where would consider them related
  22    parties?
  23         A.     Which -- what are you referring to
  24    specifically?
  25         Q.     Well, if the U.S. operation was paying the


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   1    debts of the Hong Kong entity, would that be
   2    something you would want to know?
   3         A.     It depends on the facts and circumstances.
   4         Q.     Well, what if it's just as simple as that?
   5                       There's proof and evidence in this case
   6    that the U.S. entity was paying the debts of the
   7    Hong Kong entity.         Would that have any bearing as to
   8    whether or not the two entities are related parties,
   9    and from a professional accounting perspective, you
  10    need to look at both of them collectively to come up
  11    with a true number.
  12         A.     I'm not sure if I'm following you.
  13                       If I took Stephen out to lunch and he
  14    asked me to pay, you know, for food, I don't know if
  15    that would make me responsible for his debts.
  16         Q.     No.    You guys aren't related in any
  17    respect.
  18         A.     Okay.     If it was my mom, would the answer
  19    be different?
  20         Q.     No.    But if it was two separate
  21    companies -- purportedly, two separate companies.
  22                       They have the same ownership, same
  23    control.      One entity has agreed in writing to pay the
  24    debts of the other, would that have any bearing on
  25    your analysis?


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   1         A.     I don't know that they have the same
   2    ownership and same control.
   3         Q.     Let's -- let me ask you another question.
   4                       You did have the Exhibit 21 in front of
   5    you.    That was the manufacturing agreement.
   6         A.     One second, please.
   7                       MR. ROSENTHAL:        Do you want him
   8         to pull it up?
   9                       MR. MAZZOLA:        Yeah.    Yeah.
  10         A.     Okay.
  11         BY MR. MAZZOLA:
  12         Q.     This document, you did see.              Right?
  13         A.     Yes.
  14         Q.     Let me ask you a question.             Regarding 162
  15    and 163, those audit reports -- you don't have to
  16    look at them.
  17                       In your opinion, can you think of any
  18    reason why the U.S. entity -- or why any entity would
  19    agree to overpay someone to the tune of $8 million
  20    and then agree to pay them another $8 million?
  21         A.     So they're separate entities.              Right?      We
  22    all agree that Benlida tracked the records of
  23    Circuitronix, LLC, and Hong Kong separately, as did
  24    Circuitronix.
  25                       I know the overpayment seems large,


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   1    you know, in terms of me and you dollars.                   But when
   2    you consider the relative size of the transactions
   3    between Circuitronix, LLC, and Benlida, that
   4    overpayment only equates to a few months' worth of
   5    invoices.
   6                       So while the amount in absolute terms
   7    may be large, you know, on a relative basis
   8    considering the volume, those transactions would get
   9    absorbed quite quickly.
  10         Q.     If they continued to do business.
  11         A.     If they continued to do business.
  12         Q.     Let's look at the manufacturing agreement.
  13    There's a --
  14         A.     And that's 21.        Correct?
  15         Q.     Yeah.
  16                       On page 10 of the manufacturing
  17    agreement, there's a list of customers -- potential
  18    customers and Circuitronix customers.
  19         A.     What paragraph are you looking at?
  20         Q.     Just page 10.
  21         A.     Page 10.
  22         Q.     Page 10.
  23         A.     Okay.     I'm on page 10.
  24         Q.     Do you understand that these customers that
  25    are identified here were identified as exclusive


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   1    customers of CTX, the U.S. operation?
   2         A.     I do not remember those words specifically.
   3    I see these customer names on here, but I have not
   4    specifically -- I don't remember this whole
   5    manufacturing agreement to comment on it.
   6         Q.     If I tell you to assume that they are
   7    exclusive customers and that the Hong Kong entity
   8    was issued purchase orders for these exclusive
   9    customers, would that have any bearing upon your
  10    thoughts about whether or not the Hong Kong entity
  11    and the U.S. entity are related parties from an
  12    accounting perspective?
  13         A.     You keep saying "from an accounting
  14    perspective."       They're --
  15         Q.     It's an accounting term, isn't it?
  16         A.     When I think of related parties, what I
  17    think of is -- I come from a bankruptcy world.
  18    Right?     Or primarily a bankruptcy world.
  19                       So when you say "related parties," I
  20    think of the context of bankruptcy.                Right?
  21                       Joe is the CEO of this company.               Are
  22    his related entities, you know, getting paid money
  23    that he also owns.         Those companies could be
  24    separate.      But that's really the context that I
  25    think of it in.


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   1         Q.     Okay.     So --
   2         A.     Whether it's common ownership, you know,
   3    between the two parties or it's his --
   4         Q.     So --
   5         A.     -- company that he's --
   6                       Go ahead.
   7         Q.     This common ownership is one of the things
   8    you looked at to identify related parties.                   Is that
   9    correct?
  10         A.     You keep saying "identify related parties."
  11    Right?     I don't know -- there's no formula that you
  12    put these independent variables into and out pops a
  13    dependent that I -- so I'm a little confused --
  14         Q.     I understand --
  15         A.     -- on your line of questioning.
  16         Q.     -- I understand.
  17                       Accounting is as much an art as it is a
  18    science.      I understand that.
  19                       When you -- to do a full picture, a
  20    full forensic accounting picture in an instance such
  21    as this, my question is, do you think it's important
  22    to look at the related parities if two companies are
  23    related with each other.
  24                       One has a debit, and one has a credit.
  25    To get the full picture, do you think it makes sense


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   1    to look at them both together?
   2         A.     For Circuitronix, LLC's, counterclaim?
   3         Q.     The whole claim.
   4         A.     For your claim.         For the plaintiff's claim.
   5         Q.     Well, from Circuitronix's counterclaim.                   Do
   6    you think it's important to do that?
   7         A.     Do I think it's important to consider
   8    entities outside of the counterclaim for purposes of
   9    the counterclaim?
  10         Q.     My question is this:
  11                       If you're going to do a full picture of
  12    the debts and obligations between two parties, do you
  13    think it makes sense to look at debts and obligations
  14    between related parties?            Debts and obligations of
  15    all the parties.
  16         A.     So just to be clear, your question is if
  17    I'm looking at the debts between two parties, should
  18    I consider more than those two parties.
  19         Q.     I guess I should rephrase it this way.
  20                       You never looked at, examined, or
  21    evaluated obligations that Benlida claims CTX owes --
  22    isn't that correct? -- for purposes of your report.
  23                       MR. ROSENTHAL:        Object to the
  24         form.
  25         A.     So our report looks at the CTX, LLC, and


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   1    Benlida transactions.
   2         BY MR. MAZZOLA:
   3         Q.     Just the CTX U.S. and Benlida transactions.
   4    It does not look at the CTX Hong Kong and Benlida
   5    transactions.       Isn't that correct?
   6         A.     Correct.      As they were not identified in
   7    the counterclaim.
   8         Q.     Okay.     And now what I'm asking you is if
   9    CTX Hong Kong is a related party to the U.S.
  10    operation, do you think it would have been prudent
  11    to look at those transactions, assuming that it is a
  12    related party.        Let's do it that way.
  13         A.     As the plaintiff's expert or for the
  14    counterclaim?
  15         Q.     However you want to do it.
  16                       As for the counterclaim.
  17         A.     I do not believe -- you know, as we
  18    discussed earlier, you said there's two parties in
  19    the counterclaim.         Are other parties' debts, or
  20    potential debts, besides these two parties, relevant
  21    for these two parties' balance.
  22         Q.     And you know that my clients, in their
  23    complaint, are suing CTX, LLC, the U.S. operation,
  24    for invoices that they issued to the Hong Kong
  25    entity.     You know that because you read the


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   1    complaint.
   2         A.     Is that a question?
   3         Q.     Yes.
   4                       Do you know that to be true?
   5         A.     I thought you said "you know that" because
   6    I read the complaint.
   7         Q.     Yes.
   8         A.     Yes.    I'm aware that Benlida is trying to
   9    recover Circuitronix Hong Kong invoices from
  10    Circuitronix, LLC, on the complaint.
  11         Q.     And if, at the end of the day, it turns out
  12    that the U.S. -- CTX U.S. owes the debts of
  13    CTX Hong Kong, does that make your report valueless?
  14         A.     No.    Not at all.
  15         Q.     Why not?
  16         A.     Well, there is -- there would be two
  17    components.       Right?     There's still the Circuitronix,
  18    LLC, balance with Benlida, which would be one
  19    component.      And then if liability was determined, as
  20    you described, then the balance of the debt due to
  21    Hong Kong would potentially be included in that
  22    amount.
  23         Q.     It would be included how?             As an offset?
  24         A.     I don't know.
  25                       I would have loved to see, you know,


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   1    an affirmative report by the plaintiff that laid out
   2    all these legal theories to rebut.                But
   3    unfortunately, for whatever reason, an affirmative
   4    report wasn't issued.
   5         Q.     And if that was the case, you would then
   6    have to consider the relationship between the U.S.
   7    operation and the Hong Kong operation.
   8         A.     Among other items, absolutely.               There's
   9    many items you would have to consider in evaluating
  10    the facts and circumstances.
  11         Q.     So back to this document over here.                 I
  12    guess, the question was -- I'm asking you to assume
  13    that these were exclusive customers of the U.S.
  14    operation, and if the fact that the Hong Kong entity
  15    is selling to these exclusive customers, does that
  16    have any bearing in your mind as to whether the
  17    Hong Kong entity and the U.S. entity are related
  18    parties.
  19                       MR. ROSENTHAL:        Object to the
  20         form.
  21         A.     I don't know the answer to that question.
  22         BY MR. MAZZOLA:
  23         Q.     What about ...
  24                       (Pause in proceedings.)
  25                       MR. MAZZOLA:        I'm frozen up a


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   1         little bit here.
   2         BY MR. MAZZOLA:
   3         Q.     How about this:         Do you consider the issue
   4    of whether the U.S. operation owes Benlida for the
   5    debts of the Hong Kong operation to be an issue of
   6    law or accounting?
   7         A.     Law.
   8         Q.     And if it's an issue of law, then why would
   9    you be looking for something like that from our
  10    accountant?
  11         A.     I don't understand your question.
  12         Q.     Well, I just asked you is the -- is the
  13    question about whether or not the U.S. operation
  14    owes the debts of the Hong Kong operation an issue
  15    of law or accounting.           Right?        And I think you said
  16    it was a question of law.
  17                       And before I got hung up on this
  18    computer, you were saying you would have loved to
  19    have seen something like that from our accountant
  20    talking about the obligations and the debts of the
  21    Hong Kong operation.
  22                       So why -- why would you have expected
  23    to see that from our accountants if it's a question
  24    of law?
  25                       MR. ROSENTHAL:        Object to the


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   1         form.
   2         A.     I'm confused.        We were retained by the
   3    defendant.      What you're presenting seems to be the
   4    plaintiff's position.           Right?
   5                       So if we did the work, then the
   6    defendant would be paying for the plaintiff's
   7    accounting work.         Right?
   8         BY MR. MAZZOLA:
   9         Q.     If it's -- the question was, do you
  10    consider the fact that the U.S. operation is paying
  11    the debts of the Hong Kong operation to be an
  12    accounting question or a legal question.                  And I
  13    think your response was you said it was a legal
  14    question.
  15                       MR. ROSENTHAL:        Object to the
  16         form.
  17         A.     I haven't seen evidence of the -- of
  18    Circuitronix, LLC, paying the debts of the Hong Kong
  19    entity.
  20         BY MR. MAZZOLA:
  21         Q.     Would that have any bearing on your
  22    opinions?
  23         A.     It could.
  24                       If a payment out of Circuitronix, LLC,
  25    was really a payment for the benefit of Circuitronix


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   1    Hong Kong, we'd want to make sure that payment was
   2    in the proper category.
   3                       Similarly, when we talked about
   4    payment differences, there was one payment that was
   5    due to Benlida for OSP that Benlida directed be paid
   6    to ROK, but we still put it in the Benlida ledger
   7    accordingly, based on that same fact pattern you
   8    just described.
   9                       MR. MAZZOLA:        My computer is
  10         frozen.
  11         A.     You know the plights of being an
  12    accountant, now.         This is what I deal with all the
  13    time.
  14                       (Pause in proceedings.)
  15                       MR. MAZZOLA:        I'm going to take a
  16         break.
  17                       (Off record:        3:43 p.m. to 3:53 p.m.)
  18         BY MR. MAZZOLA:
  19         Q.     I want to pull up a document.              Now, this is
  20    called "Payment Schedule for ROK U.S. HK Payment
  21    Detail Reconciliation 2012 to 2018."                 This was
  22    previously marked at Rishi's deposition, so it was a
  23    recently disclosed document.
  24                       MR. ROSENTHAL:        Let me see if I
  25         can tell you the number.


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   1                       MR. MAZZOLA:        And we put
   2         everything on OneDrive, and I didn't want
   3         to take this one out.           I'm feeling it was a
   4         40-something.
   5                       MR. ROSENTHAL:        That far back?
   6                       MR. MAZZOLA:        No.    140-something.
   7                       MR. ROSENTHAL:        Oh.    Okay.
   8                       (Pause in proceedings.)
   9         BY MR. MAZZOLA:
  10         Q.     So this is a document we put in front of
  11    you.    We previously marked this document as
  12    Exhibit 140.
  13                       Have you seen this document before?
  14         A.     Yes.
  15         Q.     Was it included in the documents that you
  16    reviewed?
  17         A.     We received this document, but it wasn't
  18    relevant for the CTX, LLC, counterclaim.
  19         Q.     So you didn't review it?
  20         A.     Not in conjunction with the counterclaim
  21    report.
  22         Q.     Did you -- not in conjunction with the
  23    report you prepared.
  24         A.     I've seen the spreadsheet.
  25         Q.     Okay.     So you did -- you did have this


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   1    document.
   2         A.     Correct.
   3         Q.     So the documents that were produced to us
   4    that we looked at earlier -- and I'm bringing up
   5    this -- this is 151.
   6                       These are just the documents that you
   7    used and incorporated into your report, 147.
   8    Exhibit 147.       Is that what you're saying?
   9         A.     Primarily.
  10         Q.     Primarily.       So there's a set of other
  11    documents that you did review that you did not use
  12    in your report?
  13         A.     Correct.
  14         Q.     Because before we took the break, we were
  15    talking about this related-party issue, and you said
  16    to me if you saw evidence of the U.S. operation
  17    paying the debts of the Hong Kong operation, that
  18    would be something that would be important and that
  19    you would consider in evaluating whether the U.S.
  20    operation and the Hong Kong operation are related
  21    parties.      Do you remember that?
  22                       MR. ROSENTHAL:        Object to the
  23         form.
  24         A.     So you keep going back to this related
  25    parties.      They could be related, but they're still


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   1    separate entities, and they track the transactions
   2    separately.
   3                       So if I had two businesses, you could
   4    argue that they were related parties.                 But if they
   5    were maintained separately, then that's a separate
   6    issue.     So I'm not -- you keep going back to this --
   7         BY MR. MAZZOLA:
   8         Q.     Okay.     I --
   9         A.     -- related party.
  10         Q.     The great thing is, is this nice lady is
  11    writing everything down.            Okay?     That's what I
  12    thought your answer was.
  13                       I thought you had said earlier, If I
  14    saw proof that the U.S. entity was paying the debts
  15    of the Hong Kong entity, that would have been
  16    important for me to know, and it would have had
  17    bearing as to whether or not the U.S. entity and
  18    Hong Kong entity are related for accounting purposes.
  19         A.     I think you're mischaracterizing my
  20    testimony --
  21         Q.     I may be --
  22         A.     -- because I recall I specifically told you
  23    that it would matter which payment was in the
  24    ledger.     And I specifically recall we talked about
  25    that OSP example in my report where Benlida wanted


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   1    one payment directed to ROK instead for the OSP
   2    payment.      And I said it would matter which ledger
   3    that transaction was recorded in to make sure, one,
   4    there was no duplication and, two, to make sure it
   5    was in the appropriate balance.
   6         Q.     It's okay with me.          This lady's writing it
   7    all down, and I trust that she's getting it all
   8    down.
   9                       So I want to look at -- so this
  10    document that I just put up in front you, which we
  11    had previously marked as Exhibit 140, this payment
  12    schedule for ROK U.S. HK, you did see this.                   This was
  13    in your -- the material you had, though it wasn't
  14    disclosed to us that the document had -- that you
  15    used for your report.           That's correct?
  16         A.     We had been provided this document
  17    previously.
  18         Q.     If we look at -- do you know what this
  19    document tells you?
  20         A.     Yes.
  21         Q.     And this document is a list of payments
  22    that were made to ROK.           Is that what you understand
  23    it to be?
  24         A.     Yes.    By Circuitronix, LLC.
  25         Q.     Okay.     How do you know they're paid by


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   1    Circuitronix, LLC?
   2         A.     Because I believe that Citibank account to
   3    be a Circuitronix, LLC, transaction that I believe
   4    the Circuit -- the ROK transactions were with
   5    Circuitronix, LLC.
   6         Q.     Okay.     But you know that Citibank bank
   7    account is a U.S. account because of the SWIFT
   8    number.     Right?
   9         A.     I believe so.         I don't know if there's any
  10    other data on the far right side that you're not
  11    fully displaying that would -- no.
  12                       Yeah.     I believe the Citibank account
  13    is the Circuitronix, LLC, account.
  14         Q.     And we know it's a U.S.-based account
  15    because of the SWIFT number that says "CITIUS33."
  16    We know that.       Right?
  17         A.     It appears that way.
  18         Q.     There's also -- and I'm looking at line 57,
  19    column D.      Right?
  20         A.     Um-hmm.
  21         Q.     Okay.     And you can see throughout this
  22    document that there's a lot of SWIFT numbers that
  23    have this -- in that same column that bear the Citi
  24    U.S. SWIFT number.          Right?
  25         A.     Correct.


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   1         Q.     And down here at line 69, column D -- I beg
   2    your pardon.       Line 70, column D, you see another
   3    SWIFT number.       Do you see that?
   4         A.     I do.
   5         Q.     And that SWIFT number is related to an
   6    HSBC Bank.      Do you see that?
   7         A.     I do.
   8         Q.     And the SWIFT number has "HK" in it.                 Would
   9    that indicate to you that that's a Hong Kong
  10    account?
  11         A.     It could.
  12         Q.     Okay.
  13         A.     I see "HK" in the SWIFT number.
  14         Q.     I'm going to pull up another document.                  I
  15    guess we're going to have to call this one -- I
  16    think this document probably was previously
  17    identified as 142.
  18                       MR. MAZZOLA:        Right, Rich?
  19                       What do you think?
  20         BY MR. MAZZOLA:
  21         Q.     This is the ROK Payment Detail CTX U.S. HK
  22    2012 to 2018.       Do you see that, Mr. Parisi?
  23                       MR. ROSENTHAL:         Is that 139?
  24                       MR. MAZZOLA:        That's 142?
  25                       Okay.     This is not 142, then.


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   1                       MR. ROSENTHAL:        Try 139.
   2                       MR. MAZZOLA:        139?
   3                       MR. ROSENTHAL:        I mean, maybe.
   4         I'm not looking at what you're looking at.
   5         But based upon what you said, I think it
   6         might be.      Payment detail version 2 ROK
   7         2012 to 2019 --
   8         A.     My 139 in this binder's blank, so I can't
   9    help.
  10                       MR. LERNER:       139.
  11                       MR. MAZZOLA:        It's 139.
  12         BY MR. MAZZOLA:
  13         Q.     Mr. Parisi, have you seen this document
  14    before?     This spreadsheet.
  15         A.     Yes.
  16                       MR. ROSENTHAL:        I'm sorry.       Are
  17         you showing that now on the screen?
  18                       MR. MAZZOLA:        Yes.
  19                       MR. ROSENTHAL:        Okay.
  20         BY MR. MAZZOLA:
  21         Q.     And, again, this is a document that you got
  22    from Mr. Rosenthal and/or Chauncey, but you did not
  23    use it in the preparation of the report that we've
  24    been discussing today.           Right?
  25         A.     Correct.      CTX, LLC's, counterclaim.


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   1         Q.     But you reviewed it.              Right?
   2         A.     Correct.
   3         Q.     Did you do an analysis of it?
   4         A.     I compiled the data.
   5         Q.     I'm going to draw your attention to --
   6    let's go to the tab at November 2015.                  Do you see
   7    this document over here?
   8         A.     I do.
   9         Q.     This is a payment memo -- payment detail
  10    memo.     Are you familiar with these documents?
  11         A.     Yes.    I do call them the payment details.
  12    The monthly payment details.
  13         Q.     And this is a monthly payment detail from
  14    Circuitronix U.S. to ROK.            Do you see that?
  15         A.     I see those words.
  16         Q.     And if you scroll down on this column E,
  17    you see entries for Hong Kong.                 Do you see that?
  18         A.     I do see "HK" on the screen.
  19         Q.     Okay.     Do you have any understanding what
  20    that means?
  21                       MR. ROSENTHAL:        Would you mind
  22         scrolling to the top, just for my benefit,
  23         too?
  24                       MR. MAZZOLA:        Yeah.      I can make
  25         it smaller, but then maybe Mark can't see


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   1         it.
   2         A.     Oh, no.      These are real glasses.
   3         BY MR. MAZZOLA:
   4         Q.     You can see?
   5         A.     I can see.
   6                       I mean, Hong Kong.          It says "HK" in
   7    column E.
   8         Q.     And let's go to December 2015.               Do you see
   9    that?
  10         A.     I see the tab on the screen.
  11         Q.     It says "Hong Kong" as well?
  12         A.     I see the letters "HK" next to select cells
  13    in column E.
  14         Q.     In 2016, they made it a little easier.                  And
  15    it says "HK total."          Do you see that?
  16         A.     That's one of the components.
  17         Q.     And it's a U.S. total.
  18         A.     Correct.
  19         Q.     And on February 2016, they did the same
  20    thing.     They broke it down.
  21                       And March of 2016, they did the same
  22    thing.
  23                       MR. ROSENTHAL:        I'm sorry.       Just
  24         to keep up with you, you're now on the
  25         March 2016 payment detail tab?


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   1                       MR. MAZZOLA:        Yes.
   2         BY MR. MAZZOLA:
   3         Q.     There's a Hong Kong total.             Do you see
   4    that, Mr. Parisi?
   5         A.     I do.
   6         Q.     And on March 2016, they're still showing --
   7    at least CTX is still showing a balance.                  Right?
   8         A.     Between CTX -- presumably, CTX, LLC, and
   9    ROK.
  10         Q.     Yeah.     Well, it's got "Hong Kong totals" in
  11    there.     Do you see that?
  12         A.     Let's scroll up to the top.
  13                       It says from Circuitronix, LLC, to ...
  14                       MR. ROSENTHAL:        Wait.     You've got
  15         to -- he's trying to read while you're
  16         moving, JC.
  17         A.     ... "to ROK Printed Circuit Boards, Ltd."
  18                       The words HK appear in column E, but
  19    this says "from Circuitronix, LLC."
  20         BY MR. MAZZOLA:
  21         Q.     Oh.    I see where it's written.             Oh.
  22    Absolutely.
  23                       But it also makes reference to --
  24    there's a bill number.           Do you see that?
  25                       And there's references to Hong Kong on


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   1    the bill number.         Do you see that?         The "HK"?
   2         A.     I see "HK" in column A and also column E.
   3         Q.     And the Circuitronix, LLC, people, the
   4    people here in Fort Lauderdale, they broke this down
   5    with the Hong Kong total and the U.S. total.                    Right?
   6         A.     I see those subtotals.
   7         Q.     And so it's showing a balance owed of
   8    $206,000.      Do you see that?
   9         A.     Correct.      For March 2016.         I see those
  10    numbers on the screen.
  11         Q.     And then when you get to April 2016,
  12    another Hong Kong total of 167,000, and the U.S.
  13    total is 77 -- 771,000.
  14                       Does -- the fact that these payment
  15    details reflect amounts owed for Hong Kong and U.S.,
  16    does that suggest related entities to you?
  17         A.     Between that HK, assuming that HK
  18    represents Circuitronix Hong Kong.                So there's the
  19    Circuitronix -- it appears there could be the
  20    Circuitronix Hong Kong and LLC invoices on that same
  21    tab.
  22         Q.     So it doesn't indicate that those -- that
  23    the two are related entities, then.
  24         A.     They could very well be related.                There's
  25    common management, and they have some shared


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   1    services.      But they're still -- this one combines
   2    the net balance, but the invoices are clearly
   3    tracked separately.
   4         Q.     What if the U.S. operation was paying all
   5    of these obligations, the Hong Kong total and the
   6    U.S. total, from the U.S. bank account?                  Would that
   7    suggest to you that the two entities, the Hong Kong
   8    entity and the U.S. entity, are related?
   9         A.     Not necessarily.
  10         Q.     Would it be another factor you would
  11    consider?
  12         A.     I consider -- I consider all the facts and
  13    circumstances.
  14                       Bill.com could pay my bills, but that
  15    doesn't mean Bill.com is my related party, just a
  16    payment processor.
  17         Q.     That's all they are, just a payment
  18    processor.
  19         A.     Correct --
  20                       MR. ROSENTHAL:        "They" in the
  21         hypothetical you --
  22                       MR. MAZZOLA:        Bill.com.
  23         BY MR. MAZZOLA:
  24         Q.     But in Bill.com -- you don't have any
  25    ownership interest in Bill.com?


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   1         A.     Me?
   2         Q.     Yeah.
   3         A.     Not that I'm aware of.
   4         Q.     You don't get -- you don't get copied on
   5    emails that are sent to Bill.com?
   6         A.     I do get copied on some emails that are
   7    sent to Bill.com.
   8         Q.     You don't have any control over Bill.com?
   9         A.     I mean, I've used Bill.com before.
  10         Q.     But you -- so I think the example you're
  11    giving me is very different from the factual
  12    patterns in this case.
  13         A.     There's paymasters for companies.                That
  14    happens regularly.
  15         Q.     Okay.     So are you suggesting that the LLC
  16    in this instance is nothing more than a paymaster
  17    for the Hong Kong entity?
  18                       MR. ROSENTHAL:        Object to the
  19         form.
  20         A.     I don't know.
  21         BY MR. MAZZOLA:
  22         Q.     Let's look at -- if I -- let's look at some
  23    of these.      Let's pick a date.             This December 2000 --
  24    the February 2016 tab.           The payment detail.          Do you
  25    see this?


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   1         A.     I see the tab on the screen.
   2         Q.     It's a payment detail that's dated May 1,
   3    2016.     Do you see that?
   4         A.     I do.
   5         Q.     The total of $537,000.            The subtotal is
   6    comprised of an HK total of 120 and a U.S. total of
   7    417.    Do you see that?
   8         A.     I see those words.
   9         Q.     Do you see these payments?
  10         A.     I see those words.
  11         Q.     It says "Less payment 4/21/2016 of
  12    300,000."
  13                       And then it says another payment of
  14    300,000 performed on April 28th, 2016.                 Do you see
  15    those?
  16         A.     I see those numbers and words.
  17         Q.     If you look at this document, 139, in
  18    conjunction with 140, and we went to the payments
  19    just referenced on the February 2016 tab, one of the
  20    payments was made on April 21, 2016, for $300,000.
  21    Do you see that?
  22                       MR. ROSENTHAL:        Could you just
  23         tell me what you're referencing on the
  24         screen right now?
  25                       MR. MAZZOLA:        981.


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   1                       MR. ROSENTHAL:        No.    I mean, this
   2         is exhibit what?         140?
   3                       MR. MAZZOLA:        140.
   4                       MR. ROSENTHAL:        Thanks.
   5         BY MR. MAZZOLA:
   6         Q.     Line 81, column A.
   7                       Do you see column B where it says
   8    $300,000?
   9         A.     I do.
  10         Q.     Column C is Citibank, and column D, there's
  11    the U.S. SWIFT number.           Do you see that?
  12         A.     I see U.S. and the SWIFT number.
  13         Q.     Yes.    And then there's another payment
  14    referenced on April 28th.            Do you see that?
  15         A.     I do.
  16         Q.     $300,000?
  17         A.     I do.
  18         Q.     From Citibank.
  19                       And the SWIFT number, that has the
  20    "U.S." in it.       Right?
  21         A.     I see U.S. and the SWIFT number.
  22         Q.     Does that indicate to you that, insofar as
  23    Exhibit 139 is concerned on this February 2016 tab,
  24    that someone's paying from the U.S., the debts
  25    incurred by the Hong Kong entity?


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   1         A.     To ROK?
   2         Q.     Yes.
   3         A.     It appears that way.
   4         Q.     Is that -- would that be something that
   5    might indicate to you that the U.S. operation and
   6    the Hong Kong entity -- the Hong Kong operation are
   7    related entities from an accounting perspective?
   8                       MR. ROSENTHAL:        Object to the
   9         form.
  10         A.     They could be related parties.               But that's
  11    separate from who's responsible for the debts of
  12    which entity.
  13         BY MR. MAZZOLA:
  14         Q.     Well, we know right here from this one
  15    example --this one example -- that the U.S.
  16    operation is or did pay the debts of the Hong Kong
  17    operation.
  18                       MR. ROSENTHAL:        Object to the
  19         form.
  20         BY MR. MAZZOLA:
  21         Q.     Is that what you're seeing here from an
  22    accounting perspective?
  23                       MR. ROSENTHAL:        Same objection.
  24         A.     I'm seeing "HK" on certain invoices.                 And
  25    it appears that Circuitronix, LLC, made payments to


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   1    ROK for those invoices.
   2         BY MR. MAZZOLA:
   3         Q.     On behalf of the HK operation.
   4                       MR. ROSENTHAL:        Object to the
   5         form.
   6         A.     It appears that way.
   7         BY MR. MAZZOLA:
   8         Q.     Okay.     Let's -- is that some information
   9    that -- I guess, you did have that information
  10    before you prepared this report.               Right?
  11         A.     When you say "that information," what are
  12    you referring --
  13         Q.     This.     You had these spreadsheets.             Right?
  14         A.     Yes.
  15         Q.     Okay.     But you didn't include any of that
  16    discussion in your report.
  17         A.     ROK is not a party to the counterclaim, as
  18    far as I'm aware.
  19         Q.     So, I guess, the other question I want to
  20    ask is that if, in fact, CTX U.S. is responsible for
  21    paying the debts of CTX Hong Kong, then that makes
  22    your report have no value.             Right?
  23                       MR. ROSENTHAL:        Object to the
  24         form.
  25         A.     I disagree.       And we -- and I previously


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   1    answered this question.
   2         BY MR. MAZZOLA:
   3         Q.     You continue to disagree with that.
   4                       MR. ROSENTHAL:        Object to the
   5         form.
   6                       I continue to object to the asked
   7         and answered.
   8         BY MR. MAZZOLA:
   9         Q.     Are you familiar with -- do you know what
  10    the financial arrangement is between yourself and
  11    Mr. Mukamal for your expert services in this case?
  12         A.     I don't understand your question.
  13         Q.     Do you know the financial arrangements
  14    between -- for you and Mr. Mukamal and CTX for your
  15    time in preparing the report and testifying in this
  16    case?
  17         A.     We're hourly consultants, if that's your
  18    question.
  19         Q.     You are hourly consultants?
  20         A.     Correct.
  21         Q.     And what is the rate?
  22         A.     The rate for what?
  23         Q.     Your work.       Hourly rate.
  24         A.     $460.
  25         Q.     Do you have any -- how much have you


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   1    billed?
   2         A.     For the whole project?
   3         Q.     Um-hmm.
   4         A.     I have no idea.
   5         Q.     Would Mr. Mukamal know that?
   6         A.     I have no idea what he knows.              I do not
   7    know if he's reviewed the invoices.
   8         Q.     Okay.
   9                       MR. LERNER:       Actually, we have
  10         the invoices here.
  11                       MR. MAZZOLA:        Do we?
  12                       MR. LERNER:       Yeah.     We do.
  13                       MR. ROSENTHAL:        Yeah.
  14         BY MR. MAZZOLA:
  15         Q.     I'm going to just do a little housecleaning
  16    over here.
  17                       (Pause in proceedings.)
  18                       MR. MAZZOLA:        We have copies of
  19         these.     Right?
  20                       MR. LERNER:       No.
  21                       MR. ROSENTHAL:        That's my only
  22         one.
  23                       MR. MAZZOLA:        We don't have
  24         copies of them?
  25                       MR. LERNER:       Just mark it in


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   1         and --
   2                       MR. ROSENTHAL:        -- and we'll deal
   3         with it.
   4                       MR. MAZZOLA:        Yeah.
   5         BY MR. MAZZOLA:
   6         Q.     I'm going to hand them to Mr. Parisi to
   7    look at and tell us how much the total is.                   Because
   8    I got confused.
   9                       MR. LERNER:       He can do it now.
  10         A.     Oh.
  11         BY MR. MAZZOLA:
  12         Q.     Do you want a calculator?
  13         A.     I'm going to need a computer.              There's --
  14    there's a lot of invoices here.
  15                       MR. ROSENTHAL:        Maybe you can
  16         tell him how to calculate it.
  17                       MR. LERNER:       Is this 164, the
  18         next one?      Invoices?
  19                       MR. MAZZOLA:        Yeah.
  20                       (Deposition Exhibit 164
  21                       marked for identification.)
  22         BY MR. MAZZOLA:
  23         Q.     We've handed to you a stack of invoices,
  24    Mr. Parisi.       We've marked them as Exhibit 164.
  25                       Were you being facetious when said you


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   1    couldn't tell us what the grand total was?
   2         A.     I can absolutely do it.             I can get out a
   3    piece of paper and add all these up.
   4         Q.     Just give us a rough number.              It looked
   5    like it was north of $100,000.                I just wanted to get
   6    that.
   7         A.     I'll concede it's north of $100,000.
   8         Q.     Okay.     And would those invoices reflect all
   9    the work that was done on this?
  10         A.     All of the work from inception to the last
  11    invoice date.       Citrin takes a little while to
  12    publish their invoices, so all the invoices that
  13    Citrin's finalized have been produced.
  14         Q.     And I did ask the question -- it wasn't
  15    well asked, but you asked me.                 It looked like it --
  16    it raised the issue in your mind.
  17                       And I was trying to understand.               I'm
  18    kind of interested now.           Is there any financial
  19    arrangement between yourself and Mr. Mukamal?                    Did he
  20    agree to share fees with you regarding this file?
  21         A.     No.    I do some hourly consulting for
  22    Kapila Mukamal on, you know, lingering issues since
  23    I left, but I haven't done anything in two and a
  24    half months.
  25                       This was my last -- you know, you


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   1    leave a case, you can't leave your previous firm
   2    high and dry.       So pretty much all my matters with
   3    Kapila Mukamala have concluded.
   4         Q.     Okay.     So the retention for you via Citrin
   5    is unique to this case then.             Right?
   6                       That was not a very good question.
   7                       I guess, what I'm trying to understand
   8    is, Mr. Mukamal is not paying you for your time today
   9    or for anything.         You're being paid separately by
  10    CTX.
  11         A.     Yes.    Citrin -- just to be clear, Citrin is
  12    paid by Circuitronix, LLC.
  13         Q.     Okay.
  14                       MR. LERNER:       And I think we're
  15         paying for him today.
  16                       MR. ROSENTHAL:        Yeah.
  17         BY MR. MAZZOLA:
  18         Q.     And Mr. Mukamal is not -- he hasn't agreed
  19    to pay you for any additional work related to this
  20    file.
  21         A.     No.
  22         Q.     Okay.     Whatever additional work you're
  23    doing for Mr. Mukamal on an hourly basis is for --
  24    unrelated to this work.
  25         A.     Yes.


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   1         Q.     Do you have any other depositions coming up
   2    any time soon?
   3         A.     I'm filing a report today, so I assume,
   4    yes.    And I hope it is soon.
   5         Q.     Is that report for Mr. Rosenthal?
   6         A.     Unfortunately, not.
   7                       He's great to work with, though.
   8         Q.     Is it for Mr. Cole?
   9         A.     It is for Cole, Scott & Kissane.
  10                       MR. ROSENTHAL:        That's a
  11         different law firm.
  12                       MR. MAZZOLA:        Yes.    It is a
  13         different law firm.          Yes.
  14                       Cole, Scott, with a S-c-o-t-t.
  15         BY MR. MAZZOLA:
  16         Q.     Have you ever been adverse to any client
  17    Mr. Cole represented?
  18         A.     Not that I'm aware.
  19         Q.     Have you ever been adverse to any clients
  20    Mr. Rosenthal or his firm has represented?
  21         A.     Not that I recall.
  22         Q.     Are you familiar with the term -- the
  23    accounting term "FIFO"?
  24         A.     Absolutely.
  25         Q.     Okay.     What does that mean?


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   1         A.     First in, first out.
   2         Q.     Did you consider FIFO in reviewing this
   3    claim?     This matter?
   4         A.     So when you review everything -- right --
   5    we're only talking about invoices, payments, and
   6    debit memos.       And you may remember a long time ago
   7    called "the order of operations."               Right?
   8    Parentheses, exponents, multiplication, addition --
   9         Q.     PEMDAS.
  10         A.     PEMDAS.      Yes.    I didn't want to be that
  11    nerdy and say it, but yes.             PEMDAS.
  12                       And so when you're just adding --
  13    right? -- there's no multiplication here.                   We're
  14    just in the addition/subtraction component of the
  15    PEMDAS.     And so no matter what order -- as in FIFO
  16    or LIFO -- you add and subtract, you're going to get
  17    the same answer.
  18         Q.     It makes no difference, then.
  19         A.     When you analyze everything.              Correct.
  20                       Because it's all -- it's all out at
  21    the end of the day.
  22         Q.     Is it unreasonable for a business to apply
  23    payments to the oldest invoices first?
  24         A.     As long as it's for the correct -- it
  25    depends.


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   1                       The answer is, it depends.
   2         Q.     If the payment doesn't -- if the payment
   3    made by the payor does not define what invoices or
   4    identify what invoices they should be attributable
   5    to, is there anything unreasonable about the payee
   6    applying that money to their oldest invoices?
   7         A.     That's one option.
   8         Q.     Okay.
   9         A.     Another option would be to call the company
  10    and say, Hey, which invoices are you paying
  11    specifically?
  12         Q.     But it is reasonable to apply it to the
  13    oldest invoices.
  14         A.     It could be.        As long as it's applied to
  15    the appropriate entity that issued those invoices.
  16                       You wouldn't want to have a matching
  17    issue.     You know, the -- accounting's very big on
  18    matching.      Right?     You want to have the revenues and
  19    expenses in the proper period, in same way you'd
  20    want to have the invoices applied against the proper
  21    payments.
  22         Q.     So assuming it's the proper entity, there's
  23    nothing unreasonable about a bookkeeping department
  24    taking a payment that doesn't otherwise identify to
  25    what invoice it's attributable to and applying it to


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   1    its old invoices.
   2         A.     Hypothetically?
   3         Q.     Yes.
   4         A.     That could happen.
   5         Q.     And is it reasonable to do that?
   6         A.     It depends on the facts and circumstances.
   7    I'd reach out and ask for detail to apply issues.
   8                       In this example, you know, if it
   9    wasn't applied FIFO, some of these, you know,
  10    invoice differences would have been flushed out,
  11    hopefully.      But it could -- but payments on accounts
  12    certainly can happen.
  13         Q.     But it is -- it remains reasonable -- now,
  14    while you may prefer someone to pick up the phone
  15    and call, it does remain reasonable for a
  16    bookkeeping department to apply monies to the oldest
  17    invoices.      Is that correct?
  18                       MR. ROSENTHAL:        Object to form.
  19         A.     If applied to the proper entity, it -- that
  20    could be an appropriate method of accounting for
  21    payments.
  22                       (Pause in proceedings.)
  23                       MR. LERNER:       Just give us a
  24         minute.
  25                       (Discussion off the record.)


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   1         BY MR. MAZZOLA:
   2         Q.     Let's look at -- we're back to Exhibit 140.
   3                       MR. ROSENTHAL:        If I may, this is
   4         the ROK Payment Detail --
   5                       MR. MAZZOLA:        Yeah.     This is 139.
   6                       MR. ROSENTHAL:        -- U.S. Hong Kong
   7         tab.
   8         BY MR. MAZZOLA:
   9         Q.     We're looking at the February 2016 tab.
  10                       And this is a payment detail.              Right?
  11         A.     This is -- this spreadsheet tab on the
  12    screen is the payment details between
  13    Circuitronix LLC, and ROK Printed Circuit Board for
  14    invoices dated February 2016.
  15         Q.     And there were many of these payment
  16    details.
  17         A.     So I just -- there are payment details
  18    for -- between the three groups of parties.
  19         Q.     Okay.     So --
  20         A.     Monthly payment details.
  21         Q.     So you would receive payment details from
  22    Circuitronix, LLC, to Benlida.                Right?
  23         A.     For the counterclaim.
  24         Q.     Did you ever see any -- in the materials
  25    that were provided to you -- payment details from


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   1    Circuitronix Hong Kong to Benlida?
   2         A.     I don't recall.
   3         Q.     But regarding this payment detail, it's
   4    dated May 1, 2016.         Do you see that?
   5         A.     Yeah.
   6                       The way it works is, there's the
   7    invoices, and then there's the payments, which are
   8    AMS60.     Or there's some changes, depending on the
   9    point of time.
  10         Q.     So there's a bill date you can see over
  11    here on line 14, column B.
  12         A.     I see column B.
  13         Q.     It says February 1, 2016.             Right?
  14         A.     Correct.
  15         Q.     And then down below over here, you'll see a
  16    payment date, line 39, making reference to a payment
  17    on April 21.       Do you see that?
  18         A.     I do.
  19         Q.     And then this document is produced sometime
  20    later and sent to, in this instance, ROK on or about
  21    May 1, 2016.       Right?
  22         A.     No.
  23         Q.     When is it sent?
  24         A.     November 1st, 2019, is part of the initial
  25    email from Circuitronix, LLC, to Benlida.


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   1         Q.     November 2019 is when it's first sent?
   2         A.     November 1st, 2019.
   3         Q.     It's sent over two years later?
   4         A.     Yes.
   5                       If you go to the far right, the ROK
   6    transactions ceased in 2018, I want to say.
   7                       If you just -- yeah.           Hold "control"
   8    and click that little pointer.
   9         Q.     So this payment detail that has a date of
  10    May 1, 2016, was not sent to ROK in May of 2016?
  11         A.     So I just want to be clear.              There's two
  12    different potential versions of this payment
  13    details.      What you're looking at right now, this is
  14    CTX's compilation of the monthly payment details
  15    between CTX, LLC, and ROK.
  16                       For CTX, LLC, and Benlida, the initial
  17    CTX recon, as we referred to it in the report, that
  18    is also a compilation.           But the actual emails, the
  19    monthly transmittals, between CTX, LLC, and Benlida,
  20    those were, in fact, sent monthly.                But now you're
  21    looking at an aggregation.
  22                       So in the same way we wouldn't say,
  23    Oh, you know, there's a January 2012 tab, this
  24    wasn't sent until November 2019.               The 2012 tab was
  25    sent in 2012.       This is just a consolidation.               And


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   1    there was probably also some adjustments from the
   2    original monthly transmittals to these updated
   3    versions.
   4         Q.     So this payment detail dated May 1 for
   5    invoices from February 2016 reflecting payments made
   6    in April 2016 was not sent to ROK until 2019.                    Is
   7    that what you're saying?
   8                       MR. ROSENTHAL:        Object to the
   9         form.
  10         A.     So imagine -- let me just say it
  11    differently.       The parts --
  12         BY MR. MAZZOLA:
  13         Q.     I've seen emails --
  14         A.     There's emails.
  15         Q.     -- with these payment details attached to
  16    them.
  17         A.     Correct.
  18         Q.     So my question is, based upon all the
  19    information you've looked at, do you know when this
  20    payment detail would have been sent to ROK?
  21                       MR. ROSENTHAL:        By "this payment
  22         detail," are you referring to the one up on
  23         the screen right now?
  24                       MR. MAZZOLA:        Not the one up on
  25         the screen.


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   1         BY MR. MAZZOLA:
   2         Q.     The data.      The data contained in this one.
   3         A.     Approximately 90 days after the month of
   4    the invoice.
   5         Q.     So sometime in --
   6         A.     May.
   7         Q.     -- May.      Okay.
   8         A.     Presumably.       On or about.
   9                       Probably after May, because the
  10    payments would have -- you know, all the
  11    transactions would come after -- or the sending of
  12    the payment details would come after the payments
  13    were sent.
  14         Q.     Okay.     So still talking about payment
  15    application and applying of payments.
  16                       I guess, hypothetically, if CTX U.S. is
  17    responsible for the debts of CTX Hong Kong, is it --
  18    would it be appropriate and reasonable for Benlida to
  19    apply payments from the U.S. operation to the oldest
  20    invoices of either U.S. or Hong Kong?
  21         A.     If Circuitronix, LLC, is responsible for
  22    all the debts of Circuitronix Hong Kong.
  23         Q.     Hong Kong.       Um-hmm.
  24         A.     Then you could presumably combine the
  25    balances.


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   1         Q.     So it would be reasonable, then, for
   2    Benlida to apply payments from U.S. to the oldest of
   3    either of their invoices, Hong Kong or U.S.
   4         A.     If they're found liable and you disregard
   5    the separate corporations, then you could presumably
   6    combine all the balances.
   7         Q.     Okay.     Have we finished up with that --
   8    that spreadsheet.         Right?     The invoices.
   9         A.     Yeah.     Do you want them?
  10         Q.     Yeah.     So we're just going to assume that
  11    they're greater than $100,000 for purposes of today.
  12    They are what they are.
  13                       MR. MAZZOLA:        I can keep these?
  14                       MR. ROSENTHAL:        No.     That's the
  15         marked --
  16                       MR. LERNER:       Those are the ones
  17         that are going to be marked and --
  18                       MR. MAZZOLA:        Are we getting --
  19         but we have a set, though?
  20                       MR. LERNER:       No.      But it will go
  21         to the reporter, and the reporter will send
  22         it to us.
  23                       MR. ROSENTHAL:        Why don't we just
  24         keep them for tomorrow here.
  25                       MR. MAZZOLA:        Yeah.


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   1                       MR. ROSENTHAL:         That's
   2         Exhibit 164.
   3         BY MR. MAZZOLA:
   4         Q.     Did you read Mr. Paulikens' report?
   5         A.     Yes.
   6         Q.     Do you know Mr. Paulikens independently of
   7    this case?
   8         A.     This is the first time I have heard of him
   9    or his firm.
  10                       (Pause in proceedings.)
  11         BY MR. MAZZOLA:
  12         Q.     Where did you work doing internal audits?
  13         A.     Cross Country Healthcare.
  14         Q.     You did say that.
  15         A.     And Ryder Trucking.           Or Ryder Systems is
  16    the name, actually.
  17         Q.     I'm looking at some initials on one of
  18    these invoices.
  19                       It says JZP.
  20         A.     JZP.    Yes.     That is Jasmine Padilla.            She
  21    is a trusted assistant.            So she would have done
  22    clerical work, adding together of spreadsheets.
  23    Work of that nature.
  24         Q.     What's Mr. Kukreja's initials?               Do you
  25    know?


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   1         A.     SVK.
   2                       (Pause in proceedings.)
   3         BY MR. MAZZOLA:
   4         Q.     Did she put any time on this file, if you
   5    know?
   6         A.     Absolutely.
   7                       For a while, the cadence was myself --
   8    worked on primarily by myself and Mr. Mukamal.                     And
   9    then much later on, I can't remember when we were --
  10    when Kapila Mukamala was retained officially.                    But
  11    much later on, she became involved, but I can't
  12    remember if that was before or after pencils down.
  13         Q.     Oh.    I see her.       She's SVK.
  14         A.     I'm sure she has lots of time on there.
  15         Q.     There's reference to "meeting at
  16    Circuitronix."        Would you have gone to those
  17    meetings?
  18         A.     Yes.    We previously discussed, and I told
  19    you who I met with at Circuitronix.
  20         Q.     Um-hmm.      Are you guys allowed to block bill
  21    at Citrin Cooperman?
  22                       It's a lawyer joke.
  23         A.     Not really.
  24         Q.     And your billing rate went up when you
  25    joined Citrin?


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   1         A.     I think the technical answer is, no.
   2         Q.     Oh.
   3         A.     My rate technically went down from -- I
   4    think it was $500, or almost, to $460.                 And then
   5    there's an admin fee, which brings it slightly
   6    higher.
   7         Q.     What's the admin fee?
   8         A.     There's a 5 percent admin fee for all
   9    technology and everything.
  10                       We have access to a lot of systems
  11    and, you know, resources that we can use.                   It
  12    depends on the facts and circumstances.
  13                       MR. ROSENTHAL:        Everyone's a
  14         hologram.
  15                       (Pause in proceedings.)
  16         BY MR. MAZZOLA:
  17         Q.     So regarding Mr. Paulikens' report, do you
  18    have any comments, any points of agreement, any
  19    points of disagreement?           I know that's a massive
  20    question, so I'll break it down.
  21                       How about this -- we'll start with
  22    this:     Any points of disagreement.
  23         A.     Yes.
  24         Q.     Do you want to start with them?
  25         A.     Yes.    I thought it was odd in the report


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   1    how we were criticized for excluding ROK from the
   2    report.     And in multiple instances, he referred to
   3    ROK, but I think he was actually referring to
   4    CTX Hong Kong and Benlida.
   5                       And then we were criticized for
   6    excluding the ROK transactions, but he also didn't
   7    include those transactions.             So I'm not sure.         That
   8    was confusing.
   9                       And then, additionally, he never
  10    identified -- it was a rebuttal report, which was
  11    strange because he never identified the basis of why
  12    Circuitronix, LLC, would be responsible for
  13    Circuitronix Hong Kong, for the debts specifically.
  14    He just says, you know, kind of look at all of this.
  15                       And then it doesn't appear he went
  16    very deep into the details or reconciled any of the
  17    underlying data.
  18                       Sitting here, I don't really know what
  19    he contends the balance for -- due to Circuitronix
  20    Hong Kong is.
  21         Q.     One of the things you just said, he never
  22    explained why the Hong Kong entity would be
  23    responsible for the U.S. -- I beg your pardon -- why
  24    the U.S. entity would be responsible for the
  25    Hong Kong entity.


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   1                       But didn't you testify earlier that
   2    that -- you believe that to be a legal question?                      So
   3    why would an accountant opine on that?
   4         A.     Well, if he's putting two different
   5    companies together, I'd like to know why.                   What's
   6    the basis?      Does the basis make sense?             Is it
   7    logical?
   8                       You know, I do not know they -- why it
   9    wasn't put in an affirmative report, but ...
  10         Q.     Do you think that maybe he was referring to
  11    the fact that the Hong Kong entity and the U.S.
  12    entity are related entities?
  13         A.     I don't want to speak for Mr. Paulikens.
  14         Q.     You also said that you were confused that
  15    he didn't dig deeper into the data.
  16         A.     Correct.
  17         Q.     We talked today that -- when you testified
  18    to this that, insofar as the lead-time penalties go,
  19    you didn't dig into the data because it was too
  20    burdensome and would take too much time.                  Do you
  21    remember saying that?
  22         A.     We didn't verify the inputs.              Correct.
  23         Q.     Okay.     I think you testified to the same
  24    thing with respect to the debit memos.                 That you
  25    didn't verify the inputs into the debit memos


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   1    either, because that would have taken too much time.
   2         A.     We didn't have enough time.
   3         Q.     And it would be overburdensome.
   4                       Do you think maybe that's why
   5    Mr. Paulikens didn't dig into the same data, because
   6    it was overburdensome and there wasn't enough time?
   7         A.     So we reconciled the data and determined
   8    how close the two were.           We requested debit memos to
   9    make sure that some of the differences were
  10    accounted for.        And we also verified the payments,
  11    the bank statements to make sure an amount was
  12    dispersed on that date, and identified the
  13    differences.
  14                       And so when I talk about
  15    reconciliations, I'm not talking about merely, you
  16    know, reprinting, you know, what one side
  17    represents, but, you know, a little more kicking the
  18    tires and -- you know, this is expert-level work.
  19    We're not just, you know, pasting data.
  20         Q.     Okay.     But you -- but -- that's right.               It
  21    is expert-level work.           Okay?    And it sounds to me
  22    like you did a lot of math checking.                 Is that
  23    correct?
  24         A.     We did a lot of math checking; we
  25    reconciled to the meeting minutes; we compiled the


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   1    data; we checked the bank statements.                 We did a lot
   2    of work.
   3         Q.     How many meeting minutes did you look at?
   4    There's only one set of meeting minutes.
   5         A.     I think there's several.            I believe there
   6    is three to five, perhaps.
   7         Q.     Okay.     Over a how-many-year relationship?
   8         A.     2012 to the present.
   9         Q.     Okay.
  10         A.     There could be more meeting minutes, but
  11    they may not have been relevant to the issues
  12    identified.
  13         Q.     So you didn't look at them, then.                Right?
  14         A.     I did not look at what I was not provided.
  15         Q.     So we know you checked the math.                You said
  16    you looked at meeting minutes.
  17                       And the meeting minutes are where?
  18    Where would they be?
  19         A.     So those would likely be those
  20    Bates-stamped documents, BDL 073, BLD 582.                   And I'm
  21    not sure what that 364 is.             That's definitely one.
  22    And there's --
  23                       MR. ROSENTHAL:        When you say
  24         "that's definitely one," you're talking now
  25         about --


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   1                       THE WITNESS:        Meeting minutes --
   2                       MR. MAZZOLA:        Yes.    BLD ending in
   3         73.
   4         BY MR. MAZZOLA:
   5         Q.     Okay.     You looked at that.          You looked at
   6    BLD ending in 364?
   7         A.     I'm not sure what that one is,
   8    specifically.
   9         Q.     That has meeting minutes attached to it.
  10         A.     Oh.    That's the transmittal email -- that's
  11    a transmittal email for meeting minutes, yes.                    This
  12    is one of the main meeting minute transmittal emails
  13    between the parties.
  14         Q.     That's a page-and-a-quarter document.
  15    Right?
  16         A.     That's one attachment on the email.
  17    There's several.
  18                       MR. ROSENTHAL:        To be clear --
  19         sorry, JC -- because you're talking about
  20         an email that has six attachments.
  21                       What you're referring to is the
  22         one entitled "Meeting Minutes 2016," 0725.
  23         Right?
  24                       MR. LERNER:       And just so we're
  25         clear, I think it probably has more than


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   1         six attachments.
   2                       MR. ROSENTHAL:        You're right.
   3                       MR. LERNER:       But probably eight.
   4         BY MR. MAZZOLA:
   5         Q.     And you looked at this BLD 582.               Right?
   6                       This set of meeting minutes.              Right?
   7         A.     Yes.
   8                       MR. MAZZOLA:        Great.     Thank you.
   9                       MR. ROSENTHAL:        You said you're
  10         done?
  11                       MR. MAZZOLA:        Yes.
  12                       MR. ROSENTHAL:        Okay.     We'll
  13         read.
  14                       (Proceedings concluded at 4:45 p.m.)
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   1               IN THE UNITED STATES DISTRICT COURT
   2               FOR THE SOUTHERN DISTRICT OF FLORIDA
   3    JIANGMEN BENLIDA PRINTED             )
   4    CIRCUIT CO., LTD.,                   )
   5           Plaintiff,                    )
   6    vs.                                  ) Civil Action No.
   7    CIRCUITRONIX, LLC,                   ) 21-601-125-civ
   8           Defendant.                    )
   9                        REPORTER'S CERTIFICATE
  10    ORAL DEPOSITION OF MARK PARISI, CPA,CIRA, CFE, CTCE
  11                        Monday, July 31, 2023
  12                  I, Rebecca J. Callow, Registered Merit
  13    Reporter, Certified Realtime Reporter, Registered
  14    Professional Reporter and Notary Public in and for
  15    the State of Florida, hereby certify to the
  16    following.
  17                  That the witness, MARK PARISI, CPA, CIRA,
  18    CFE, CTCE, was duly sworn by the officer and that
  19    the transcript of the oral deposition is a true
  20    record of the testimony given by the witness;
  21                  That the original deposition was delivered
  22    to ____________________________.
  23                  That a copy of this certificate was served
  24    on all parties and/or the witness shown herein on
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   2                  I further certify that pursuant to FRCP
   3    Rule 30(f)(1) that the signature of the deponent:
   4                  [ X ] was requested by the deponent or a
   5    party before the completion of the deposition and is
   6    to be returned within 30 days from date of receipt
   7    of the transcript.         If returned, the attached
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   9    the reasons therefor;
  10                  [    ] was not requested by the deponent or
  11    a party before the completion of the deposition.
  12                  I further certify that I am neither
  13    counsel for, related to, nor employed by any of the
  14    parties or attorneys to the action in which this
  15    proceeding was taken.           Further, I am not a relative
  16    or employee of any attorney of record in this cause,
  17    nor am I financially or otherwise interested in the
  18    outcome of the action.
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   2                  SUBSCRIBED AND SWORN TO under my hand and
   3    seal of office on this, the 14th day of AUGUST,
   4    2023.
   5

   6

   7                        _________________________________
   8                        Rebecca J. Callow, RMR, CRR, RPR
   9                        Notary Public, Miami, Florida
  10                        My Commission No. HH 409626
  11                        Expires:      06/12/2027
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